                           Case 23-50110-MFW               Doc 4      Filed 02/28/23         Page 1 of 173




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                   x
                                                   :                      Chapter 11
             In re:
                                                   :
             AIG FINANCIAL PRODUCTS CORP.,         :
                                                   :
                                                                          Case No. 22-11309 (MFW)
                                                   :
                        Debtor.1                   :
                                                   :
                                                   :
                                                   :
             AIG FINANCIAL PRODUCTS CORP.,         :
                                                   :
                               Plaintiff,          :
                                                   :
                        v.                         :
                                                                          Adv. Pro. No. 23-50110 (MFW)
                                                   :
                                                   :
             LEE ARTHURS; DAVID ACKERT;
                                                   :
             MITCHELL BELL; ERIK BENGTSON;
                                                   :
             PAUL BRADSHAW; THOMAS BUTTKE;
                                                   :
             JOHN CAPPETTA; DAVID CHANG;
                                                   :
             ROBERT CHANG; JASON DESANTIS;
                                                   :
             RICHARD FABBRO; KENNETH FARRAR;
                                                   :
             JONATHAN FRAADE; CARL GIESLER
                                                   :
             JR.; JAMES HAAS; CHARLES HSIEH;
                                                   :
             THOMAS KALB; THOMAS KUSHNER;
                                                   :
             ROBERT       LEARY;          JONATHAN
                                                   :
             LIEBERGALL; NATHANIEL LITWAK;
                                                   :
             BRENDAN LYNCH; ALFRED MEDIOLI;
                                                   :
             MATTHEW MIHALY; JOANN PALAZZO;
                                                   :
             EUGENE PARK; ANDREW PARTNER;
                                                   :
             CARL PETERSON; STEVEN PIKE;
                                                   :
             THOMAS     PLAGEMANN;          ROBERT
                                                   :
             POWELL; DANIEL RAAB; ANN REED;
                                                   :
             PAUL      SCHREINER;           DMITRY
                                                   :
             SATANOVSKY;       MARY        HEATHER
                                                   :
             SINGER;   KEITH      STEIN;     FRANK :
             STROHM; TIMOTHY SULLIVAN JR.; :


         1
             The Debtor in this case, along with the last four digits of the Debtor’s federal tax identification number, is: AIG
             Financial Products Corp. (9410). The Debtor’s address is 50 Danbury Road, Wilton, Connecticut 06897.
30159087.1
                            Case 23-50110-MFW               Doc 4        Filed 02/28/23   Page 2 of 173




             CHRISTIAN TOFT; JOE TOM; RYAN :
             VETTER; STEVEN WAGAR; THOMAS :
             WARD; MARTIN WAYNE; JAMES WOLF. :
                                             :
                            Defendants.      :                             Ref. Docket Nos. 1 & 2
                                             x
                                NOTICE OF FILING OF PROPOSED REDACTED
                             VERSION OF COMPLAINT FOR DECLARATORY RELIEF

                    PLEASE TAKE NOTICE that, on February 17, 2023, AIG Financial Products Corp.

         (“Plaintiff” or the “Debtor”), by and through its undersigned counsel, filed, under seal, the

         Complaint for Declaratory Relief [Docket Nos. 1 & 2] (the “Complaint”).

                    PLEASE TAKE FURTHER NOTICE that, pursuant to Del. Bankr. L.R. 9018-1(d)(ii),

         the Plaintiff hereby files the proposed redacted version of the Complaint (the “Proposed Redacted

         Document”),2 attached hereto as Exhibit A.




                                                      [Signature Page Follows]




         2
             The only redaction is a revised version of Exhibit D to the Complaint.
30159087.1
                                                                     2
                    Case 23-50110-MFW   Doc 4       Filed 02/28/23   Page 3 of 173




       Dated: February 28, 2023         Respectfully Submitted,
              Wilmington, Delaware
                                        /s/ Kara Hammond Coyle
                                        YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                        Michael R. Nestor (No. 3526)
                                        Kara Hammond Coyle (No. 4410)
                                        Shane M. Reil (No. 6195)
                                        Catherine C. Lyons (No. 6854)
                                        Rodney Square
                                        1000 North King Street
                                        Wilmington, Delaware 19801
                                        Telephone: (302) 571-6600
                                        Facsimile: (302) 571-1253
                                        Email: mnestor@ycst.com
                                                kcoyle@ycst.com
                                                sreil@ycst.com
                                                clyons@ycst.com

                                        -and-

                                        George A. Davis (admitted pro hac vice)
                                        Keith A. Simon (admitted pro hac vice)
                                        David Hammerman (admitted pro hac vice)
                                        Annemarie V. Reilly (admitted pro hac vice)
                                        Madeleine C. Parish (admitted pro hac vice)
                                        LATHAM & WATKINS LLP
                                        1271 Avenue of the Americas
                                        New York, New York 10020
                                        Telephone: (212) 906-1200
                                        Facsimile: (212) 751-4864
                                        Email: george.davis@lw.com
                                               keith.simon@lw.com
                                               david.hammerman@lw.com
                                               annemarie.reilly@lw.com
                                               madeleine.parish@lw.com

                                        Counsel for Debtor and Debtor in Possession




30159087.1
                                                3
             Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 4 of 173




                                  Exhibit A

                          Proposed Redacted Document




30159087.1
                           Case 23-50110-MFW               Doc 4      Filed 02/28/23         Page 5 of 173




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                     x
                                                     :
             In re:                                                       Chapter 11
                                                     :
             AIG FINANCIAL PRODUCTS CORP.,           :
                                                                          Case No. 22-11309 (MFW)
                                                     :
                                1                    :
                        Debtor.
                                                     :
                                                     :
                                                     :
             AIG FINANCIAL PRODUCTS CORP.,           :
                                                     :
                                 Plaintiff,
                                                     :
                        v.                           :
                                                     :                    Adv. Pro. No. 23-_____ (___)
                                                     :
                                                     :
             LEE ARTHURS; DAVID ACKERT; :
             MITCHELL BELL; ERIK BENGTSON; :
             PAUL BRADSHAW; THOMAS BUTTKE; :
             JOHN CAPPETTA; DAVID CHANG;
                                                     :
             ROBERT CHANG; JASON DESANTIS;
                                                     :
             RICHARD FABBRO; KENNETH FARRAR;
             JONATHAN FRAADE; CARL GIESLER :
             JR.; JAMES HAAS; CHARLES HSIEH; :
             THOMAS KALB; THOMAS KUSHNER; :
             ROBERT       LEARY;            JONATHAN :
             LIEBERGALL; NATHANIEL LITWAK; :
             BRENDAN LYNCH; ALFRED MEDIOLI; :
             MATTHEW MIHALY; JOANN PALAZZO; :
             EUGENE PARK; ANDREW PARTNER; :
             CARL PETERSON; STEVEN PIKE; :
             THOMAS     PLAGEMANN;            ROBERT :
             POWELL; DANIEL RAAB; ANN REED; :
             PAUL      SCHREINER;             DMITRY :
             SATANOVSKY;       MARY          HEATHER :
             SINGER;   KEITH       STEIN;      FRANK
                                                     :
             STROHM; TIMOTHY SULLIVAN JR.;
             CHRISTIAN TOFT; JOE TOM; RYAN :
                                                     :


         1
             The Debtor in this case, along with the last four digits of the Debtor’s federal tax identification number, is: AIG
             Financial Products Corp. (9410). The Debtor’s address is 50 Danbury Road, Wilton, Connecticut 06897.
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 6 of 173




             VETTER; STEVEN WAGAR; THOMAS
             WARD; MARTIN WAYNE; JAMES WOLF.

                              Defendants.




30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW          Doc 4       Filed 02/28/23   Page 7 of 173




                                 COMPLAINT FOR DECLARATORY RELIEF

                 Plaintiff AIG Financial Products Corp. (“Plaintiff”, the “Debtor”, or “AIG FP”), through

         its undersigned counsel, as and for its complaint (the “Complaint”) against Lee Arthurs, David

         Ackert, Mitchell Bell, Erik Bengtson, Paul Bradshaw, Thomas Buttke, John Cappetta, David

         Chang, Robert Chang, Jason Desantis, Richard Fabbro, Kenneth Farrar, Jonathan Fraade, Carl

         Giesler Jr., James Haas, Charles Hsieh, Thomas Kalb, Thomas Kushner, Robert Leary, Jonathan

         Liebergall, Nathaniel Litwak, Brendan Lynch, Alfred Medioli, Matthew Mihaly, Joann Palazzo,

         Eugene Park, Andrew Partner, Carl Peterson, Steven Pike, Thomas Plagemann, Robert Powell,

         Daniel Raab, Ann Reed, Paul Schreiner, Dmitry Satanovsky, Mary Heather Singer, Keith Stein,

         Frank Strohm, Timothy Sullivan Jr., Christian Toft, Joe Tom, Ryan Vetter, Steven Wagar, Thomas

         Ward, Martin Wayne, and James Wolf (collectively, the “Defendants”), alleges as follows:

                                           NATURE OF THIS ACTION

                 1.      This is an action pursuant to Rule 7001 of the Federal Rules of Bankruptcy

         Procedure, sections 105, 502, and 510 of title 11 of the United States Code (the “Bankruptcy

         Code”), and the Declaratory Judgment Act (28 U.S.C. § 2201).

                 2.      In connection with the Chapter 11 Case (as defined herein), the Plaintiff seeks

         declaratory relief to bring to an end any doubt as to the nature and priority of the debt it incurred

         at the height of the 2008–2009 financial crisis (the “Financial Crisis”), when its unhedged

         positions on credit default swaps that had initially produced gains swiftly turned into significant

         losses. Facing the collapse of the entire AIG corporate family and risk to the global financial

         system, AIG FP’s parent company, American International Group, Inc. (“AIG Inc.” or

         the “Parent”), obtained a $85 billion taxpayer-funded rescue loan from the government, $65

         billion of which it allocated to a line of credit to provide AIG FP with desperately needed liquidity.

                                                           1
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW         Doc 4       Filed 02/28/23   Page 8 of 173




         The taxpayer-funded loan averted catastrophe, as AIG FP satisfied its obligations and avoided

         default. In the wake of the crisis, AIG FP started unwinding its trading portfolio, never recouped

         its losses, and has survived despite its continuing losses only by accessing the line of credit from

         its Parent.

                 3.      The Defendants are all former executives of AIG FP who participated in AIG FP’s

         deferred compensation plans, which were implemented at a time when AIG FP’s risky financial

         positions were still producing gains prior to the ultimate collapse and significant losses associated

         with these financial positions. Those deferred compensation plan balances were wiped out during

         the crisis, from which AIG FP never recovered. The Defendants nonetheless commenced litigation

         in 2019 against AIG FP seeking to recover in excess of $185 million in pre-collapse plan balances

         as though the events of 2008 had never happened.

                 4.      The Defendants repeatedly argued that AIG FP could have replenished their plan

         accounts by borrowing more money from its Parent under the $65 billion line of credit. Based on

         their arguments in the Chapter 11 Case, however, the Defendants now intend to challenge the

         characterization of the AIG FP Revolver (as defined here) as debt in an effort to evade the

         subordination clause that governs their deferred compensation plans. The Defendants have no

         valid basis to do so. AIG FP’s independent directors have thoroughly investigated the AIG FP

         Revolver and concluded that the loans extended thereunder are true debt obligations, and that even

         if the AIG FP Revolver had never been documented, AIG Inc. would hold a subrogation claim

         against AIG FP that would rank senior to any claim under the deferred compensation plans. And

         the terms of the deferred compensation plans are clear: if AIG FP were to file for bankruptcy (as

         it did), the Defendants’ right to payment under the deferred compensation plans would be

         subordinated and junior in right of payment to all of AIG FP’s obligations. This includes AIG

                                                          2
30132276.1

         US-DOCS\139579253
                           Case 23-50110-MFW               Doc 4         Filed 02/28/23      Page 9 of 173




         FP’s obligations under the AIG FP Revolver to its Parent. The Defendants are, therefore, expressly

         subordinated.

                    5.       Moreover, the Defendants do not hold claims against or debt in AIG FP. To the

         contrary, the deferred compensation plans only provided them with equity interests in AIG FP.

         But even assuming the Defendants hold unsecured claims, they were insiders of the Debtor when

         those claims accrued under the deferred compensation plans. As insiders and pursuant to section

         502(b)(4) of the Bankruptcy Code, the burden is on the Defendants to show that their asserted

         $640 million claim is the objectively reasonable value of the services provided to the Debtor, which

         they cannot satisfy here based on, among other things, the excessive compensation they have

         already received from the Debtor. Accordingly, the alleged claims of the Defendants should be

         disallowed in their entirety.2

                                                 JURISDICTION AND VENUE

                    6.       On December 14, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

         for relief under the Bankruptcy Code in the United States Bankruptcy Court for the District of

         Delaware (the “Court”), captioned under the case name In re AIG Financial Products Corp. (Case

         No. 22-11309 (MFW)) (the “Chapter 11 Case”).3 On the Petition Date, the Debtor filed the

         Declaration of William C. Kosturos, Chief Restructuring Officer of the Debtor, in Support of

         Chapter 11 Petition and First Day Pleading [Main Docket No. 2] (the “First Day Declaration”),

         which is incorporated herein by reference.4


         2
             As described more fully below, at least eight Defendants have previously executed releases that waived any claims
             against AIG FP with respect to the Compensation Plans. Thus, the Debtor is seeking to disallow their alleged claims
             on that basis as a separate count.
         3
             Citations to the docket in this Complaint are citations to the main docket of the Debtor’s Chapter 11 Case.
         4
             Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the First Day
             Declaration.

                                                                     3
30132276.1

         US-DOCS\139579253
                       Case 23-50110-MFW          Doc 4    Filed 02/28/23      Page 10 of 173




                 7.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334, and the

         Amended Standing Order of Reference from the United States District Court for the District of

         Delaware, dated as of February 29, 2012. This is a core proceeding within the meaning of

         28 U.S.C. § 157(b)(2)(A), (K) and (O), and, pursuant to Rule 7008-1 of the Local Rules of

         Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

         Delaware (the “Bankruptcy Rules”), the Debtor consents to the entry of a final order by the Court

         in connection with this Complaint to the extent that it is later determined that the Court, absent

         consent of the parties, cannot enter final orders or judgments in connection herewith consistent

         with Article III of the United States Constitution. Venue is proper before the Court pursuant to 28

         U.S.C. §§ 1408 and 1409.

                 8.      This adversary proceeding is commenced pursuant to (i) Rule 7001(2) of the

         Bankruptcy Rules, which allows for a proceeding “to determine the validity, priority, or extent of

         [an] interest in property;” (ii) Rule 7001(7) of the Bankruptcy Rules, which allows for a proceeding

         “to obtain an injunction or other equitable relief;” (iii) Rule 7001(8) of the Bankruptcy Rules which

         allows for a proceeding to “subordinate any allowed claim or interest;” (iv) Rule 7001(9) of the

         Bankruptcy Rules, which allows for a proceeding to obtain a declaratory judgment relating to the

         foregoing; and (v) section 105(a) of the Bankruptcy Code. Declaratory relief is appropriate

         pursuant to Rule 7001 of the Bankruptcy Rule and 28 U.S.C. § 2201. As set forth below, an actual

         legal controversy exists with respect to the counts brought herein.

                                                     PARTIES

                 9.      Plaintiff AIG FP is a wholly-owned, direct subsidiary of AIG Inc. AIG FP was

         founded in 1987 for the purpose of trading in the capital markets and offering corporate finance,

         investment, and financial risk management products, including complex derivatives transactions.

                                                          4
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW        Doc 4     Filed 02/28/23     Page 11 of 173




         AIG FP is a Delaware corporation, with its principal place of business located at 50 Danbury Road,

         Wilton, Connecticut, 06897.

                 10.     The Defendants are all former executives of AIG FP and were beneficiaries of AIG

         FP’s deferred compensation plans.

                 11.     Defendant Lee Arthurs, upon information and belief, is a resident of New York.

                 12.     Defendant David Ackert, upon information and belief, is a resident of Nevada.

                 13.     Defendant Mitchell Bell, upon information and belief, is a resident of Connecticut.

                 14.     Defendant Erik Bengston, upon information and belief, is a resident of New York.

                 15.     Defendant Paul Bradshaw, upon information and belief, is a resident of

         Connecticut.

                 16.     Defendant Thomas Buttke, upon information and belief, is a resident of

         Connecticut.

                 17.     Defendant John Cappeta, upon information and belief, is a resident of California.

                 18.     Defendant David Chang, upon information and belief, is a resident of Connecticut.

                 19.     Defendant Robert Chang, upon information and belief, is a resident of Connecticut.

                 20.     Defendant Jason DeSantis, upon information and belief, is a resident of

         Connecticut.

                 21.     Defendant Richard Fabbro, upon information and belief, is a resident of New York.

                 22.     Defendant Kenneth Farrar, upon information and belief, is a resident of

         Connecticut.

                 23.     Defendant Jonathan Fraade, upon information and belief, is a resident of

         Connecticut.

                 24.     Defendant Carl Giesler Jr, upon information and belief, is a resident of Texas.

                                                          5
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW        Doc 4     Filed 02/28/23    Page 12 of 173




                 25.     Defendant James Haas, upon information and belief, is a resident of Florida.

                 26.     Defendant Charles Hsieh, upon information and belief, is a resident of Connecticut.

                 27.     Defendant Thomas Kalb, upon information and belief, is a resident of Texas.

                 28.     Defendant Thomas Kushner, upon information and belief, is a resident of

         Connecticut.

                 29.     Defendant Robert Leary, upon information and belief, is a resident of Florida.

                 30.     Defendant Jonathan Liebergall, upon information and belief, is a resident of South

         Carolina.

                 31.     Defendant Nathaniel Litwak, upon information and belief, is a resident of New

         York.

                 32.     Defendant Brendan Lynch, upon information and belief, is a resident of

         Connecticut.

                 33.     Defendant Alfred Medioli, upon information and belief, is a resident of New Jersey.

                 34.     Defendant Matthew Mihaly, upon information and belief, is a resident of

         Connecticut.

                 35.     Defendant JoAnn Palazzo, upon information and belief, is a resident of

         Connecticut.

                 36.     Defendant Eugene Park, upon information and belief, is a resident of Connecticut.

                 37.     Defendant Andrew Partner, upon information and belief, is a resident of

         Connecticut.

                 38.     Defendant Carl Peterson, upon information and belief, is a resident of Texas.

                 39.     Defendant Steven Pike, upon information and belief, is a resident of Colorado.



                                                          6
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW         Doc 4    Filed 02/28/23     Page 13 of 173




                 40.     Defendant Thomas Plagemann, upon information and belief, is a resident of New

         York.

                 41.     Defendant Robert Powell, upon information and belief, is a resident of Connecticut.

                 42.     Defendant Daniel Raad, upon information and belief, is a resident of New Jersey.

                 43.     Defendant Ann Reed, upon information and belief, is a resident of Connecticut.

                 44.     Defendant Dmitri Satanovsky, upon information and belief, is a resident of

         Connecticut.

                 45.     Defendant Paul Schreiner, upon information and belief, is a resident of Connecticut.

                 46.     Defendant Mary Heather Singer, upon information and belief, is a resident of

         Connecticut.

                 47.     Defendant Keith Stein, upon information and belief, is a resident of Connecticut.

                 48.     Defendant Frank Strohm, upon information and belief, is a resident of Texas.

                 49.     Defendant Timothy Sullivan, Jr, upon information and belief, is a resident of Texas.

                 50.     Defendant Christian Toft, upon information and belief, is a resident of Connecticut.

                 51.     Defendant Joe Tom, upon information and belief, is a resident of New Jersey.

                 52.     Defendant Ryan Vetter, upon information and belief, is a resident of New York.

                 53.     Defendant Steven Wagar, upon information and belief, is a resident of Connecticut.

                 54.     Defendant Thomas Ward, upon information and belief, is a resident of Connecticut.

                 55.     Defendant Martin Wayne, upon information and belief, is a resident of New York.

                 56.     Defendant James Wolf, upon information and belief, is a resident of Texas.




                                                          7
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW             Doc 4      Filed 02/28/23       Page 14 of 173




                                                 FACTUAL BACKGROUND

                   A.       AIG FP’S DEFERRED COMPENSATION PLANS

                            1.       The Deferred Compensation Plan and Relevant Provisions

                   57.      AIG FP maintained a deferred compensation system for rewarding top executives

         while aligning the incentives of the company and of management.                        AIG FP was initially

         characterized as a “joint venture” and historically AIG FP profits were split on a 70/30 basis, with

         70% going to AIG Inc. and the remaining 30% going to AIG FP executives. Beginning in or

         around 1995, AIG FP better aligned incentives for long-term growth over short-term profits and

         increased the capital of FP, by adopting a compensation system pursuant to which a portion of

         these profits should not paid out immediately to AIG Inc. and the executives, but rather would be

         deferred, to be paid in the future, subject to various adjustments and conditions.

                   58.      This arrangement was reflected in the AIG FP Deferred Compensation Plan, dated

         December 1, 1995 (as amended and modified, the “DCP”).5 The DCP established AIG Inc. and

         the executives of AIG FP collectively as the “Plan Participants” (the former AIG FP executives

         who participated in the DCP are referred to hereafter as the “Former Executive Plan

         Participants”). A copy of the DCP is attached hereto as Exhibit A.

                   59.      The DCP’s objectives were:

                            1.       To promote the formation of capital in AIG FP;

                            2.       To ensure that the interests of [Former Executive Plan
                                     Participants] and AIG [Inc.] are aligned to promote the long
                                     term success of AIG FP;

                            3.       To focus AIG FP on success measured not only by revenue
                                     growth but also by return on capital, quality of earnings, and

         5
             Although initially adopted on December 1, 1995, the DCP has been subsequently amended, with the last amendment
             occurring on December 22, 2010.


                                                                  8
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW          Doc 4     Filed 02/28/23        Page 15 of 173




                                    enhancement of the AIG name and reputation in financial
                                    services;

                             4.     To serve as an investment opportunity that will attract the
                                    most talented people to AIG FP and retain those already
                                    here; and

                             5.     To be simple, straightforward, and efficient.6

                   60.       Under the DCP, at the end of each year, “Distributable Income” (defined as AIG

         FP’s “revenues, less expenses and credit and market reserves taken for that year”, as determined

         by the board of AIG FP from time to time),7 would be calculated and apportioned 70% to AIG Inc.

         and 30% to Former Executive Plan Participants, with a portion of those amounts credited to both

         AIG Inc.’s and to the Former Executive Plan Participants’ Deferred Compensation Accounts

         (the “Plan Accounts”).

                   61.       Absent any losses exceeding the outstanding market and credit reserves and current

         year income of AIG FP, such Plan Account balances were subsequently to be paid to AIG Inc. and

         the Former Executive Plan Participants annually in arrears beginning in October of each year in

         equal pro rata installments corresponding to the approximate average life of AIG FP’s swap

         transaction portfolio, on a schedule determined by the board of AIG FP.8

                   62.       However, in the event AIG FP suffered losses in a given year, the DCP provided

         for AIG FP to reduce the outstanding balance credited to the Plan Account of each participant

         (the “Reduction Provision”).9 Under the DCP, and for the purposes of reducing plan balances,




         6
             DCP Preamble.
         7
             DCP §1.08.
         8
             DCP §3.05(b).
         9
             DCP §4.01(b).


                                                              9
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW         Doc 4    Filed 02/28/23     Page 16 of 173




         losses were defined as those losses that “in the aggregate exceed the outstanding market and credit

         reserves and current year income of AIG FP.”10

                    63.    The DCP also included a mechanism for AIG FP to subsequently restore the

         reduced Plan Account balances (the “Restoration Provision”).11 In 2008, the DCP was amended

         to provide that “to the extent amounts have not been restored by December 31, 2013, all restoration

         rights shall permanently lapse.”12

                    64.    The DCP also explicitly provided that benefits payable under the DCP would not

         have the benefit of any guarantee by AIG Inc.             Accordingly, the Former Executive Plan

         Participants could not rely on the General Guarantee Agreement, dated as of December 4, 1995,

         by and between AIG Inc. and AIG FP (the “Parent Guarantee”), pursuant to which AIG Inc. had

         guaranteed the prompt payment when due of all obligations of AIG FP. A copy of the Parent

         Guarantee is attached hereto as Exhibit B.

                    65.    Most importantly, the DCP also contained several bankruptcy-related provisions.

         In particular, the DCP made clear that, in the event AIG FP filed for bankruptcy, all obligations

         under the DCP would be subordinated and junior in right of payment to all of AIG FP’s other

         obligations, unless payment of any such other obligations was expressly made subordinate to or

         pari passu with AIG FP’s payment obligations under the DCP:

                           If AIG [FP] shall become the subject of any bankruptcy or
                           insolvency case or proceeding, or shall make an assignment for the
                           benefit of creditors, or shall become the subject of a reorganization
                           whether or not pursuant to bankruptcy laws, or if any other relief
                           shall be granted to AIG Financial Products Corp. generally from the
                           rights     of    creditors,     then    in    any      such     event

         10
              Id.
         11
              Id.
         12
              Id.


                                                            10
30132276.1

         US-DOCS\139579253
                           Case 23-50110-MFW               Doc 4       Filed 02/28/23        Page 17 of 173




                             (a “Bankruptcy/Insolvency Event”) the obligations under this
                             Deferred Compensation Plan to [Former Executive Plan]
                             Participants and their Beneficiaries and to AIG [Inc.] shall be
                             subordinate and junior in right of payment and otherwise, to the
                             prior payment in full of all of the other obligations of AIG [FP],
                             whether now existing or hereafter incurred, except to the extent
                             payment of any such obligations is expressly made subordinate to or
                             pari passu with the payment obligations hereunder.13

                    66.      None of AIG FP’s obligations have been made expressly subordinate to or pari

         passu with the DCP claims.14

                    67.      As such, even if AIG FP were now obligated to restore the Plan Account balances

         (it is not), any claim by a Former Executive Plan Participant would be subordinated to all other

         AIG FP obligations (including claims of the Parent) in this Chapter 11 Case.

                             2.        The Special Incentive Plan and Relevant Provisions

                    68.      In the Defendants’ prepetition litigation, they brought claims against AIG FP under

         another deferred compensation plan as well. In response to unrealized losses from AIG FP’s credit

         derivative business in 2007, AIG FP capped the bonuses awarded pursuant to the DCP, and

         introduced the 2007 Special Incentive Plan, effective as of December 1, 2007 (as amended and

         modified, the “SIP” and together with the DCP, the “Compensation Plans”). A copy of the SIP

         is attached hereto as Exhibit C.

                    69.      The SIP mitigated the shortfall created by the cap on DCP bonuses by crediting to

         new SIP accounts, sums equivalent to the difference between the amounts that would have been




         13
              DCP §4.01(a) (emphasis added).
         14
               For the avoidance of doubt, the Debtor’s description or classification in this Complaint of any obligations arising
              under or related to the Compensation Plans (as defined above) as “claims” is being used for convenience only, and
              should not be construed as an admission that such obligations are debt. As set forth in Count Three below, the
              Debtor submits that the Defendants’ interests arising under the Compensation Plans are equity interests.


                                                                     11
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW             Doc 4    Filed 02/28/23     Page 18 of 173




         awarded under the DCP absent the cap on DCP bonuses and the amount of bonuses actually

         awarded under the DCP.

                    70.        The amounts credited to the SIP accounts were to be paid at a future time, with the

         SIP expressly stating that its purposes included building capital to ensure “that amounts are

         available to absorb losses in the event that AIG FP realizes losses on super senior credit derivatives

         that would have an impact on AIG FP’s capital structure.”15

                    71.        The SIP contained substantially similar reduction and restoration provisions as

         those contained in the DCP (including the December 31, 2013 lapse provision), so that if any losses

         were incurred in excess of reserves and current year income, SIP credits would be reduced.16

         The SIP also included identical language providing that AIG Inc. did not guarantee any obligation

         under the SIP plan.17

                    72.        Finally, just like claims arising under the DCP, the SIP also expressly subordinated

         any claim under the SIP to all of AIG FP’s other obligations in bankruptcy:

                               If AIG [FP] shall become the subject of any bankruptcy or
                               insolvency case or proceeding, or shall make an assignment for the
                               benefit of creditors, or shall become the subject of a reorganization
                               whether or not pursuant to bankruptcy laws, or if any other relief
                               shall be granted to AIG [FP] generally from the rights of creditors,
                               then in any such event (a “Bankruptcy/Insolvency Event”) the
                               obligations hereunder to Covered Executives and their Beneficiaries
                               and to AIG [Inc.] shall be subordinate and junior in right of
                               payment and otherwise, to the prior payment in full of all of the
                               other obligations of AIG [FP], whether now existing or hereafter
                               incurred, except to the extent payment of any such obligations is




         15
              SIP Preamble.
         16
              SIP § 4.01(b).
         17
              SIP § 4.01(a).


                                                                12
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW         Doc 4    Filed 02/28/23   Page 19 of 173




                            expressly made subordinate to or pari passu with the payment
                            obligations hereunder.18

                   73.      None of AIG FP’s obligations have been made expressly subordinate to or pari

         passu with the SIP claims.

                   74.      Accordingly, in this Chapter 11 Case, the Defendants’ right to payment (if any)

         arising under the SIP will be subordinated and junior in right of payment to all of AIG FP’s other

         obligations without regarding to when such obligations were incurred (including claims of

         the Parent).

                   75.      As shown above, the language in the Compensation Plans is clear and

         unambiguous: alleged claims arising thereunder are subordinated and junior in right of payment to

         all of AIG FP’s other obligations, with the lone exception for claims that are expressly made

         subordinate to or pari passu with AIG FP’s obligations under the Compensation Plans. If the

         documentation governing the other obligations is silent as to priority, then the plain language of

         the Compensation Plans means such obligations are senior to the claims arising under the

         Compensation Plans.

                            3.        The 2008 Employee Retention Plan

                   76.      By early 2008, because both the broader market and AIG Inc. and its subsidiaries

         were coming under increased pressure, AIG FP introduced the Employee Retention Plan (the

         “ERP”), effective from December 1, 2007, which provided for guaranteed retention awards.

         Unlike the payments under the Compensation Plans, the ERP awards were determined without

         regard to AIG FP’s 2008 or 2009 financial performance. The ERP further provided for a portion

         of those awards to be paid no later than March 15 of the calendar year following the relevant


         18
              Id. (emphasis added).

                                                            13
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW             Doc 4      Filed 02/28/23       Page 20 of 173




         compensation year, with payment guaranteed by AIG Inc. Pursuant to the ERP, the remainder of

         the ERP awards were deferred into the Plan Accounts, where they would be subject to Reduction

         and Restoration Provisions and would not be subject to the Parent Guarantee. AIG FP fully paid

         the guaranteed amounts.

                            4.       Total Amounts Paid to the Defendants

                    77.     The Defendants have already been paid substantial amounts by the Debtor based

         on, among other things, their salaries, the Compensation Plans, and the ERP. Specifically, and as

         shown on Exhibit D attached hereto, these forty-six Defendants have already received more than

         $751 million in cash in the aggregate from the Debtor for the years 2002 through 2009. Of that

         amount, approximately $47 million was paid to the eight Defendants that previously executed

         releases waiving any claims against AIG FP related to the Compensation Plans (the “Releasing

         Defendants”).19

                    78.     Furthermore, as shown on such Exhibit, 99.3% of such payments (a total of

         $746,068,357) were made to forty-three Defendants (each of whom received at least $2,000,000

         from the Debtor). These highly-compensated insiders of the Debtor reaped tremendous financial

         benefits from AIG FP’s trades, yet now seek to avoid the impact of AIG FP’s massive financial

         crisis losses which wiped out account balances under the express terms of the Compensation Plans.

         Not a single Defendant was paid less than $1,500,000 by the Debtor.




         19
              The Debtor understands that the Releasing Defendants are: David Chang, Brendan Lynch, Matthew Mihaly, Dmitry
              Satanovsky, Christian Toft, Joe Tom, Steven Wagar and Thomas Ward.

                                                                 14
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW         Doc 4    Filed 02/28/23     Page 21 of 173




                    B.      THE 2008 FINANCIAL CRISIS RESULTED IN AIG FP INCURRING DEBT UNDER
                            THE AIG FP REVOLVING CREDIT AGREEMENT

                    79.     AIG FP became a central figure of the Financial Crisis when its unhedged positions

         on credit default swaps (“CDSs”) that had initially produced gains started unravelling. For years

         prior, AIG FP had been writing credit protection through CDSs on pools of mortgage-backed

         securities tied to subprime mortgage markets. AIG FP’s position required the posting of collateral

         in the event the market value of the underlying mortgage-backed securities declined. By the spring

         of 2005, the unhedged exposure on these CDS contracts had increased to $40 billion. In light of

         growing market risks, AIG FP tried to reduce risk and decided to stop writing new mortgage-

         backed CDSs in 2006. Despite this decision, AIG FP’s CDS portfolio was approximately $533

         billion in total notional amount by 2007.

                    80.     In September 2008, as the value of underlying securities fell, AIG FP experienced

         unrealized losses on its portfolio and owed tens of billions of dollars of collateral postings, with

         no liquidity to pay them. Those demands triggered a liquidity crisis at AIG FP and AIG Inc.

         because AIG Inc. had guaranteed AIG FP’s monetary liabilities to those counterparties.20

         As is standard and customary in guarantee agreements, the Parent Guarantee also provided that

         AIG Inc. would be subrogated to the right of any guaranteed party against AIG FP with respect to

         any and all payment made by AIG Inc. on account of AIG FP’s obligations.21

                    81.     On the morning of Monday, September 15, 2008—the same day that Lehman

         Brothers filed for chapter 11 protection—AIG Inc. met with representatives of certain financial

         institutions and the Federal Reserve Bank of New York (the “Federal Reserve”). Given the size,



         20
              Parent Guarantee §§ 1 and 2.
         21
              Id. § 5.

                                                            15
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW            Doc 4      Filed 02/28/23      Page 22 of 173




         name, franchise, and market presence of AIG Inc. and its subsidiaries, the Federal Reserve

         cautioned of a potential worldwide contagion should AIG Inc. become further impaired.22

                    82.     On the night of September 16, 2008, AIG Inc.’s Board of Directors approved

         borrowing from the Federal Reserve based on a term sheet that set forth the terms of a secured

         credit agreement and related equity participation, resulting in the extension of a $14 billion line of

         credit to AIG Inc. Less than a week later, the Federal Reserve and AIG Inc. finalized the terms of

         that certain Credit Agreement, dated as of September 22, 2008 (the loan provided thereunder, the

         “Fed Loan”), providing for an $85 billion revolving line of credit to ensure that AIG Inc. and its

         subsidiaries could meet their immediate obligations.

                    83.     As a result of and simultaneous with AIG Inc.’s receipt of the Fed Loan, AIG Inc.

         entered into that certain Revolving Credit Agreement, dated as of September 22, 2008, with its

         affiliate AIG Funding, Inc. (“AIG Funding”), whereby it extended $85 billion to AIG Funding to

         finance additional intercompany loans to direct and indirect subsidiaries of AIG Inc. (the “AIG

         Funding Revolving Credit Agreement”).

                    84.     Concurrently therewith, AIG Funding entered into a separate Revolving Credit

         Agreement, dated as of September 22, 2008, with AIG FP (the “AIG FP Revolving Credit

         Agreement” and the loan extended thereunder, the “AIG FP Revolver”) whereby it extended a

         $65 billion revolving credit line to AIG FP. A copy of the AIG FP Revolving Credit Agreement is

         attached hereto as Exhibit E.




         22
              See Financial Crisis Inquiry Commission, The Financial Crisis Inquiry Report: Final Report of the National
              Commission on the Cause of the Financial and Economic Crisis in the United States (2011),
              https://www.govinfo.gov/content/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf, p. 349.

                                                                16
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW             Doc 4     Filed 02/28/23       Page 23 of 173




                    85.     AIG FP borrowed from AIG Inc. (via AIG Funding), which itself borrowed from

         the Federal Reserve, and used the proceeds of those borrowings to satisfy its Parent-guaranteed

         obligations and collateral calls, avoid a default, and thus avoid the collapse of AIG Inc. and broader

         financial contagion.23

                    86.     The AIG FP Revolving Credit Agreement does not expressly provide that the

         Parent’s right of payment thereunder is subordinated to or pari passu with AIG FP’s obligations

         under the Compensation Plans. As such, pursuant to the plain language of the Compensation

         Plans, the Parent’s claims arising under the AIG FP Revolving Credit Agreement are senior to the

         Defendants’ claims arising in connection with the Compensation Plans.

                    C.      AIG FP USES THE AIG FP REVOLVER TO PAY COLLATERAL CALLS AND TO
                            START UNWINDING ITS PORTFOLIO

                    87.     In October 2008, a steering committee made up of executives from AIG FP and

         AIG Inc., and other advisors, was established to oversee AIG FP’s unwinding of its portfolio.

         Due in part to the long-dated nature of the transactions on AIG FP’s books, the unwinding could

         not (and was neither meant nor anticipated to) be completed quickly. Rather, in order to unwind

         its trading portfolio business without inflicting more losses, it was understood that AIG FP would

         need to find replacement counterparties for its complex derivatives, a process that ultimately was

         complicated by the continued market downturn, a global recession, and decreased risk appetites.

                    88.     Initially, the loans under the AIG FP Revolver enabled AIG FP to close out its most

         problematic open derivatives positions that carried the largest potential for additional sustained

         losses to AIG FP. Then, in order to stabilize their financial positions and eliminate the ongoing



         23
              The AIG FP Revolving Credit Agreement was ultimately assumed by AIG Inc. in connection with its merger with
              AIG Funding in December 2015, pursuant to which AIG Inc. assumed all of AIG Funding’s liabilities.

                                                                 17
30132276.1

         US-DOCS\139579253
                           Case 23-50110-MFW               Doc 4      Filed 02/28/23         Page 24 of 173




         collateral calls, AIG Inc. and AIG FP realized a substantial portion of the previously unrealized

         losses of AIG FP’s CDS transactions in a series of transactions referred to as “Maiden Lane III.”24

         As a result, certain complex financial contracts were terminated, which allowed counterparties to

         retain collateral posted by AIG FP, leading to realized losses of approximately $25.8 billion in

         November 2008 and $8.1 billion in December 2008.

                    89.      Despite incurring these losses, AIG FP continued operating during its unwinding

         and delayed the initiation of any reorganization or liquidation proceedings, as those proceedings

         would have triggered defaults on its derivatives and other financial positions, resulting in

         additional significant losses to AIG FP. From AIG FP’s perspective, it still had valuable assets in

         its portfolio, including in the form of derivatives transactions that individually could continue to

         generate value for years to come, and which AIG FP planned on using to repay the AIG FP

         Revolver. AIG FP thus used the funds available under the AIG FP Revolver to maximize value

         and minimize losses by completing its unwinding gradually over time.

                    90.      Since entry into the AIG FP Revolving Credit Agreement, which provided for up

         to $65 billion in aggregate principal amount at any one time, AIG FP has made numerous draws

         and repayments. In total, AIG FP has drawn over $92 billion under the AIG FP Revolver and

         repaid over $59 billion. As shown on the chart attached hereto as Exhibit F, the Debtor has paid

         and re-borrowed extensively on the AIG FP Revolver over the last fourteen years, with its last

         draw thereunder occurring in May 2021.




         24
              As described more fully in paragraph 19 of the First Day Declaration, the Maiden Lane transactions refer to the
              Federal Reserve’s agreement during the Financial Crisis to purchase certain troubled assets from financial
              institutions in order to remove such assets from the firms’ books and transfer them to new entities that came to be
              known as Maiden Lane LLCs (named for a street alongside the Federal Reserve).

                                                                    18
30132276.1

         US-DOCS\139579253
                           Case 23-50110-MFW              Doc 4      Filed 02/28/23        Page 25 of 173




                    91.      The largest draws occurred in 2008, starting with AIG FP’s initial draw of over

         $26 billion on September 22, 2008. By the end of September 2008, AIG FP had drawn almost

         $40 billion and by the end of December, that number was over $50 billion. AIG FP made the first

         repayment on the AIG FP Revolver on October 24, 2008. From then on, AIG FP has continued to

         borrow and repay periodically throughout the life of the AIG FP Revolver, using money AIG FP

         brought in through asset sales and releases of posted collateral for the repayments.

                    92.      From 2008 until 2010, AIG FP made over 100 draws and even more repayments.

         From 2010 until 2021, AIG FP made roughly 25 draws on the AIG FP Revolver and several more

         repayments.

                    93.      In addition to making repayments on the loans, AIG FP paid over $6 billion in cash

         interest. From September 2008 through May 2011, AIG FP paid interest on the AIG FP Revolver

         on a monthly basis as required under the AIG FP Revolving Credit Agreement, which totaled just

         over $6 billion. In June 2011, interest started being capitalized (at the rate of one-month LIBOR

         plus 20 basis points) instead of paid in cash. The total amount of capitalized interest since June

         2011 is approximately $4.2 billion. In November 2022 (the last full month prior to the Petition

         Date), AIG FP accrued $133 million in interest on the AIG FP Revolver (i.e., an annualized amount

         of $1.6 billion).

                    94.      Ultimately, AIG FP was not able to recoup the losses it suffered as a result of the

         Financial Crisis. As of the Petition Date, AIG FP had drawn over $92 billion under the AIG FP

         Revolver to satisfy its obligations, and repaid over $59 billion,25 leaving a balance of




         25
               This amount excludes the capitalized interest paid since June 2011 in the approximate amount of $4.2 billion, as
              discussed in more detail above.

                                                                   19
30132276.1

         US-DOCS\139579253
                         Case 23-50110-MFW            Doc 4    Filed 02/28/23   Page 26 of 173




         approximately $37.4 billion outstanding under the AIG FP Revolver. Accordingly, AIG Inc. has

         a claim against AIG FP for this amount in the Chapter 11 Case.

                   D.       THE FORMER EXECUTIVE PLAN PARTICIPANTS BRING SUITS AGAINST AIG FP

                   95.      AIG FP’s substantial losses during the Financial Crisis had direct consequences on

         the Compensation Plans.              Once such losses were applied to the Former Executive Plan

         Participants’ Plan Accounts, their balances were wiped out. Moreover, as noted above, the

         Compensation Plans provided, in relevant part, that to the extent amounts were not restored by

         December 31, 2013, all restoration rights would permanently lapse. 26

                   96.      AIG FP’s unwinding process, the absence of Distributable Income, and the fact it

         never recouped the enormous losses it suffered as a result of the Financial Crisis, meant that AIG

         FP never restored the Plan Account balances under the Compensation Plans (nor was it required

         to). And ultimately, in July 2014, AIG FP sent a letter informing Plan Participants that “no

         restorations have been possible given the magnitude of losses sustained by AIG FP” and that AIG

         FP’s “restoration obligation lapsed as of December 31, 2013” (the “Lapse Letter”). A copy of the

         Lapse Letter is attached hereto as Exhibit G.

                            1.      AIG FP Prevails in Litigation in the U.K.

                   97.      On October 8, 2014, a group of London-based Plan Participants sued AIG FP in an

         English trial court seeking payments on account of deferred compensation allegedly owed to them

         under the Compensation Plans (the “UK Litigation”). Specifically, the English plaintiffs asserted

         that AIG FP failed to restore the account balances or adopt any plan to do so by December 2013,

         in breach of their obligations under the Compensation Plans. It is the Debtor’s understanding that



         26
              Compensation Plans § 4.01(b).

                                                              20
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW         Doc 4      Filed 02/28/23   Page 27 of 173




         the English plaintiffs were financed by a third party litigation funder. The English plaintiffs also

         named AIG Inc. as a defendant and brought a separate tort claim against AIG Inc.

                 98.      After a bench trial, on November 9, 2018, the trial court dismissed the tort claim

         against AIG Inc. With respect to AIG FP, the trial court found that AIG FP had an unqualified

         obligation to restore the account balances and breached the Compensation Plans when it failed to

         do so. AIG FP promptly appealed.

                 99.      On January 24, 2020, a three-judge panel of the English Court of Appeal

         unanimously reversed the trial court decision, holding as a matter of Connecticut law that AIG FP

         had not breached the Compensation Plans and determining that AIG FP had promised to restore

         the account balances only if it has Distributable Income from which to make a restoration. Because

         AIG FP never had Distributable Income from which to make a restoration, the restoration

         obligation was never triggered before it lapsed on December 31, 2013. The English Court of

         Appeal further found that a contrary reading would be impermissibly circular, because an

         obligation to restore account balances would simply create a new debt and further losses that,

         absent profits, would lead to further deductions.

                 100.     On August 6, 2020, the UK Supreme Court denied leave to appeal, making the

         English Court of Appeal’s decision the final decision. Thus, after nearly six years, AIG FP was

         able to successfully defend the UK Litigation, but only after spending millions in legal fees and

         related costs.

                          2.     Stayed Litigation in Connecticut

                 101.     On December 6, 2019, after the English trial court found in favor of the Plan

         Participants, but before the English Court of Appeal ruled in favor of AIG FP, the Defendants filed

         a complaint against only AIG FP in the Connecticut Superior Court (the “Connecticut

                                                          21
30132276.1

         US-DOCS\139579253
                             Case 23-50110-MFW            Doc 4      Filed 02/28/23        Page 28 of 173




         Litigation,” and such court, the “Connecticut Court”). A copy of such complaint is attached

         hereto as Exhibit H. AIG Inc. is not (and never has been) a defendant in the Connecticut

         Litigation.27

                    102.      The Defendants commenced the Connecticut Litigation on the eve of the applicable

         statute of limitations, including the Releasing Defendants that had previously executed releases

         waiving any claims against AIG FP related to the Compensation Plans. In total, the Defendants

         represent only a small fraction (approximately 15%) of the Plan Participants that were formerly

         covered by the Compensation Plans. The vast majority of Plan Participants have not challenged

         the Lapse Letter or commenced litigation under the Compensation Plans.

                    103.      The Defendants brought claims all premised on the same breach-of-contract theory

         that was rejected in the UK Litigation: that AIG FP was contractually obligated to restore the

         account balances notwithstanding its continued losses. They also asserted a wage-and-hour claim

         that could potentially double damages against AIG FP.

                    104.      For years, in both the UK Litigation and the Connecticut Litigation, Former

         Executive Plan Participants argued that AIG Inc. extended loans (and not equity contributions) to

         AIG FP under the AIG FP Revolver. In particular, the Defendants made the following statements:

                             “AIG FP could have restored . . . the [DCP] and SIP account balances, and repaid
                              the [Defendants] … by borrowing funds from AIG [Inc.] under the bailout facility
                              that was in place between AIG [Inc.] and AIG FP.”28

                             “[C]ould AIG FP borrowed . . . against its credit facility to facilitate the dividend?
                              Maybe that was one way they could’ve met their obligation.”29


         27
              Arthurs, et al. v. AIG Fin. Prod. Corp., Case No. X08-FST-CV-XX-XXXXXXX-S (Conn. Super. Ct. Dec. 6, 2019).
         28
              Connecticut Complaint, ¶ 123 (emphasis added).
         29
              Oral Argument Transcript on Motion to Strike at 96:3–7 (emphasis added). A copy of the relevant pages is attached
              hereto as Exhibit I.


                                                                   22
30132276.1

         US-DOCS\139579253
                             Case 23-50110-MFW           Doc 4      Filed 02/28/23       Page 29 of 173




                             “AIG [Inc.] . . . issued AIGFP a revolving credit facility of $65 billion.”30

                             “Here, AIG FP has access to ‘general funds’ whether in the forms of assets it could
                              sell, the resumption of business activities, or in the form of the bail-out facility it
                              obtained from AIG for all of its legitimate business needs (as also highlighted by
                              the English Trial Court).”31

                    105.      Notwithstanding these prior statements and admissions, the Defendants now have

         raised contentions that the loans under the AIG FP Revolver were disguised equity infusions.

                    106.      The Connecticut Litigation was stayed as a result of the Chapter 11 Case.

         Summary judgment motions were to have been due in January 2023, and the trial was not

         scheduled to commence until July 2023 at the earliest.

                    E.        APPOINTMENT OF THE SPECIAL COMMITTEE

                    107.      As noted in paragraph 89 above, AIG FP had historically delayed the initiation of

         any reorganization or liquidation proceedings to avoid triggering defaults on its derivatives and

         other positions that would result in additional significant losses to AIG FP. But in early 2022, AIG

         FP determined, in light of its significant insolvency, lack of committed funding from its Parent,

         the status of its wind down, and the continued drain of litigation expenses, that it was prudent to

         evaluate whether it should pursue a reorganization, liquidation, or some other strategic transaction.

                    1.        Formation of Special Committee

                    108.      On January 21, 2022, Pamela Corrie and John S. Dubel were appointed as

         independent directors to the Board of Directors of AIG FP. Ms. Corrie and Mr. Dubel each is a

         well-respected, independent director who has served in similar capacities for various other




         30
               Memorandum of Law in Opposition to Defendant’s Motion to Strike at 6 (emphasis added). A copy of the relevant
              pages is attached hereto as Exhibit J.
         31
              Id. at 26 (emphasis added).


                                                                  23
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW         Doc 4     Filed 02/28/23     Page 30 of 173




         companies, and who has over thirty years of legal, operational, and financial restructuring

         experience.

                 109.    On January 24, 2022, the Board approved the formation of a special committee of

         the Board (the “Special Committee”), consisting of Ms. Corrie and Mr. Dubel. The Special

         Committee was given the authority to, among other things, assess AIG FP’s ongoing activities and

         assets and liabilities, evaluate and oversee potential strategic transactions, assess potential claims

         by or against AIG FP (including conducting an internal legal analysis into certain transactions and

         the viability of such claims by or against AIG FP), and take any actions in connection therewith.

                 110.    On January 24, 2022, the Special Committee approved the retention of (i) Alvarez

         & Marsal North America, LLC (“A&M”) as financial advisor to AIG FP and (ii) Mr. William C.

         Kosturos, a Managing Director at A&M, as Chief Restructuring Officer (the “CRO”) of AIG FP.

         On that same date, the Special Committee also approved the retention of Latham & Watkins LLP

         (“Latham”) to serve as counsel to AIG FP and to assist the Special Committee with its evaluation

         of potential strategic transactions, related activities, and potential claims. Following its formation

         and the retention of AIG FP’s advisors, the Special Committee held meetings at least weekly with

         Latham and A&M, with over sixty meetings held by the time of the Petition Date.

                 2.      Revolver Analysis

                 111.    Since AIG Inc. is both the sole equity owner of AIG FP and its largest creditor

         pursuant to the AIG FP Revolving Credit Agreement as successor to AIG Funding, the Special

         Committee (with the assistance of Latham and A&M) reviewed and analyzed the terms and

         conditions of the AIG FP Revolver to assess AIG Inc.’s claim against AIG FP (the “Revolver

         Analysis”).




                                                          24
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW            Doc 4      Filed 02/28/23       Page 31 of 173




                   112.     Latham and A&M began their work on the Revolver Analysis in February 2022,

         ultimately working over one thousand hours on its analysis. Their work encompassed extensive

         legal and factual research and analysis, including the review of several hundred thousand

         documents. In addition, over a period of approximately four months, Latham interviewed eight

         current and former employees of AIG Inc. and AIG FP with personal knowledge relevant to the

         Revolver Analysis. Latham and A&M met and discussed its analysis with the Special Committee

         on dozens of occasions.

                   113.     After two months of analysis, in April 2022, Latham delivered to the Special

         Committee its initial findings and conclusions of the Revolver Analysis, including analysis on

         potential claims for recharacterization, equitable subordination, subrogation, and others. Two

         months later, Latham delivered its final findings and conclusions regarding the investigation to the

         Special Committee.

                   114.     Following its review of these findings and conclusions and dozens of related

         discussions with Latham, the Special Committee concluded that the amounts owed under the AIG

         FP Revolver were (and are) valid and allowable debts against AIG FP and, in a bankruptcy, senior

         to any alleged claims of the Former Executives arising under the Compensation Plans, which are

         expressly subordinated to such claims of AIG Inc. in the event of a bankruptcy proceeding.

                   115.     In particular, with the understanding that recharacterization is “difficult to prove,”32

         the Special Committee concluded the AIG FP Revolver was true debt because, among other things:

                               Instrument Name. The AIG FP Revolving Credit Agreement is titled
                                “Revolving Credit Agreement”, and contains extensive references to terms that
                                only apply to a debtor-creditor relationship, such as borrower, principal,



         32
              In re Parker School Uniforms, LLC, 2021 WL 4553016, at *12 (Bankr. D. Del. 2021).

                                                                25
30132276.1

         US-DOCS\139579253
                       Case 23-50110-MFW          Doc 4     Filed 02/28/23     Page 32 of 173




                             interest, loans, and lend. The agreement does not contain a single reference to
                             any term or condition that would apply to an equity investment.

                            Promissory Note. A promissory note was executed by AIG FP in favor of AIG
                             Funding, effective as of September 22, 2008.

                            Interest Payments. The AIG FP Revolving Credit Agreement expressly
                             provides for interest to be paid “at a mutually agreed rate per annum.” And
                             consistent with such agreement, the parties actually agreed on the terms of such
                             interest rate. Specifically, from 2008 to 2011, AIG FP paid interest totaling
                             approximately $6 billion in cash. Since 2011, interest has been capitalized at
                             the rate of one-month LIBOR plus 20 basis points, with AIG FP accruing $133
                             million of interest for the month of November 2022 (the last full month before
                             the Petition Date).

                            No Voting Rights. AIG Funding did not receive any equity interests or voting
                             rights in AIG FP in connection with the AIG FP Revolver, nor did it obtain any
                             share of profits under the Compensation Plans, all of which reflects the parties’
                             intent that the revolver constitute debt.

                            No Reductions or Offsets. AIG FP’s obligation to repay the AIG FP Revolver
                             is absolute and unconditional. AIG FP has no ability to reduce or offset
                             amounts owed under the AIG FP Revolver for any reason, including subsequent
                             losses.

                            No Subordination. The AIG FP Revolver does not provide that payment
                             obligations arising thereunder are junior or subordinate to any other obligations
                             of AIG FP.

                            Subsequent Behavior. AIG Inc., AIG Funding, and AIG FP intended for the
                             AIG FP Revolver to be a loan as shown by, among other things: (i) documents
                             AIG Inc. filed with the Securities and Exchange Commission and sent to
                             Congress in connection with the funding, which describe the funding as a loan,
                             and (ii) the fact that AIG FP has repaid over $59 billion in principal and paid
                             and accrued interest over the last fourteen years under the AIG FP Revolver as
                             shown on Exhibit F attached hereto.

                            Admission by the Former Executives. While not a critical factor in their
                             analysis, the Special Committee took notice that the Former Executives referred
                             to the AIG FP Revolver as a loan for years in the prepetition litigation. See ¶
                             104 above.




                                                          26
30132276.1

         US-DOCS\139579253
                           Case 23-50110-MFW               Doc 4       Filed 02/28/23        Page 33 of 173




                    F.       AIG FP COMMENCES THE CHAPTER 11 CASE

                    116.     On the Petition Date, the Debtors commenced its Chapter 11 Case. On the Petition

         Date, the Debtor filed the Plan of Reorganization of AIG Financial Products Corp. under Chapter

         11 of the Bankruptcy Code [Docket No. 6] (the “Chapter 11 Plan” or the “Plan”) and related

         disclosure statement [Docket No. 7] (the “Disclosure Statement”). The Plan provides for the

         Parent to retain its existing equity interests in the Debtor in exchange for the full discharge and

         satisfaction of the Parent’s claim under the AIG FP Revolver. With respect to the Former

         Executives’ subordinated claims, the Plan provides that, if the class of Former Executives votes to

         accept the Plan, they would receive $1.0 million in the aggregate to be shared equally amongst

         them. If the class votes to reject the Plan, then the Former Executives would not receive any

         distribution nor retain any property on account of their subordinated claims.

                    117.     On January 13, 2023, the Defendants filed their motion to dismiss the Chapter 11

         Case [Main Docket No. 101] (the “Dismissal Motion”). In the Dismissal Motion, the Defendants

         make clear their belief that the AIG FP Revolver was a disguised equity infusion and that they will

         seek to recharacterize it as equity at some unspecified later time in this Chapter 11 Case.33

                    G.       THE LOANS EXTENDED TO AIG FP UNDER THE AIG FP REVOLVING CREDIT
                             AGREEMENT ARE DEBT

                    118.     As described in paragraphs 111 through 115 above, the Special Committee

         determined, in its reasonable business judgment and in consultation with independent advisors,

         that the AIG FP Revolver is debt. The terms of the AIG FP Revolving Credit Agreement clearly

         reflect an intent for the agreement to be treated as debt. The AIG FP Revolving Credit Agreement



         33
               See, e.g., Dismissal Motion, ¶ 3 (“AIGFP’s filing is predicated on the false narrative that the approximately $37.7
              billion owed to its parent arises from an arm’s length debtor-creditor arrangement. That could not be further from
              the truth.”) (emphasis added); ¶¶ 3, 17, 18, and 44 (calling the AIG FP Revolver “equity”).

                                                                     27
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW          Doc 4       Filed 02/28/23   Page 34 of 173




         was titled “Revolving Credit Agreement” and contains extensive references to terms that only

         apply to a debtor-creditor relationship, such as borrower, principal, interest, loans, and lend.

         The agreement does not contain a single reference to any term or condition that would apply to an

         equity investment. A promissory note was also executed by AIG FP in favor of AIG Funding,

         effective as of September 22, 2008.

                 119.    Moreover, all parties involved—AIG Inc., AIG FP, and AIG Funding—intended

         and understood the AIG Funding Revolving Credit Agreement, and ultimately the AIG FP

         Revolving Credit Agreement, to be debt instruments. Throughout the term of the AIG FP

         Revolving Credit Agreement, all parties have consistently treated the loans under the AIG FP

         Revolving Credit Agreement as debt. Section 1.2 of the AIG FP Revolver also expressly states

         that interest will accrue thereunder based on subsequent agreement of the parties, which did in fact

         occur. Since the Financial Crisis, AIG FP has borrowed $92 billion under the AIG FP Revolver,

         repaid over $59 billion, and has made over $6 billion in cash interest payments and capitalized

         another $4.2 billion in interest payments under the AIG FP Revolver.

                 120.    AIG FP made principal repayments and interest payments to AIG Inc.

         (through AIG Funding, prior to AIG Funding’s merger into AIG Inc.) regardless of its overall

         profitability and, in fact, despite significant losses. AIG FP used the proceeds of the borrowings

         pursuant to the AIG FP Revolver to meet its contractual obligations as they came due and to

         facilitate its unwinding of its trading portfolio.

                 121.    Upon information and belief, AIG Inc., in turn, also treated the loans under the AIG

         FP Revolver as debt both within the AIG corporate family, as well as in its dealings with third

         parties. AIG Inc. recorded the loans it made to AIG FP as such in its books and records.

         In addition, AIG Inc. represented to the government that the funds borrowed under the Fed Credit

                                                              28
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW        Doc 4    Filed 02/28/23    Page 35 of 173




         Agreement were used in part to make loans to AIG FP for collateral postings. AIG Inc. made

         disclosures describing the funds extended to AIG FP under the AIG FP Revolver as loans in public

         filings with the Securities and Exchange Commission and to Congress.

                 122.      AIG FP’s obligation to repay the AIG FP Revolver is absolute and unconditional.

         Section 1.5 of the AIG FP Revolver expressly states that all payments to be made by AIG FP

         thereunder shall be made without set-off or counterclaim. The AIG FP Revolver does not provide

         that payment obligations arising thereunder are junior or subordinate to any other obligations of

         AIG FP. Thus, the agreement is clear and unambiguous that AIG Inc. had an expectation that it

         would be repaid, and that repayment obligation would exist regardless of AIG FP’s own

         profitability.

                 123.      AIG FP used the loans under the AIG FP Revolver to post collateral for derivative

         and other investment contracts. When those contracts were ultimately unwound, the posted

         collateral was often returned to AIG FP, which it could then use towards repayment of the AIG FP

         Revolver. Despite many years of losses, AIG FP has continued to make repayments on the AIG

         FP Revolver as shown on the chart attached hereto as Exhibit F. These repayments clearly reflect

         an agreement that repayment to AIG Inc. of the AIG FP Revolver was not tied to the success or

         profitability of AIG FP.

                 124.      The Special Committee did take notice that the AIG FP Revolver has a two-year

         term that automatically renews. But given the unique context during which the emergency loan

         was made—an unprecedented financial crisis that threatened to destroy the entire AIG corporate

         enterprise—the Special Committee did not believe this one factor outweighed all the other factors

         in support of their conclusion that the AIG FP Revolver is debt. The fact that the parties treated

         the AIG FP Revolver as debt over the last fourteen years with borrowings, payments of principal

                                                           29
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW        Doc 4    Filed 02/28/23       Page 36 of 173




         and interest, and re-borrowings—which is the exact nature and purpose of a revolving credit

         facility—proved to the Special Committee that the AIG FP Revolver was (and is) debt against AIG

         FP.

                 125.    Finally, the Special Committee took notice that the AIG FP Revolver was put in

         place to avoid the collapse of AIG Inc. because AIG Inc. was liable for the collateral calls of AIG

         FP pursuant to the Parent Guarantee. Given the undeniable subrogation claims that the Parent

         otherwise would have against AIG FP pursuant to the Parent Guarantee had the Parent paid such

         claims directly (rather than loaning those exact same funds to AIG FP so AIG FP could pay such

         claims), the Special Committee believed the existence of the Parent Guarantee made

         recharacterization of the AIG FP Revolver as equity even more clearly improper. The exact same

         claims asserted today by AIG Inc. under the AIG FP Revolver would have existed for AIG Inc.

         under the Parent Guarantee in the form of subrogation and there is no basis for treating AIG Inc.

         worse for having loaned the money instead.

                 126.    Any cause of action to recharacterize the debt to AIG Inc. belongs to the Debtor.

         The Special Committee concluded, after an independent and exhaustive investigation of the AIG

         FP Revolver, that the loans extended thereunder are true debt obligations. That conclusion is

         entitled to all the presumptions provided by Delaware’s business judgment rule. See Delman v.

         GigAcquisitions3, LLC, 2023 WL 29325, at *12 (Del. Ch. Jan. 4, 2023) (“The business judgment

         rule, Delaware’s default standard of review, presumes that in making a business decision, the board

         of directors acted on an informed basis, in good faith and in the honest belief that the action was

         taken in the best interests of the company.”) (quotations omitted).




                                                         30
30132276.1

         US-DOCS\139579253
                          Case 23-50110-MFW         Doc 4    Filed 02/28/23    Page 37 of 173




                   H.       THE COMPENSATION PLANS CREATE EQUITY INTERESTS, NOT CLAIMS OR DEBT

                   127.     In contrast to the AIG FP Revolver, the Compensation Plans have terms and

         conditions that are unique to equity investments.         Specifically, the Former Executive Plan

         Participants held the same risk and benefit expectations as an AIG FP shareholder. In effect, by

         entering into the Compensation Plans, AIG Inc., as the ultimate shareholder of AIG FP, agreed to

         receive only 70% of the potential upside of AIG FP’s business, and to redistribute the remaining

         30% of that reward to the Former Executive Plan Participants. Both AIG Inc. and the Former

         Executive Plan Participants then agreed to defer a portion of that reward into their Plan Accounts,

         which were expressly made subject to Reduction Provisions if AIG FP suffered losses in a given

         compensation year.34 The unlimited upside potential under the Compensation Plans carried with

         it the risk that AIG FP could fail and the balance on their Plan Accounts could be wiped out, which

         is the essence of a capital investment. See In re Autostyle Plastics, Inc., 269 F.3d 726, 751 (6th

         Cir. 2001) (“If the expectation of repayment depends solely on the success of the borrower’s

         business, the transaction has the appearance of capital contribution.”).        As the Defendants

         themselves conceded in the Connecticut Litigation, the stated purpose of the Compensation Plans

         was “to provide employees with equity in AIG FP so that their interests would be aligned with

         those of AIG FP’s shareholders.”35 Plaintiff agrees.

                   128.     Plaintiff equally agrees with the Defendants’ statement in their Dismissal Motion

         that the sharing in the risks and rewards of a business is what defines an equity investment.36 In

         particular, the Defendants quoted In re Telegroup Inc., 281 F.3d 133, 140 (3d Cir. 2002), for the



         34
              Compensation Plans §4.01(b).
         35
              Connecticut Complaint, ¶ 4.
         36
              See Dismissal Motion, ¶ 59.

                                                            31
30132276.1

         US-DOCS\139579253
                           Case 23-50110-MFW       Doc 4    Filed 02/28/23   Page 38 of 173




         proposition that “an almost axiomatic principle of business law is that, because equity owners

         stand to gain the most when a business succeeds, they should absorb the costs of the business’s

         collapse – up to the full amount of their investment.”37

                    129.    This is the exact structure and guiding principle of the Compensation Plans.

         First, the stated purpose of the Compensation Plans was to have the Former Executive Plan

         Participants share in the “risks and rewards of AIG FP’s business.”38

                    130.    Second, unlike the AIG FP Revolving Credit Agreement, amounts owed to the

         Former Executive Plan Participants under the Compensation Plans were not absolute or

         unconditional. Rather, they were based on AIG FP’s future profits and expressly subject to offset

         and reduction by future losses pursuant to the Reduction Provisions. The amounts owed to the

         Former Executive Plan Participants could increase or decrease based on profits and losses of AIG

         FP—exactly like an equity investment.

                    131.    Third, although the Special Committee took notice that the Compensation Plans

         state that unpaid amounts thereunder constitute “unsecured claims” in a bankruptcy of AIG FP,

         the Compensation Plans then expressly state that such alleged claims are subordinated to all other

         obligations of AIG FP in bankruptcy (including future arising claims).39            That express

         subordination further supports treating the Compensation Plans as equity investments—these

         subordinated “claims” do not receive any recovery until all other claims (including future arising

         claims) are paid in full—exactly the same result as interest holders in bankruptcy as required by

         the absolute priority rule.



         37
              Id.
         38
              Compensation Plans, Introduction.
         39
              Compensation Plans, §4.01(b).

                                                           32
30132276.1

         US-DOCS\139579253
                           Case 23-50110-MFW               Doc 4       Filed 02/28/23        Page 39 of 173




                    132.     Fourth, the Compensation Plans contain none of terms one expects from a

         debtor-creditor relationship. There is no “loan”, “lender”, or “borrower”, and no promissory note.

         Nor do the Compensation Plans set out a principal amount owed or include a schedule for

         repayment or fix a maturity date. In fact, instead of coming to maturity, the benefit payables under

         the Compensation Plans lapsed on December 31, 2013, which is another basis to prove the amounts

         payable thereunder are neither absolute nor unconditional like a debt instrument.40

                    133.     For all these reasons, the Special Committee determined that AIG FP and the

         Defendants all intended the Compensation Plans to be equity interests and not debt instruments,

         especially when compared to the plain language of the AIG FP Revolver to create debt.

                    134.     AIG FP files this Complaint with a full reservation of rights, including, without

         limitation, to assert additional claims for relief that are not expressly described herein, or asserting

         any additional actions against the Defendants. By filing this Complaint, AIG FP does not waive

         any of the additional claims or actions it has and/or may have against any Defendant and all rights

         are expressly reserved in connection therewith.

                                                       CLAIMS FOR RELIEF

                                                             COUNT ONE
                              (DECLARATORY JUDGMENT – THE AIG FP REVOLVER IS DEBT)

                    135.     The allegations set forth above are incorporated herein by reference.

                    136.     There is a real, substantial, and justiciable controversy regarding whether the loans

         extended to AIG FP under the AIG FP Revolver constitute debt, and not equity contributions.




         40
              Compensation Plans, §4.01(b). In this regard, the Debtor expressly reserves all rights to assert that, to the extent
              any claim ever accrued, any such claim permanently lapsed on December 31, 2013 and should be disallowed for
              that reason alone in this Chapter 11 Case.


                                                                     33
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 40 of 173




         This controversy is of sufficient immediacy to warrant judicial relief under the Declaratory

         Judgment Act, 28 U.S.C. §§ 2201-2.

                 137.     Any cause of action to recharacterize the debt to AIG Inc. belongs to AIG FP itself.

         The Defendants could not obtain derivative standing to seek to recharacterize the AIG FP Revolver

         given, among other things, (i) the Special Committee’s conclusion, after an independent and

         exhaustive investigation, that the loans extended under the AIG FP Revolver are true debt

         obligations and (ii) the express subordination provisions of the Compensation Plans.

                 138.     For the reasons set forth above, the AIG FP Revolver and all claims arising

         thereunder are debt. Accordingly, Plaintiff is entitled to a declaratory judgment confirming that

         the loans extended to AIG FP under the AIG FP Revolver constitute debt, and not equity

         contributions.

                                                    COUNT TWO
              (DECLARATORY JUDGMENT – THE ALLEGED UNPAID AMOUNTS ARISING UNDER THE
                             COMPENSATION PLANS ARE SUBORDINATED)

                 139.     The allegations set forth above are incorporated herein by reference.

                 140.     There is a real, substantial, and justiciable controversy as to whether the

         Defendants’ alleged unpaid amounts (if any) arising under the Compensation Plans are

         subordinated to claims arising under the AIG FP Revolver. This controversy is of sufficient

         immediacy to warrant judicial relief under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2.

                 141.     The Compensation Plans each provide that, in the event of AIG FP’s bankruptcy,

         the Defendants’ right to payment thereunder will be subordinated and junior in right of payment

         to all of AIG FP’s other obligations without regarding to when such obligations are incurred,

         unless payment of any such obligations is expressly made subordinate to or pari passu with the



                                                           34
30132276.1

         US-DOCS\139579253
                         Case 23-50110-MFW        Doc 4     Filed 02/28/23    Page 41 of 173




         payment obligations under the Compensation Plans. Under section 510(a) of the Bankruptcy

         Code, the express subordination provisions of the Compensation Plans are enforceable and binding

         in this Chapter 11 Case and cannot be limited or altered pursuant to Section 105 of the Bankruptcy

         Code, whether pursuant to arguments of recharacterization or otherwise.

                  142.    The terms of the AIG FP Revolving Credit Agreement do not expressly provide

         that the Parent’s right of payment thereunder is subordinated to or pari passu with AIG FP’s

         obligations under the Compensation Plans.

                  143.    The unpaid amounts arising under the AIG FP Revolving Credit Agreement are

         obligations of AIG FP, regardless of whether they are deemed to result from debt or capital

         contributions of AIG Inc. Any obligation under the Compensation Plans is therefore subordinated

         and junior to AIG FP’s obligation to repay AIG Inc.

                  144.    Under section 105 and section 510 of the Bankruptcy Code, the obligations under

         the AIG FP Revolving Credit Agreement cannot be recharacterized such as to subordinate them to

         the obligations under the Compensation Plans.

                  145.    In addition, pursuant to the terms of the Compensation Plans, any claim under those

         plans would remain subordinated and junior to AIG FP’s obligation to repay AIG Inc., even if that

         latter obligation could be “recharacterized.”

                  146.    AIG FP also would have had an obligation under applicable subrogation law to

         repay those same amounts if AIG Inc. had paid the guaranteed obligations directly, rather than

         loaning the funds to AIG FP so that AIG FP could satisfy those obligations itself. Any claim under

         the Compensation Plans would be and have been subordinated and junior to such a subrogation

         claim.



                                                          35
30132276.1

         US-DOCS\139579253
                         Case 23-50110-MFW         Doc 4    Filed 02/28/23     Page 42 of 173




                  147.    Accordingly, Plaintiff is entitled to a declaratory judgment that the alleged unpaid

         amounts (if any) arising under the Compensation Plans are subordinated and junior in right of

         payment to all of AIG FP’s obligations arising in connection with the AIG FP Revolving Credit

         Agreement. The Plaintiff also reserves all rights to seek subordination of the Defendants’ right to

         payment thereunder pursuant to section 510(b) of the Bankruptcy Code.

                                                   COUNT THREE
               (DECLARATORY JUDGMENT – THE COMPENSATION PLANS CREATE EQUITY INTERESTS,
                                        NOT CLAIMS OR DEBT)

                  148.    The allegations set forth above are incorporated herein by reference.

                  149.    There is a real, substantial, and justiciable controversy as to whether the alleged

         unpaid amounts (if any) arising under the Compensation Plans create claims against or equity

         interests in AIG FP. This controversy is of sufficient immediacy to warrant judicial relief under

         the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2.

                  150.    For the reasons set forth above, the alleged unpaid amounts (if any) arising under

         the Compensation Plans create equity interests in AIG FP, rather than debt or claims against AIG

         FP. Accordingly, Plaintiff is entitled to a declaratory judgment confirming that the Defendants

         hold equity interests in, rather than claims against, AIG FP.

                                                   COUNT FOUR
             (THE DEFENDANTS’ UNPAID AMOUNTS, IF ANY, ARISING UNDER THE COMPENSATION PLANS
                  SHOULD BE DISALLOWED IN THEIR ENTIRETY UNDER SECTION 502(B)(4) OF THE
                                           BANKRUPTCY CODE)

                  151.    The allegations set forth above are incorporated herein by reference.

                  152.    Pursuant to section 502(b)(4) of the Bankruptcy Code, claims of insiders are

         disallowed to the extent they exceed the reasonable value of the insiders’ services. The relevant




                                                           36
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW        Doc 4     Filed 02/28/23     Page 43 of 173




         time for determining the status as an “insider” under section 502(b)(4) is the time when such claims

         arose against, or were otherwise incurred by, the debtor.

                 153.    Each Defendant was an officer of the Debtor at the time his or her alleged claims

         accrued under the Compensation Plans. Accordingly, each Defendant is an insider (as such term

         is defined by section 101(31)(B) of the Bankruptcy Code) for purposes of section 502(b)(4) of the

         Bankruptcy Code.

                 154.    Even if the Defendants hold general unsecured claims against the Debtor (which

         the Debtor refutes), the allowed amount of such claims would be limited by section 502(b)(4) of

         the Bankruptcy Code to the objectively reasonable value of the services provided by such insider

         Defendant. As insiders, the burden is on the Defendants to prove that their $640 million claim is

         objectively reasonable, which they cannot satisfy.

                 155.    Based on the totality of the circumstances involved at the time the services were

         rendered, including the Debtor’s financial ruin and near ruin of the entire AIG corporate family,

         this is not objectively reasonable compensation. The Defendants have already been excessively

         compensated for their alleged services. Specifically, the Defendants were already paid over $751

         million in cash in the aggregate by the Debtor in the years 2002–2009, with a breakdown of the

         amounts paid per year to each Defendant shown on Exhibit D attached hereto. Anything above

         and beyond what the Debtor has already paid to the Defendants is unreasonable compensation and

         should be disallowed in its entirety pursuant to section 502(b)(4) of the Bankruptcy Code.

                                                   COUNT FIVE
                        (CERTAIN DEFENDANTS HAVE ALREADY RELEASED THEIR CLAIMS)

                 156.    The allegations set forth above are incorporated herein by reference.




                                                         37
30132276.1

         US-DOCS\139579253
                        Case 23-50110-MFW        Doc 4    Filed 02/28/23     Page 44 of 173




                 157.    Pursuant to section 502(b)(1) of the Bankruptcy Code, a claim is disallowed to the

         extent such claim is unenforceable against the debtor under any agreement or applicable law.

                 158.    Prior to the Petition Date, the Releasing Defendants executed release agreements

         in favor of the Debtor with respect to the Compensation Plans. Those releases are binding and

         effective in this Chapter 11 Case.

                 159.    Accordingly, in addition to Count Four above, the alleged claims of each such

         Releasing Defendant under the Compensation Plans should be disallowed in its entirety pursuant

         to section 502(b)(1) of the Bankruptcy Code.

                                              PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests this Court enter an order:

             1. confirming through a declaratory judgment that the loans extended to AIG FP under the
                AIG FP Revolver constitute debt and claims against the Debtor;

             2. confirming through a declaratory judgment that Defendants’ rights of payment (if any)
                arising under the Compensation Plans are subordinated to all of AIG FP’s obligations,
                including obligations of AIG Inc. arising under the AIG FP Revolving Credit Agreement;

             3. confirming through a declaratory judgment that unpaid amounts (if any) arising under the
                Compensation Plans are equity interests in the Debtor, rather than debt or claims against
                the Debtor;

             4. to the extent any Defendant holds general unsecured claims arising under the
                Compensation Plans, disallowing such claims in their entirety under section 502(b)(4) of
                the Bankruptcy Code as unreasonable insider compensation;

             5. to the extent any Releasing Defendant holds general unsecured claims arising under the
                Compensation Plans, disallowing such claims in their entirety under section 502(b)(1) of
                the Bankruptcy Code; and

             6. granting such other and further relief as the Court deems just and proper.




                                                         38
30132276.1

         US-DOCS\139579253
                       Case 23-50110-MFW   Doc 4   Filed 02/28/23    Page 45 of 173




       Dated: February 17, 2023            Respectfully Submitted,
              Wilmington, Delaware

                                           /s/ Kara Hammond Coyle ________________________
                                           Michael R. Nestor (No. 3526)
                                           Kara Hammond Coyle (No. 4410)
                                           YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                           Rodney Square
                                           1000 North King Street
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 571-6600
                                           Facsimile: (302) 571-1253
                                           Email: mnestor@ycst.com
                                                   kcoyle@ycst.com

                                           -and-

                                           George A. Davis (admitted pro hac vice)
                                           Keith A. Simon (admitted pro hac vice)
                                           David Hammerman (admitted pro hac vice)
                                           Annemarie V. Reilly (admitted pro hac vice)
                                           Madeleine C. Parish (admitted pro hac vice)
                                           LATHAM & WATKINS LLP
                                           1271 Avenue of the Americas
                                           New York, New York 10020
                                           Telephone: (212) 906-1200
                                           Facsimile: (212) 751-4864
                                           Email: george.davis@lw.com
                                                  keith.simon@lw.com
                                                  david.hammerman@lw.com
                                                  annemarie.reilly@lw.com
                                                  madeleine.parish@lw.com

                                           Counsel for Debtor and Debtor in Possession




30132276.1

         US-DOCS\139579253
                       Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 46 of 173




                                              Exhibit A

                                     Deferred Compensation Plan




30132276.1

         US-DOCS\139579253
Case 23-50110-MFW     Doc 4    Filed 02/28/23    Page 47 of 173




                                                   Dated as of December 29, 2008




            AIG FINANCIAL PRODUCTS CORP.
            DEFERRED COMPENSATION PLAN


                 Conformed Copy Reflecting:

        Amendment No. 1 dated as of December 5, 2003,
        Amendment No. 2 dated as of November 17, 2004,
         Amendment No. 3 dated as of March 18, 2005,
        Amendment No. 4 dated as of December 29, 2008
              Case 23-50110-MFW            Doc 4     Filed 02/28/23      Page 48 of 173




                                 AIG FINANCIAL PRODUCTS CORP.
                                 DEFERRED COMPENSATION PLAN

AIG Financial Products Corp. (including, where applicable, all subsidiaries thereof, and AIG Trading

Group Inc. (including where applicable all subsidiaries thereof, “AIGTG”) (together, "AIGFP"))

establishes in this document the AIGFP Deferred Compensation Plan, as amended and restated as of the

date hereof (the "Plan"). The Plan participants are the executive employees of AIGFP (the "AIGFP

Executives") and American International Group, Inc. ("AIG"). The Plan provides the Plan participants a

sharing of the risks and rewards of AIGFP's business and reflects the participants' commitment to the long

term integrity of AIGFP.

The Plan objectives are:

        1. To promote the formation of capital in AIGFP;

        2. To ensure that the interests of AIGFP Executives and AIG are aligned to promote the long

            term success of AIGFP;

        3. To focus AIGFP on success measured not only by revenue growth but also by return on

            capital, quality of earnings, and enhancement of the AIG name and reputation in financial

            services;

        4. To serve as an investment opportunity that will attract the most talented people to AIGFP and

            to retain those already here; and

        5. To be simple, straightforward and efficient.

Under the existing arrangement with AIG, Distributable Income is paid each year on the basis of 70% to

AIG and 30% to AIGFP employees. Under the Plan a portion of the Distributable Income, apportioned

70% from AIG and 30% from AIGFP Executives, will not be paid currently but instead will be retained

by AIGFP. Such retention will form part of the capital base of AIGFP and, absent losses which exhaust



                                                   -2-
                Case 23-50110-MFW          Doc 4      Filed 02/28/23      Page 49 of 173



current revenues and reserves, will be paid subsequently to participants according to a schedule tied to the

duration of AIGFP's business. The Plan will be administered so that the amounts retained under the Plan

will be apportioned between AIG and AIGFP Executives on a 70%/30% basis.



                                               SECTION 1

                                              DEFINITIONS

        For purposes of this Deferred Compensation Plan:

        1.01     "Accredited Investor" shall mean an individual who meets the requirements of an

"accredited investor" as that term is defined under Rule 501(a) of Regulation D promulgated under the

Securities Act of 1933, as amended.

        1.02.    "Beneficiary" shall mean such person or trustee as may be designated by a Participant

pursuant to Section 3.01 of this Deferred Compensation Plan.

        1.03.    "Board" shall mean the Board of Directors of AIG Financial Products Corp.

        1.04     “Business Day” shall mean any day on which commercial banks are open for business

(including dealings in foreign exchange and foreign currency deposits) in New York City and London.

        1.05.    "Committee" shall mean a committee consisting of the chief executive officer of AIG

Financial Products Corp., the chief operating officer of AIG Financial Products Corp., the chief financial

officer of AIG Financial Products Corp. and the secretary of AIG Financial Products Corp.

        1.06.    "Deferred Compensation" shall mean, with respect to each deferral, (i) as applied to each

Participant, the portion of the Participant's Notional Bonus Amount that is deferred by AIGFP pursuant to

Section 3 of this Deferred Compensation Plan, including both amounts subject to automatic deferral and

voluntary deferrals and (ii) as applied to AIG, the amount of annual Distributable Income of AIGFP that




                                                    -3-
                Case 23-50110-MFW          Doc 4      Filed 02/28/23      Page 50 of 173



is otherwise payable by AIGFP to AIG that is subject to automatic deferral pursuant to Section 3 of this

Deferred Compensation Plan.

        1.07.    "Deferred Compensation Account" shall mean the account established on AIG Financial

Product Corp.'s books in the name of each Participant and of AIG in which, pursuant to Section 3 of this

Deferred Compensation Plan, Deferred Compensation amounts are credited to such Participants and to

AIG.

        1.08.    "Distributable Income" shall mean, with respect to any financial year of AIGFP,

revenues, less expenses and credit and market reserves taken for that year, as the same shall be

determined by the Board from time to time.

        1.09.    "Executive" shall mean an executive employee of AIGFP (excluding, at the discretion of

the Committee, any employee for whom AIGFP's Tokyo office is the principal workplace) with the title

of Assistant Vice President or higher who is designated by the Board to participate in or be eligible to

participate in this Plan.

        1.10.    "LIBOR Rate" shall mean the rate for an Interest Reset Date which is the rate for deposits

in U.S. Dollars for a period of three (3) months which appears on the Telerate Page 3750 as of 11:00 a.m.,

London time, on the day that is two London Banking Days preceding that Interest Reset Date. If such rate

does not appear on the Telerate Page 375O, the rate for that Interest Reset Date shall be determined in

accordance with the definition of USD-LIBOR-Reference Banks.

        1.11.    "London Banking Day" shall mean any day on which commercial banks are open for

business (including dealings in foreign exchange and foreign currency deposits) in London.

        1.12     “Notional Bonus Amount” shall mean, for each Participant in respect of any calendar

year, the total notional bonus amount awarded to the Participant from all AIGFP companies, consisting of

a cash bonus amount that is paid currently and an amount of Deferred Compensation that is credited by



                                                    -4-
                Case 23-50110-MFW           Doc 4     Filed 02/28/23       Page 51 of 173



AIGFP to the Participant’s Deferred Compensation Account and distributed to the Participant on a

deferred basis subject to and in accordance with the terms hereof.

        1.13.    "Participant" shall mean an Executive who is participating in this Deferred Compensation

Plan.

        1.14.    "Permanent Disability" shall mean that a Participant has been found to be disabled by the

U.S. Social Security Administration. The date of such a disability will be the date on which that Social

Security determination is rendered, not the earlier date as of which the disability commenced. If the

Participant is not covered by the U.S. Social Security system, the Participant shall be considered

permanently disabled on the first anniversary of the commencement of his or her disability if the

Committee determines before then that the Participant has satisfied the U.S. Social Security definition of

disability and the Participant remains continuously disabled through that first anniversary.

        1.15.    "Reference Banks" shall mean four major banks in the London interbank market.

        1.16.    "USD-LIBOR-Reference Banks" shall mean that the rate for an Interest Reset Date will

be determined on the basis of the rates at which deposits in U.S. Dollars are offered by the Reference

Banks at approximately 11:00 a.m., London time, on the date that is two London Banking Days preceding

that Interest Reset Date to prime banks in the London interbank market for a period of three (3) months

commencing on that Interest Reset Date. AIGFP will request the principal London office of each of the

Reference Banks to provide a quotation of its rate. If at least two such quotations are provided, the rate

for that Interest Reset Date will be the arithmetic mean of the quotations. If fewer than two quotations are

provided as requested, the rate for that Interest Reset Date will be the arithmetic mean of the rates quoted

by major banks in New York City, selected by AIGFP, at approximately 11:00 a.m., New York City time,

on that Interest Reset Date for loans in U.S. Dollars to leading European banks for a period of three (3)

months commencing on that Interest Reset Date.



                                                    -5-
                Case 23-50110-MFW          Doc 4     Filed 02/28/23      Page 52 of 173




                                                SECTION 2

                                           PARTICIPATION

        2.01.    Participation.

        (a)      Participation by Executives.    Each Executive shall be entitled to participate in this

Deferred Compensation Plan provided that the Executive is an Accredited Investor as of the date Deferred

Compensation would be credited to the Executive's Deferred Compensation Account in accordance with

the terms hereof. Participation by an Executive who is an Accredited Investor as of the date Deferred

Compensation is credited to the Executive's Deferred Compensation Account and to whom AIGFP

awards a Notional Bonus Amount in excess of the level referred to in Schedule A shall be mandatory. An

Executive's participation in this Deferred Compensation Plan shall commence as of the date the Executive

elects to, or pursuant to the preceding sentence is required to, participate in this Deferred Compensation

Plan.

        (b)      Participation by AIG. AIG's participation in the Deferred Compensation Plan shall be

mandatory in an amount determined in accordance with Section 3.01(a).




                                                   -6-
                Case 23-50110-MFW           Doc 4     Filed 02/28/23       Page 53 of 173



                                                SECTION 3

                                     DEFERRED COMPENSATION

        3.01.    Participants' Deferred Compensation.

        (a)      Automatic Deferrals. (i) Participants indicated on Schedule A shall have the portion of

their Notional Bonus Amount indicated on Schedule A deferred automatically; and (ii) AIG shall have a

portion of AIGFP's annual Distributable Income that is otherwise payable to AIG by AIGFP deferred

automatically, which portion, for any year, shall be equal to: (A)(1) the aggregate amount of Deferred

Compensation contributed by all Participants in respect of such year (whether as an automatic deferral

pursuant to this Section 3.01(a) or a voluntary deferral pursuant to Section 3.01(b)), plus (2) the aggregate

amount notionally credited to all participants in any retirement plan in which members of AIGFP's Tokyo

office participate in lieu of participating in this Deferred Compensation Plan (collectively, the "Japanese

Plan") in respect of such year, plus (3) the aggregate amount credited to the Deferred Compensation

Accounts of all Participants (excluding Deferred Compensation contributions in respect of such year

referred to in subclause (A)(1) above), plus (4) the aggregate amount notionally credited to all Japanese

Plan participants (excluding amounts notionally credited in respect of such year referred to in subclause

(A)(2) above) multiplied by (B) a fraction, the numerator of which is 7 and the denominator of which is 3,

minus (C) the aggregate amount credited to AIG’s Deferred Compensation Account as of the date of

determination.

        (b)      Voluntary Deferrals.    Except as provided below, any Participant in this Deferred

Compensation Plan may elect to increase the portion of his Notional Bonus Amount that is deferred by

AIGFP on the Participant's behalf as Deferred Compensation by completing the election form set forth in

Appendix A hereto and delivering such form to the Chief Financial Officer of AIGFP; provided, however,

that any Participant who was employed by AIGTG during 2003 shall not be permitted to make any



                                                    -7-
              Case 23-50110-MFW              Doc 4      Filed 02/28/23       Page 54 of 173



voluntary deferral of his Notional Bonus Amount pursuant to this Section 3.01(b) for 2003. A Participant

may elect to defer up to one hundred percent (100%) of his Notional Bonus Amount. A Participant must

submit an election form for a calendar year not later than the earlier of May 30 in such year or two (2)

Business Days prior to the date the Participant is notified of his Notional Bonus Amount for the year.

Elections made during the calendar year will be honored only if (i) the Participant performs service

continuously for AIGFP from the beginning of the calendar year through the date of the election and (ii)

at the time of the election, it is not substantially certain that the Participant will receive a then calculable

Notional Bonus Amount for the year. To the extent, if any, permitted under Internal Revenue Code

Section 409A, an otherwise valid election made during the year will be honored as to the balance of the

Notional Bonus Amount, if any, that then is neither substantially certain to be paid nor calculable. In

addition, a Participant who first becomes entitled to participate in this Plan and who has not theretofore

become eligible to participate in any other plans that would be aggregated with it for Internal Revenue

Code Section 409A purposes, may make an election with respect to such calendar year within the first

fifteen (15) Business Days after the date such Participant first became entitled to participate, but only with

respect to the percentage of his Notional Bonus Amount determined by dividing the days in the calendar

year following his eligibility date into the days in the calendar year following his election. A new

election form must be filled out by a Participant for each calendar year. The failure of any Participant to

fill out an election form shall result in such Participant being deemed to have elected not to defer any

portion of the Participant's Notional Bonus Amount in excess of the portion that is automatically deferred

as set forth in Schedule A. A Participant for whom AIGFP's Paris office is the principal workplace shall

not be permitted to make any voluntary deferral of Notional Bonus Amounts that are awarded in respect

of the Participants' employment by Banque AIG.




                                                      -8-
                 Case 23-50110-MFW          Doc 4     Filed 02/28/23       Page 55 of 173



        (c)       General Rules. Each Participant may also designate a Beneficiary or Beneficiaries or, if

none is designated, such Beneficiary shall be the Participant's estate. Any designation of Beneficiary

made on an election form shall override any previous designation of Beneficiary made by the Participant.

The combination of the portion of a Participant's Notional Bonus Amount that is automatically deferred

as set forth in Schedule A, plus any additional portion that the Participant elects to defer on the election

form as set forth in (b) above, shall constitute such Participant's Deferred Compensation for the calendar

year in respect of which the Notional Bonus Amount was awarded.

        3.02.     Determination of Benefit. AIGFP shall (i) on December 31 of the year in respect of

which a Participant's Notional Bonus Amount is awarded, credit the Participant's Deferred Compensation

Account with the amount of such Participant's Deferred Compensation for such year and (ii) on each date

that AIG's share of AIGFP's Distributable Income in respect of each financial year is paid to AIG by

AIGFP, credit AIG's Deferred Compensation Account with the amount of AIG's Deferred Compensation

for such year.

        3.03.     Interest on Deferred Compensation. Amounts attributable to a Participant's and to AIG's

Deferred Compensation Account shall earn interest, which shall be determined quarterly on the 1st day of

each January, April, July and October in each year (each, an "Interest Reset Date"); provided, however,

that if any Interest Reset Date would otherwise fall on a day that is not a Business Day, such Interest

Reset Date will be the following day that is a Business Day. The interest rate shall be equal to the LIBOR

Rate for each Interest Reset Date. Each such adjusted rate shall be applicable from and including the

Interest Reset Date to which it relates to but not including the next succeeding Interest Reset Date or until

all amounts in a Participant's or AIG's Deferred Compensation Account are distributed (each, an "Interest

Period"). Interest shall be payable quarterly in arrears not later than ten (10) Business Days following the

end of each Interest Period (each such date on which interest is paid, an "Interest Payment Date") on the



                                                    -9-
               Case 23-50110-MFW           Doc 4     Filed 02/28/23       Page 56 of 173



balance in such Deferred Compensation Account as of the Interest Reset Date on which the Interest

Period commences (but after giving effect to any reduction in such balance for amounts distributed from

the Deferred Compensation Account on or prior to the Interest Payment Date with respect to the

preceding Interest Period); provided that the Interest Payment Date for the Interest Period beginning in

October of each year shall be the date on which cash bonuses for such year are paid if such bonus

payment date falls in the subsequent Interest Period (and otherwise shall be as specified above for each

other Interest Period). All amounts of interest shall be paid net of any taxes required by law to be

withheld by AIGFP. For the avoidance of doubt, interest on Deferred Compensation shall be an expense

of AIGFP and, accordingly, shall be borne by AIG and AIGFP employees on a 70%/30% basis as a

reduction in Distributable Income.

        3.04    Additional Return Payment to AIGFP Executives. In addition to interest payable on

Deferred Compensation in accordance with Section 3.03, the Deferred Compensation Accounts of

Participants (but not AIG) may be credited as of the Interest Reset Date falling in January of each year

(or, if earlier, on the Interest Payment Date for the Interest Period beginning in October of the preceding

year) with such additional earnings of AIGFP (the “Additional Return Payment”) as the President of

AIGFP, with the approval of the Board, shall determine; provided that any Additional Return Payments

(i) shall be payable only to Participants who are employees of AIGFP as of the date of payment therefor

and (ii) shall be allocated among such eligible Participants' Deferred Compensation Accounts on a pro

rata basis. Additional Return Payments shall be paid to eligible Participants on each Interest Payment

Date for the Interest Period beginning in October of each year based on the balance in such Participants'

Deferred Compensation Accounts as of the Interest Reset Date for the Interest Period beginning in

October of such year. For the avoidance of doubt, Additional Return Payments shall be paid out of the




                                                   -10-
                Case 23-50110-MFW           Doc 4       Filed 02/28/23    Page 57 of 173



30% portion of annual Distributable Income that is allocable to AIGFP employees. All Additional Return

Payments shall be paid net of any taxes required by law to be withheld by AIGFP.

        3.05.    Payment of Benefit.

        (a)      Distribution Events. Upon the earlier to occur of the Distribution Events set forth below,

AIGFP shall direct that all amounts credited to a Participant's Deferred Compensation Account shall be

paid in a lump sum to such Participant. The Distribution Events are:

                 (a)     Death of the Participant; or

                 (b)     Permanent Disability of the Participant.

Upon the death of a Participant prior to his receipt of all amounts credited to his Deferred Compensation

Account, his Beneficiary shall be paid in a lump sum all amounts then credited to such Participant's

Deferred Compensation Account, plus accrued but unpaid interest to the date of payment. If there is more

than one Beneficiary then designated, such Account shall be distributed to such Beneficiaries in the

proportions designated by such Participant, or in the absence of any such designation, in equal shares.

Any payment made pursuant to this Section 3.05(a) shall be made in the calendar year in which the Death

or Permanent Disability (as applicable) of the Participant occurs or such later date as may be permitted

under Internal Revenue Code Section 409A without the Participant incurring any taxes or interest or

penalties thereunder.

        (b)      Installment Payments. Except as provided below, amounts in the Participant's Deferred

Compensation Account attributable to Deferred Compensation contributions shall be paid to such

Participant and to AIG annually in arrears on the Interest Payment Date for the Interest Period beginning

in October of each year in equal pro rata installments ("Installment Payments") over a period of time (the

“Distribution Period”) corresponding to the approximate average life of AIGFP's swap transaction

portfolio, as last determined by the Board before the beginning of the calendar year preceding the date of



                                                    -11-
              Case 23-50110-MFW             Doc 4      Filed 02/28/23       Page 58 of 173



the Deferred Compensation contribution. However, for calendar year 2009 and 2010, the period of time

that shall be used is six years, and as to Deferred Compensation contributions made prior to 2009, the

installment schedule established under this section as in effect prior to December 31, 2008 shall remain

applicable. The Distribution Period for a Deferred Compensation contribution shall commence on the

Interest Reset Date in January of the calendar year next succeeding the calendar year in respect of which

the Deferred Compensation contribution was made, with the first Installment Payment therefore being

distributed on the Interest Payment Date for the Interest Period beginning in October of the calendar year

in which the Distribution Period commences. Installment Payments shall be paid net of any taxes

required by law to be withheld by AIGFP.

        (c)     Early Distribution. In addition to the foregoing, to the extent and in the manner permitted

under Section 409A(a)(2) of the Internal Revenue Code, amounts credited to a Participant's or to AIG's

Deferred Compensation Account may be distributed on such earlier date as determined by the Committee,

with the approval of the Board; provided that (i) except as set forth in (ii) and (iii) below, any such early

distributions shall be made from Participants’ and AIG's Deferred Compensation Accounts on a pro rata

basis, (ii) any such early distributions can be made from AIG’s Deferred Compensation Account in an

amount such that, after giving effect to such distribution, the aggregate amount credited to AIG’s

Deferred Compensation Account shall equal 70% of the aggregate amount credited to the sum of (a) the

Deferred Compensation Accounts of AIG and all Participants taken together, plus (b) the aggregate

amount notionally credited to all Japanese Plan participants and (iii) a settlement of the entire balance in a

Participant's Deferred Compensation Account can be agreed to by the Committee, with the approval of

the Board, in connection with the termination of a Participant's employment with the Company.

        (d)     Foreign Currency Alternative. Participants who are employed outside the United States

may elect to have the Installment Payments and the interest payments (but not the Additional Return



                                                    -12-
              Case 23-50110-MFW           Doc 4     Filed 02/28/23      Page 59 of 173



Payments) on their annual Deferred Compensation contribution paid in the currency in which their cash

bonuses are paid in lieu of U.S. Dollars (provided such currency is one of Yen, Euro, Pounds Sterling and

Hong Kong Dollars). In the event a Participant shall make such an election, then the applicable Deferred

Compensation contribution shall be converted from U.S. Dollars into the applicable foreign currency at

the spot foreign exchange rate at or about 11:00 a.m. (New York time) on the date such contribution is

deemed pursuant to Section 3.02 to have been credited to the Participant’s account, as determined in good

faith by AIGFP. Such translated Deferred Compensation amount shall then earn interest in accordance

with Section 3.03 except that the applicable interest rate shall be the equivalent three-month LIBOR rate

in the alternative designated currency. Participant elections shall be made not later than December 1 of

the year in which the Deferred Compensation contribution has been made, by submitting an election form

in the form of Appendix A to the Chief Financial Officer of AIGFP.

        (e)     General.   All payments of interest, Installment Payments and Additional Return

Payments, and any early distribution of amounts credited to a Participant's Deferred Compensation

Account, shall be paid to such Participants from the company or companies from which such payment

represents compensation for services provided by such Participant; provided that for Participants whose

employment has been transferred from an AIGTG group company to an AIG Financial Products Corp.

group company in the same country, all such payments shall be paid from the AIG Financial Products

Corp. group company to which the Participant has been transferred.




                                                  -13-
                Case 23-50110-MFW          Doc 4      Filed 02/28/23      Page 60 of 173




                                               SECTION 4

                                           MISCELLANEOUS

        4.01.    AIGFP's Liability.


        (a) The benefits payable hereunder shall constitute an unsecured debt of AIG Financial Products

Corp. to the Participants and their Beneficiaries and to AIG and shall not have the benefit of any

guarantee by AIG of payment obligations of AIG Financial Products Corp. For the avoidance of doubt,

and notwithstanding anything else contained herein to the contrary, (i) the payment of benefits payable

hereunder to each of the Participants and their Beneficiaries and to AIG shall be made only from the

general funds of AIG Financial Products Corp., (ii) AIG Financial Products Corp. shall not segregate or

earmark any of its assets nor hold any assets in trust or in any special account for this purpose, and (iii)

none of the Participants, the Participants' Beneficiaries or AIG shall have any legal or equitable interest

in, lien on, or claim to, any particular asset of AIG Financial Products Corp. by virtue of this Deferred

Compensation Plan. If AIG Financial Products Corp. shall become the subject of any bankruptcy or

insolvency case or proceeding, or shall make an assignment for the benefit of creditors, or shall become

the subject of a reorganization whether or not pursuant to bankruptcy laws, or if any other relief shall be

granted to AIG Financial Products Corp. generally from the rights of creditors, then in any such event (a

“Bankruptcy/Insolvency Event”) the obligations under this Deferred Compensation Plan to Participants

and their Beneficiaries and to AIG shall be subordinate and junior in right of payment and otherwise, to

the prior payment in full of all of the other obligations of AIG Financial Products Corp., whether now




                                                   -14-
              Case 23-50110-MFW            Doc 4      Filed 02/28/23      Page 61 of 173



existing or hereafter incurred, except to the extent payment of any such obligations is expressly made

subordinate to or pari passu with the payment obligations hereunder.            If, in connection with a

Bankruptcy/Insolvency Event, the claims (collectively "Creditors' Claims") of all other present and future

creditors of AIG Financial Products Corp., other than those claims that are expressly made subordinate to

or pari passu with claims for benefits payable hereunder, can be immediately fully satisfied, or adequate

provision made for them, payments will be made at the times specified in this Plan. If, in connection with

a Bankruptcy/Insolvency Event, Creditors' Claims cannot be immediately satisfied or provision made for

them, then during the period prior to such condition being satisfied (“the Delay Period”), the following

special rules shall apply: AIG Financial Products Corp. will try to satisfy or provide for Creditors' Claims

as soon as reasonably practicable so as to minimize Delay Period restrictions. During the Delay Period,

no benefit payments shall be made. For the calendar year in which the Delay Period ends, (1) any

payments that first became due during that calendar year will be paid by the end of that year or, if later,

within 75 days after the date they first became due, and (2) any payments that first became due in an

earlier calendar year will be paid to the extent doing so would not violate Internal Revenue Code Section

409A (e.g., because paying them in any earlier year in the Delay Period would have jeopardized AIG

Financial Products Corp.'s ability to continue in business as a going concern). The right to any other

payment that first became due during the Delay Period shall lapse except to the extent AIG Financial

Products Corp. determines that it may amend the Plan to provide for its payment without violating

Internal Revenue Code Section 409A.

        (b) The outstanding balance credited to the Deferred Compensation Accounts of each Participant

and of AIG shall be subject to reduction, from time to time, to the extent of any losses incurred (i) by

AIGFP (excluding AIGTG) or (ii) by AIGTG resulting from transactions entered into on or after January

1, 2003, which losses in the case of (i) and (ii) for any year in the aggregate exceed the outstanding



                                                   -15-
              Case 23-50110-MFW             Doc 4      Filed 02/28/23       Page 62 of 173



market and credit reserves and current year income of AIGFP (excluding outstanding market and credit

reserves relating to transactions entered into by AIGTG before January 1, 2003), but before base capital

of AIGFP (for the avoidance of doubt including AIGTG, and consisting of equity, retained earnings, if

any, and subordinated debt). Such reductions shall be made among the Participants (including for this

purpose, participants in the Japanese Plan) and AIG on a pro rata basis. AIG Financial Products Corp.

shall be obligated subsequently to restore amounts so deducted from Participants' and AIG's account

balances, plus accrued interest thereon at the interest rate determined in accordance with Section 3.03 and,

in connection therewith, the Board shall adopt a plan (which shall not be subject to the approval of AIG

or the Participants) setting forth a schedule under which AIG Financial Products Corp. shall restore

amounts deducted from Participants' and AIG's account balances (plus accrued interest thereon). Any

such restoration plan shall provide that any restored amounts shall be paid in 2013; to the extent amounts

have not been restored by December 31, 2013, all restoration rights shall permanently lapse except to the

extent AIG Financial Products Corp. determines that it may amend the Plan to provide for payment of

restored amounts without violating Internal Revenue Code Section 409A.Notwithstanding the terms of

any such plan, in a bankruptcy or insolvency of AIG Financial Products Corp. each Participant and

Participant’s Beneficiary and AIG shall have an unsecured claim, subordinated and junior in payment

and subject to the limitation on rights and interests to the extent provided in the immediately preceding

subparagraph, against AIG Financial Products Corp. for the amount, if any, by which the balances

credited to their Deferred Compensation Account were reduced and not subsequently restored (plus credit

for accrued interest thereon), in addition to such claims as are described in the immediately preceding

subparagraph. For the avoidance of doubt, if AIG Financial Products Corp. consolidates or amalgamates

with, or merges with or into, or transfers all or substantially all of its assets to, another entity, then the




                                                    -16-
                Case 23-50110-MFW          Doc 4     Filed 02/28/23       Page 63 of 173



resulting, surviving or transferee entity shall assume all of the obligations of AIG Financial Products

Corp. hereunder.

        4.02.    Nonassignability. Subject to Section 3.05(c)(iii), neither AIG nor any Participant or

Beneficiary shall have the power to subject any right to receive payments under this Deferred

Compensation Plan to assignment, pledge, sale, attachment, garnishment or any other transfer, alienation

or encumbrance, nor shall such rights be subject to AIG's, the Participant's or Beneficiary's debts or to

seizure for satisfaction of judgments, alimony or separate maintenance obligations.

        4.03.    Continuation as Employee. Neither this Deferred Compensation Plan nor the payment of

any benefits hereunder shall be construed as giving the Participant any right to be retained as an employee

of AIGFP. Except as provided in the next sentence, Participants who cease to be employees of AIGFP

shall not lose their Deferred Compensation, which shall continue to be distributed as provided in Section

3.05 and to earn interest as provided in Section 3.03 (but not Additional Return Payments pursuant to

Section 3.04). Notwithstanding any provision herein to the contrary, Participants who steal or embezzle

from AIG or AIGFP or engage in an act of dishonesty, disloyalty or breach of trust against AIG or AIGFP

that is comparable to theft or embezzlement shall lose their right to Deferred Compensation, including all

amounts then credited to their Deferred Compensation Account and any interest accrued thereon.

        4.04.    Amendment and Termination. The Committee may from time to time, with the

approval of the Board, amend this Deferred Compensation Plan in whole or in part; provided,

however, that any such amendment (i) shall be effective as of the next succeeding Interest Reset

Date falling in January (other than an amendment to this Deferred Compensation Plan that (a)

has the effect of altering or eliminating the voluntary deferral rights of Participants under Section

3.01(b) hereof or of reducing the portion of Participants' Notional Bonus Amount that is subject



                                                   -17-
                Case 23-50110-MFW          Doc 4     Filed 02/28/23       Page 64 of 173




to automatic deferral under Section 3.01(a) hereof, or (b) is adopted in connection with the

adoption or proposed adoption of, or a change or anticipated change in, any federal, state or

other law or regulation (including any tax law or regulation) applicable to the Deferred

Compensation Plan; any such amendment described in such clause (a) or (b) shall be effective

immediately or as otherwise specified therein) and (ii) cannot, subject to Section 4.01 hereof,

reduce or delay payment of any Participant's or AIG's benefits accrued up to the date of such

amendment. The Committee shall promptly notify all Participants and AIG of any amendments

to this Deferred Compensation Plan.          The Board may suspend or terminate this Deferred

Compensation Plan; provided, however, that any such suspension or termination cannot, subject

to Section 4.01 hereof, reduce or delay payment of any Participant's or AIG's benefits accrued up

to the date of such suspension or termination. Such amendment, suspension or termination shall

not be effective until made in writing and shall be communicated in writing to all Participants

and to AIG.

        4.05.    Governing Law. The law of the State of Connecticut shall govern the interpretation,

application and operation of this Deferred Compensation Plan.

        4.06.    Claims Procedure. Claims for benefits under the Plan shall be filed with the Committee,

on forms supplied by the Committee. Written notice of the Committee's disposition of a claim shall be

furnished to the claimant within 30 days after the application therefor is filed. In the event the claim is

denied the reasons for the denial shall be specifically set forth in writing, pertinent provisions of the

Deferred Compensation Plan shall be cited, and, where appropriate, an explanation as to how the claimant

can perfect the claims will be provided. If AIG, a Participant or a Beneficiary has been denied a benefit,

each shall be entitled, upon request to the Board, to appeal the denial of the claimed benefit within 90


                                                   -18-
               Case 23-50110-MFW           Doc 4      Filed 02/28/23     Page 65 of 173



days following the Committee's determination described in the preceding sentence. Upon such appeal,

the Board (or a special committee designated by the Board) shall, as soon as practicable, meet with and

hear the position of the claimant. Its decision following such meeting shall be made within 30 days and

shall be communicated in writing to the claimant.

        4.07    Information. For so long as the Deferred Compensation Plan is in effect, AIGFP shall

provide each Participant and AIG with quarterly Deferred Compensation account statements setting forth

(i) the Participant's or AIG's (as the case may be) Deferred Compensation account balance, (ii) the amount

of interest and, for account statements covering the quarterly period in which such amounts would be

paid, the Additional Return Payment and Installment Payment, if any, paid on such balance during such

quarterly period and (iii) the Installment Payment schedule for the Participant or AIG. In addition,

AIGFP shall provide Participants and AIG with an AIGFP annual financial summary (which shall include

a statement of the average life of AIGFP's swap transaction portfolio as of the date of such financial

information), and shall endeavor to keep Participants who are then employees of AIGFP apprised of

material developments involving AIGFP's business or accounting procedures applicable to AIGFP insofar

as they relate to the Deferred Compensation Plan. A form of quarterly statement is attached as Appendix

B hereto.

        4.08    Singapore Office Participants. Notwithstanding any other provision of the Plan to the

contrary, Participants who are based in a Singapore office of AIGFP shall have their automatic and

voluntary deferrals contributed to their Deferred Compensation Account on an after tax basis after

deducting Singapore taxes payable in respect of such Participants' Notional Bonus Amount.


        4.09    Compliance with Internal Revenue Code Section 409A. It is intended that amounts

awarded or deferred under this Plan will not be taxable under Internal Revenue Code Section 409A. This




                                                    -19-
               Case 23-50110-MFW            Doc 4      Filed 02/28/23      Page 66 of 173



Plan shall be interpreted and administered, to the extent possible, in a manner that does not result in a

“plan failure” (within the meaning of Internal Revenue Code Section 409A(a)(1)) of this Plan or any

other plan or arrangement maintained by AIG-FP or any affiliate.


        4.10    Foreign Participants not Subject to U.S. Taxation. If a Participant is not subject to U.S.

income taxation on any benefits under this Plan or any other plan that would be aggregated with it for

purposes of applying Internal Revenue Code Section 409A, the Participant's rights will be determined

under either the Plan terms in effect immediately before the December 2008 restatement of the Plan or the

terms in effect immediately after such restatement, whichever is more favorable to such Participant as

determined by the Committee. Such a Participant shall not accrue any further benefits under this Plan (or

any other plan that would be aggregated with this Plan for purposes of Section 409A) to the extent such

benefits would be subject to Internal Revenue Code Section 409A, and any benefits that cannot be

accrued for that reason will be paid in another way, if any, that is not subject to Section 409A.




                                                    -20-
             Case 23-50110-MFW            Doc 4     Filed 02/28/23       Page 67 of 173



                                                                                           APPENDIX A



                                AIG FINANCIAL PRODUCTS CORP.
                                DEFERRED COMPENSATION PLAN
                                        ELECTION FORM


1. Pursuant to the provisions of Section 3 of the Deferred Compensation Plan, in addition to the
   automatic deferral under the Plan I hereby elect to have the amount or percentage of amounts
   specified below deferred in the manner provided for in the Deferred Compensation Plan (see Section
   3.01(b) for restrictions applicable to members of the Paris office):

       ___________     USD     Amount to be deferred as a voluntary deferral in addition to the
                               automatic deferral under the Plan (to the extent I am awarded a Notional
                               Bonus Amount that is sufficient to cover this voluntary deferral amount).

       ___________     USD     Any Notional Bonus Amount awarded to me in excess of this amount
                               (that is not subject to automatic deferral under the Plan) should be treated
                               as a voluntary deferral.

       ___________     %       This percentage of the Notional Bonus Amount remaining after the
                               automatic deferral should be treated as a voluntary deferral.

2. In the event that I should die prior to receipt of all distributions to which I am entitled under the
   Deferred Compensation Plan, I hereby direct that, pursuant to Section 3.05 of the Deferred
   Compensation Plan, all amounts due to me as deferred compensation under Section 3 of the Deferred
   Compensation Plan be distributed as follows:

       Proportion                      Name of Beneficiary(ies)

       ___________                     _________________________

       ___________                     _________________________

       ___________                     _________________________

3. I hereby elect, pursuant to Section 3.05 (d) of the Deferred Compensation Plan, to have the
   Installment Payments and interest payments in respect of my Deferred Compensation contribution for
   calendar year _____ paid in _______________ [specify foreign currency] in lieu of U.S. Dollars.


       __________              _________________________                 _________________________
       Date                    Signature                                 Name (Please Print)
              Case 23-50110-MFW             Doc 4     Filed 02/28/23       Page 68 of 173



                                                                                         APPENDIX B

                                  DEFERRED COMPENSATION
                                    ACCOUNT STATEMENT
                            FOR QUARTERLY PERIOD ENDING ________


The Deferred Compensation balance in your account is an unsecured subordinated liability of AIG
Financial Products Corp. to you and your beneficiaries. See Section 4.01 of the AIGFP Deferred
Compensation Plan for additional details.

The details of your account balance for the current year are as follows:


                                                                       In USD        In Local Currency
                                                                                         (________)
Deferred Compensation Balance January 1, ______
        Year Generated _________                                ________________    ________________
Installment Payments
        Year Generated _________                                ________________    ________________
Deferred Compensation Balance December 31, _______
        Year Generated _________                                ________________    ________________




Interest Earned:
        First Quarter                                                               ________________
        Second Quarter                                                              ________________
        Third Quarter                                                               ________________
        Fourth Quarter                                                              ________________


Additional Return Payments                                      ________________    ________________


        Total Earnings
              Case 23-50110-MFW        Doc 4    Filed 02/28/23   Page 69 of 173



                                         SCHEDULE A

                                   AUTOMATIC DEFERRALS


                        Position                                 Notional Bonus Amounts

AIGFP Executives with Notional Bonus Amounts Exceeding           10% of first $500,000
$250,000                                                         20% of next $250,000
                                                                 30% of next $250,000
                                                                 40% of next $250,000
                                                                   50% of remainder
                Case 23-50110-MFW           Doc 4       Filed 02/28/23    Page 70 of 173



30% portion of annual Distributable Income that is allocable to AIGFP employees. All Additional Return

Payments shall be paid net of any taxes required by law to be withheld by AIGFP.

        3.05.    Payment of Benefit.

        (a)      Distribution Events. Upon the earlier to occur of the Distribution Events set forth below,

AIGFP shall direct that all amounts credited to a Participant's Deferred Compensation Account shall be

paid in a lump sum to such Participant. The Distribution Events are:

                 (a)     Death of the Participant; or

                 (b)     Permanent Disability of the Participant.

Upon the death of a Participant prior to his receipt of all amounts credited to his Deferred Compensation

Account, his Beneficiary shall be paid in a lump sum all amounts then credited to such Participant's

Deferred Compensation Account, plus accrued but unpaid interest to the date of payment. If there is more

than one Beneficiary then designated, such Account shall be distributed to such Beneficiaries in the

proportions designated by such Participant, or in the absence of any such designation, in equal shares.

Any payment made pursuant to this Section 3.05(a) shall be made in the calendar year in which the Death

or Permanent Disability (as applicable) of the Participant occurs or such later date as may be permitted

under Internal Revenue Code Section 409A without the Participant incurring any taxes or interest or

penalties thereunder.

        (b)      Installment Payments. Except as provided below, amounts in the Participant's Deferred

Compensation Account attributable to Deferred Compensation contributions shall be paid to such

Participant and to AIG annually in arrears on the Interest Payment Date for the Interest Period beginning

in October of each year in equal pro rata installments ("Installment Payments") over a period of time (the

“Distribution Period”) corresponding to the approximate average life of AIGFP's swap transaction

portfolio, as last determined by the Board before the beginning of the calendar year preceding the date of



                                                    -11-
              Case 23-50110-MFW             Doc 4      Filed 02/28/23       Page 71 of 173



the Deferred Compensation contribution. However, for calendar year 2009 and 2010, the period of time

that shall be used is six years, and as to Deferred Compensation contributions made prior to 2009, the

installment schedule established under this section as in effect prior to December 31, 2008 shall remain

applicable. The Distribution Period for a Deferred Compensation contribution shall commence on the

Interest Reset Date in January of the calendar year next succeeding the calendar year in respect of which

the Deferred Compensation contribution was made, with the first Installment Payment therefore being

distributed on the Interest Payment Date for the Interest Period beginning in October of the calendar year

in which the Distribution Period commences. Installment Payments shall be paid net of any taxes

required by law to be withheld by AIGFP.

        (c)     Early Distribution. In addition to the foregoing, to the extent and in the manner permitted

under Section 409A(a)(2) of the Internal Revenue Code, amounts credited to a Participant's or to AIG's

Deferred Compensation Account may be distributed on such earlier date as determined by the Committee,

with the approval of the Board; provided that (i) except as set forth in (ii) and (iii) below, any such early

distributions shall be made from Participants’ and AIG's Deferred Compensation Accounts on a pro rata

basis, (ii) any such early distributions can be made from AIG’s Deferred Compensation Account in an

amount such that, after giving effect to such distribution, the aggregate amount credited to AIG’s

Deferred Compensation Account shall equal 70% of the aggregate amount credited to the sum of (a) the

Deferred Compensation Accounts of AIG and all Participants taken together, plus (b) the aggregate

amount notionally credited to all Japanese Plan participants and (iii) a settlement of the entire balance in a

Participant's Deferred Compensation Account can be agreed to by the Committee, with the approval of

the Board, in connection with the termination of a Participant's employment with the Company.

        (d)     Foreign Currency Alternative. Participants who are employed outside the United States

may elect to have the Installment Payments and the interest payments (but not the Additional Return



                                                    -12-
              Case 23-50110-MFW           Doc 4     Filed 02/28/23      Page 72 of 173



Payments) on their annual Deferred Compensation contribution paid in the currency in which their cash

bonuses are paid in lieu of U.S. Dollars (provided such currency is one of Yen, Euro, Pounds Sterling and

Hong Kong Dollars). In the event a Participant shall make such an election, then the applicable Deferred

Compensation contribution shall be converted from U.S. Dollars into the applicable foreign currency at

the spot foreign exchange rate at or about 11:00 a.m. (New York time) on the date such contribution is

deemed pursuant to Section 3.02 to have been credited to the Participant’s account, as determined in good

faith by AIGFP. Such translated Deferred Compensation amount shall then earn interest in accordance

with Section 3.03 except that the applicable interest rate shall be the equivalent three-month LIBOR rate

in the alternative designated currency. Participant elections shall be made not later than December 1 of

the year in which the Deferred Compensation contribution has been made, by submitting an election form

in the form of Appendix A to the Chief Financial Officer of AIGFP.

        (e)     General.   All payments of interest, Installment Payments and Additional Return

Payments, and any early distribution of amounts credited to a Participant's Deferred Compensation

Account, shall be paid to such Participants from the company or companies from which such payment

represents compensation for services provided by such Participant; provided that for Participants whose

employment has been transferred from an AIGTG group company to an AIG Financial Products Corp.

group company in the same country, all such payments shall be paid from the AIG Financial Products

Corp. group company to which the Participant has been transferred.




                                                  -13-
                Case 23-50110-MFW          Doc 4      Filed 02/28/23      Page 73 of 173




                                               SECTION 4

                                           MISCELLANEOUS

        4.01.    AIGFP's Liability.


        (a) The benefits payable hereunder shall constitute an unsecured debt of AIG Financial Products

Corp. to the Participants and their Beneficiaries and to AIG and shall not have the benefit of any

guarantee by AIG of payment obligations of AIG Financial Products Corp. For the avoidance of doubt,

and notwithstanding anything else contained herein to the contrary, (i) the payment of benefits payable

hereunder to each of the Participants and their Beneficiaries and to AIG shall be made only from the

general funds of AIG Financial Products Corp., (ii) AIG Financial Products Corp. shall not segregate or

earmark any of its assets nor hold any assets in trust or in any special account for this purpose, and (iii)

none of the Participants, the Participants' Beneficiaries or AIG shall have any legal or equitable interest

in, lien on, or claim to, any particular asset of AIG Financial Products Corp. by virtue of this Deferred

Compensation Plan. If AIG Financial Products Corp. shall become the subject of any bankruptcy or

insolvency case or proceeding, or shall make an assignment for the benefit of creditors, or shall become

the subject of a reorganization whether or not pursuant to bankruptcy laws, or if any other relief shall be

granted to AIG Financial Products Corp. generally from the rights of creditors, then in any such event (a

“Bankruptcy/Insolvency Event”) the obligations under this Deferred Compensation Plan to Participants

and their Beneficiaries and to AIG shall be subordinate and junior in right of payment and otherwise, to

the prior payment in full of all of the other obligations of AIG Financial Products Corp., whether now




                                                   -14-
              Case 23-50110-MFW            Doc 4      Filed 02/28/23      Page 74 of 173



existing or hereafter incurred, except to the extent payment of any such obligations is expressly made

subordinate to or pari passu with the payment obligations hereunder.            If, in connection with a

Bankruptcy/Insolvency Event, the claims (collectively "Creditors' Claims") of all other present and future

creditors of AIG Financial Products Corp., other than those claims that are expressly made subordinate to

or pari passu with claims for benefits payable hereunder, can be immediately fully satisfied, or adequate

provision made for them, payments will be made at the times specified in this Plan. If, in connection with

a Bankruptcy/Insolvency Event, Creditors' Claims cannot be immediately satisfied or provision made for

them, then during the period prior to such condition being satisfied (“the Delay Period”), the following

special rules shall apply: AIG Financial Products Corp. will try to satisfy or provide for Creditors' Claims

as soon as reasonably practicable so as to minimize Delay Period restrictions. During the Delay Period,

no benefit payments shall be made. For the calendar year in which the Delay Period ends, (1) any

payments that first became due during that calendar year will be paid by the end of that year or, if later,

within 75 days after the date they first became due, and (2) any payments that first became due in an

earlier calendar year will be paid to the extent doing so would not violate Internal Revenue Code Section

409A (e.g., because paying them in any earlier year in the Delay Period would have jeopardized AIG

Financial Products Corp.'s ability to continue in business as a going concern). The right to any other

payment that first became due during the Delay Period shall lapse except to the extent AIG Financial

Products Corp. determines that it may amend the Plan to provide for its payment without violating

Internal Revenue Code Section 409A.

        (b) The outstanding balance credited to the Deferred Compensation Accounts of each Participant

and of AIG shall be subject to reduction, from time to time, to the extent of any losses incurred (i) by

AIGFP (excluding AIGTG) or (ii) by AIGTG resulting from transactions entered into on or after January

1, 2003, which losses in the case of (i) and (ii) for any year in the aggregate exceed the outstanding



                                                   -15-
              Case 23-50110-MFW             Doc 4      Filed 02/28/23       Page 75 of 173



market and credit reserves and current year income of AIGFP (excluding outstanding market and credit

reserves relating to transactions entered into by AIGTG before January 1, 2003), but before base capital

of AIGFP (for the avoidance of doubt including AIGTG, and consisting of equity, retained earnings, if

any, and subordinated debt). Such reductions shall be made among the Participants (including for this

purpose, participants in the Japanese Plan) and AIG on a pro rata basis. AIG Financial Products Corp.

shall be obligated subsequently to restore amounts so deducted from Participants' and AIG's account

balances, plus accrued interest thereon at the interest rate determined in accordance with Section 3.03 and,

in connection therewith, the Board shall adopt a plan (which shall not be subject to the approval of AIG

or the Participants) setting forth a schedule under which AIG Financial Products Corp. shall restore

amounts deducted from Participants' and AIG's account balances (plus accrued interest thereon). Any

such restoration plan shall provide that any restored amounts shall be paid in 2013; to the extent amounts

have not been restored by December 31, 2013, all restoration rights shall permanently lapse except to the

extent AIG Financial Products Corp. determines that it may amend the Plan to provide for payment of

restored amounts without violating Internal Revenue Code Section 409A.Notwithstanding the terms of

any such plan, in a bankruptcy or insolvency of AIG Financial Products Corp. each Participant and

Participant’s Beneficiary and AIG shall have an unsecured claim, subordinated and junior in payment

and subject to the limitation on rights and interests to the extent provided in the immediately preceding

subparagraph, against AIG Financial Products Corp. for the amount, if any, by which the balances

credited to their Deferred Compensation Account were reduced and not subsequently restored (plus credit

for accrued interest thereon), in addition to such claims as are described in the immediately preceding

subparagraph. For the avoidance of doubt, if AIG Financial Products Corp. consolidates or amalgamates

with, or merges with or into, or transfers all or substantially all of its assets to, another entity, then the




                                                    -16-
                Case 23-50110-MFW          Doc 4     Filed 02/28/23       Page 76 of 173



resulting, surviving or transferee entity shall assume all of the obligations of AIG Financial Products

Corp. hereunder.

        4.02.    Nonassignability. Subject to Section 3.05(c)(iii), neither AIG nor any Participant or

Beneficiary shall have the power to subject any right to receive payments under this Deferred

Compensation Plan to assignment, pledge, sale, attachment, garnishment or any other transfer, alienation

or encumbrance, nor shall such rights be subject to AIG's, the Participant's or Beneficiary's debts or to

seizure for satisfaction of judgments, alimony or separate maintenance obligations.

        4.03.    Continuation as Employee. Neither this Deferred Compensation Plan nor the payment of

any benefits hereunder shall be construed as giving the Participant any right to be retained as an employee

of AIGFP. Except as provided in the next sentence, Participants who cease to be employees of AIGFP

shall not lose their Deferred Compensation, which shall continue to be distributed as provided in Section

3.05 and to earn interest as provided in Section 3.03 (but not Additional Return Payments pursuant to

Section 3.04). Notwithstanding any provision herein to the contrary, Participants who steal or embezzle

from AIG or AIGFP or engage in an act of dishonesty, disloyalty or breach of trust against AIG or AIGFP

that is comparable to theft or embezzlement shall lose their right to Deferred Compensation, including all

amounts then credited to their Deferred Compensation Account and any interest accrued thereon.

        4.04.    Amendment and Termination. The Committee may from time to time, with the

approval of the Board, amend this Deferred Compensation Plan in whole or in part; provided,

however, that any such amendment (i) shall be effective as of the next succeeding Interest Reset

Date falling in January (other than an amendment to this Deferred Compensation Plan that (a)

has the effect of altering or eliminating the voluntary deferral rights of Participants under Section

3.01(b) hereof or of reducing the portion of Participants' Notional Bonus Amount that is subject



                                                   -17-
                Case 23-50110-MFW          Doc 4     Filed 02/28/23       Page 77 of 173




to automatic deferral under Section 3.01(a) hereof, or (b) is adopted in connection with the

adoption or proposed adoption of, or a change or anticipated change in, any federal, state or

other law or regulation (including any tax law or regulation) applicable to the Deferred

Compensation Plan; any such amendment described in such clause (a) or (b) shall be effective

immediately or as otherwise specified therein) and (ii) cannot, subject to Section 4.01 hereof,

reduce or delay payment of any Participant's or AIG's benefits accrued up to the date of such

amendment. The Committee shall promptly notify all Participants and AIG of any amendments

to this Deferred Compensation Plan.          The Board may suspend or terminate this Deferred

Compensation Plan; provided, however, that any such suspension or termination cannot, subject

to Section 4.01 hereof, reduce or delay payment of any Participant's or AIG's benefits accrued up

to the date of such suspension or termination. Such amendment, suspension or termination shall

not be effective until made in writing and shall be communicated in writing to all Participants

and to AIG.

        4.05.    Governing Law. The law of the State of Connecticut shall govern the interpretation,

application and operation of this Deferred Compensation Plan.

        4.06.    Claims Procedure. Claims for benefits under the Plan shall be filed with the Committee,

on forms supplied by the Committee. Written notice of the Committee's disposition of a claim shall be

furnished to the claimant within 30 days after the application therefor is filed. In the event the claim is

denied the reasons for the denial shall be specifically set forth in writing, pertinent provisions of the

Deferred Compensation Plan shall be cited, and, where appropriate, an explanation as to how the claimant

can perfect the claims will be provided. If AIG, a Participant or a Beneficiary has been denied a benefit,

each shall be entitled, upon request to the Board, to appeal the denial of the claimed benefit within 90


                                                   -18-
               Case 23-50110-MFW           Doc 4      Filed 02/28/23     Page 78 of 173



days following the Committee's determination described in the preceding sentence. Upon such appeal,

the Board (or a special committee designated by the Board) shall, as soon as practicable, meet with and

hear the position of the claimant. Its decision following such meeting shall be made within 30 days and

shall be communicated in writing to the claimant.

        4.07    Information. For so long as the Deferred Compensation Plan is in effect, AIGFP shall

provide each Participant and AIG with quarterly Deferred Compensation account statements setting forth

(i) the Participant's or AIG's (as the case may be) Deferred Compensation account balance, (ii) the amount

of interest and, for account statements covering the quarterly period in which such amounts would be

paid, the Additional Return Payment and Installment Payment, if any, paid on such balance during such

quarterly period and (iii) the Installment Payment schedule for the Participant or AIG. In addition,

AIGFP shall provide Participants and AIG with an AIGFP annual financial summary (which shall include

a statement of the average life of AIGFP's swap transaction portfolio as of the date of such financial

information), and shall endeavor to keep Participants who are then employees of AIGFP apprised of

material developments involving AIGFP's business or accounting procedures applicable to AIGFP insofar

as they relate to the Deferred Compensation Plan. A form of quarterly statement is attached as Appendix

B hereto.

        4.08    Singapore Office Participants. Notwithstanding any other provision of the Plan to the

contrary, Participants who are based in a Singapore office of AIGFP shall have their automatic and

voluntary deferrals contributed to their Deferred Compensation Account on an after tax basis after

deducting Singapore taxes payable in respect of such Participants' Notional Bonus Amount.


        4.09    Compliance with Internal Revenue Code Section 409A. It is intended that amounts

awarded or deferred under this Plan will not be taxable under Internal Revenue Code Section 409A. This




                                                    -19-
               Case 23-50110-MFW            Doc 4      Filed 02/28/23      Page 79 of 173



Plan shall be interpreted and administered, to the extent possible, in a manner that does not result in a

“plan failure” (within the meaning of Internal Revenue Code Section 409A(a)(1)) of this Plan or any

other plan or arrangement maintained by AIG-FP or any affiliate.


        4.10    Foreign Participants not Subject to U.S. Taxation. If a Participant is not subject to U.S.

income taxation on any benefits under this Plan or any other plan that would be aggregated with it for

purposes of applying Internal Revenue Code Section 409A, the Participant's rights will be determined

under either the Plan terms in effect immediately before the December 2008 restatement of the Plan or the

terms in effect immediately after such restatement, whichever is more favorable to such Participant as

determined by the Committee. Such a Participant shall not accrue any further benefits under this Plan (or

any other plan that would be aggregated with this Plan for purposes of Section 409A) to the extent such

benefits would be subject to Internal Revenue Code Section 409A, and any benefits that cannot be

accrued for that reason will be paid in another way, if any, that is not subject to Section 409A.




                                                    -20-
             Case 23-50110-MFW            Doc 4     Filed 02/28/23       Page 80 of 173



                                                                                           APPENDIX A



                                AIG FINANCIAL PRODUCTS CORP.
                                DEFERRED COMPENSATION PLAN
                                        ELECTION FORM


1. Pursuant to the provisions of Section 3 of the Deferred Compensation Plan, in addition to the
   automatic deferral under the Plan I hereby elect to have the amount or percentage of amounts
   specified below deferred in the manner provided for in the Deferred Compensation Plan (see Section
   3.01(b) for restrictions applicable to members of the Paris office):

       ___________     USD     Amount to be deferred as a voluntary deferral in addition to the
                               automatic deferral under the Plan (to the extent I am awarded a Notional
                               Bonus Amount that is sufficient to cover this voluntary deferral amount).

       ___________     USD     Any Notional Bonus Amount awarded to me in excess of this amount
                               (that is not subject to automatic deferral under the Plan) should be treated
                               as a voluntary deferral.

       ___________     %       This percentage of the Notional Bonus Amount remaining after the
                               automatic deferral should be treated as a voluntary deferral.

2. In the event that I should die prior to receipt of all distributions to which I am entitled under the
   Deferred Compensation Plan, I hereby direct that, pursuant to Section 3.05 of the Deferred
   Compensation Plan, all amounts due to me as deferred compensation under Section 3 of the Deferred
   Compensation Plan be distributed as follows:

       Proportion                      Name of Beneficiary(ies)

       ___________                     _________________________

       ___________                     _________________________

       ___________                     _________________________

3. I hereby elect, pursuant to Section 3.05 (d) of the Deferred Compensation Plan, to have the
   Installment Payments and interest payments in respect of my Deferred Compensation contribution for
   calendar year _____ paid in _______________ [specify foreign currency] in lieu of U.S. Dollars.


       __________              _________________________                 _________________________
       Date                    Signature                                 Name (Please Print)
              Case 23-50110-MFW             Doc 4     Filed 02/28/23       Page 81 of 173



                                                                                         APPENDIX B

                                  DEFERRED COMPENSATION
                                    ACCOUNT STATEMENT
                            FOR QUARTERLY PERIOD ENDING ________


The Deferred Compensation balance in your account is an unsecured subordinated liability of AIG
Financial Products Corp. to you and your beneficiaries. See Section 4.01 of the AIGFP Deferred
Compensation Plan for additional details.

The details of your account balance for the current year are as follows:


                                                                       In USD        In Local Currency
                                                                                         (________)
Deferred Compensation Balance January 1, ______
        Year Generated _________                                ________________    ________________
Installment Payments
        Year Generated _________                                ________________    ________________
Deferred Compensation Balance December 31, _______
        Year Generated _________                                ________________    ________________




Interest Earned:
        First Quarter                                                               ________________
        Second Quarter                                                              ________________
        Third Quarter                                                               ________________
        Fourth Quarter                                                              ________________


Additional Return Payments                                      ________________    ________________


        Total Earnings
              Case 23-50110-MFW        Doc 4    Filed 02/28/23   Page 82 of 173



                                         SCHEDULE A

                                   AUTOMATIC DEFERRALS


                        Position                                 Notional Bonus Amounts

AIGFP Executives with Notional Bonus Amounts Exceeding           10% of first $500,000
$250,000                                                         20% of next $250,000
                                                                 30% of next $250,000
                                                                 40% of next $250,000
                                                                   50% of remainder
                       Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 83 of 173




                                              Exhibit B

                                           Parent Guarantee




30132276.1

         US-DOCS\139579253
Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 84 of 173
Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 85 of 173
Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 86 of 173
                       Case 23-50110-MFW     Doc 4    Filed 02/28/23   Page 87 of 173




                                                 Exhibit C

                                           Special Incentive Plan




30132276.1

         US-DOCS\139579253
         Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 88 of 173




                                                                          December 29, 2008



                         AIG FINANCIAL PRODUCTS CORP.
                          2007 SPECIAL INCENTIVE PLAN

                                 Conformed Copy Reflecting:

                          Amendment No. 1 December 29, 2008



        AIG Financial Products Corp. sets out below the terms and conditions (the “2007 SIP
Terms”) of the AIG Financial Products Corp. 2007 Special Incentive Plan (the “2007 SIP”)
and the 2007 special incentive credits (the “2007 SIP Credits”) to be provided hereunder to
certain AIGFP executive employees and consultants (the “Covered Executives”) and to
American International Group, Inc. (“AIG”). The 2007 SIP Credits are independent of the
Notional Bonus Amounts paid to employees of AIGFP for 2007 and the portions thereof
deferred in accordance with the AIG Financial Products Corp. Deferred Compensation Plan,
as amended (the “Deferred Compensation Plan”). The terms and operation of the Deferred
Compensation Plan are not affected by the 2007 SIP.

        As a result of the valuation adjustments associated with AIGFP’s super senior credit
derivative business, the Notional Bonus Amounts available in 2007 have been affected, and
there will be no Additional Return Payment for 2007 under the Deferred Compensation Plan
(and no analogous payment under any retirement plan in which members of AIGFP’s Tokyo
office participate in lieu of participating in the Deferred Compensation Plan). The purpose of
the 2007 SIP is to provide an additional compensation opportunity for Covered Executives
while at the same time:

        (i)       providing incentives for Covered Executives to continue developing,
                  promoting and executing AIGFP’s business,

        (ii)      recognizing the serious effect that the unrecognized losses associated with
                  the valuation adjustment have had,

        (iii)     continuing to ensure that AIGFP’s and its employees’ interests are aligned
                  with those of AIG and AIG’s shareholders, and

        (iv)      building and maintaining the formation of capital in AIGFP, including for
                  purposes of ensuring that amounts are available to absorb losses in the
                  event that AIGFP realizes losses on super senior credit derivatives that
                  would have an impact on AIGFP’s capital structure.



                                             -1-
         Case 23-50110-MFW         Doc 4     Filed 02/28/23    Page 89 of 173




                                       SECTION I
                                      DEFINITIONS

        For purposes of these 2007 SIP Terms, capitalized terms not otherwise defined herein
shall have the meanings ascribed to them in Schedule 1 hereto.

                                      SECTION II
                                    PARTICIPATION

       2.01    Participation.

       (a)     Participation by Covered Executives. Covered Executives shall be those
Executives of AIGFP who receive 2007 SIP Credits to their 2007 SIP Accounts pursuant to
Section 3.01(a). No Executive shall receive such a 2007 SIP Credit unless such Executive
has signed an Election in the form attached as Appendix A hereto, and such Executive meets
one or both of the following conditions:

       (i)    the Executive’s Notional Bonus Amount (or equivalent for consultants) for
              2007 equals $1,250,000 (or, in the case of any Executive who receives
              guaranteed bonus compensation for 2007, such Executive’s guaranteed bonus
              compensation for 2007, together with any discretionary incentive
              compensation for 2007, equals or exceeds $1,250,000); and/or

       (ii)    the Executive would have received, if an Additional Return Payment had been
               paid under the Deferred Compensation Plan for 2007, a pro rata allocation
               thereof (or would have received an analogous payment under a retirement
               plan in which members of AIGFP’s Tokyo office participate in lieu of
               participating in the Deferred Compensation Plan).

For the avoidance of doubt, even if an Executive qualifies under the preceding sentence, the
award to such Executive of any 2007 SIP Credits shall be in AIGFP’s discretion as stated in
Section 3.01(a).

       (b)     Participation by AIG. AIG’s participation shall be mandatory in an amount
determined in accordance with Section 3.01(b).

                                    SECTION III
                         2007 SPECIAL INCENTIVE CREDITS

       3.01    2007 SIP Credits.

        (a)    2007 SIP Credits for Covered Executives. The 2007 SIP Credit for each
Covered Executive shall be determined by AIGFP in its absolute discretion. AIGFP shall,
with effect from December 31, 2007, credit the 2007 SIP Account of each Covered Executive
with the amount of such Covered Executive’s 2007 SIP Credit.


                                             -2-
            Case 23-50110-MFW        Doc 4    Filed 02/28/23     Page 90 of 173




       (b)    2007 SIP Credit for AIG. AIG’s 2007 SIP Credit shall equal (i) the aggregate
amount of the 2007 SIP Credits for all Covered Executives, multiplied by (ii) a fraction, the
numerator of which is 7 and the denominator of which is 3. AIGFP shall, on the date that
AIG’s share of AIGFP’s Distributable Income in respect of 2007 (as that term is defined in
the Deferred Compensation Plan) is or would have been paid to AIG by AIGFP, credit AIG’s
2007 SIP Account with the amount of AIG’s 2007 SIP Credit.

           (c)    Currency. All 2007 SIP Credits shall be recorded and maintained in US
dollars.

           3.02   Reductions of SIP Accounts as a Result of Termination of Employment.

       (a)     Termination Prior to January 1, 2009. If the employment (or consultancy) of
a Covered Executive terminates prior to January 1, 2009 for any reason other than as a result
of dismissal (or termination) without cause or death or permanent disability, the SIP Account
of such Covered Executive shall be reduced to zero upon the date of such termination and
such Covered Executive shall have no further right to amounts credited to such account or
any other rights in respect thereof (including any accrued but unpaid interest thereon).

        (b)     Termination on or After January 1, 2009 but Prior to January 1, 2010. If the
employment (or consultancy) of a Covered Executive terminates on or after January 1, 2009
but prior to January 1, 2010 for any reason other than as a result of dismissal (or termination)
without cause or death or permanent disability, the SIP Account of such Covered Executive
shall be reduced by an amount equal to two-thirds of the amount credited thereto as of the
date of such termination and such Covered Executive shall have no further right to such
reduction amount or any other rights in respect thereof (including any accrued but unpaid
interest on such reduction amount).

        (c)     Reductions. Amounts by which SIP Accounts are reduced pursuant to this
Section 3.02 from time to time shall not be reallocated among other SIP Accounts, but shall
be released on the date payment is made to Covered Executives pursuant to Section 3.05(a)
and shall be available for distribution to AIGFP employees in the year of release (in addition
to, and in the same manner and subject to the same conditions as, the 30% portion of annual
Distributable Income that is allocable to AIGFP employees in the year of release).

        3.03 Interest on 2007 SIP Credits. Amounts attributable to a Covered Executive’s
and to AIG’s SIP Account shall earn interest, which shall be determined quarterly on the first
day of each January, April, July and October in each year (each, an “Interest Reset Date”);
provided, however, that if any Interest Reset Date would otherwise fall on a day that is not a
Business Day, such Interest Reset Date will be the following day that is a Business Day. The
interest rate shall be equal to the LIBOR Rate for each Interest Reset Date. Each such
adjusted rate shall be applicable from and including the Interest Reset Date to which it relates
to but not including the next succeeding Interest Reset Date or until all amounts in a Covered
Executive’s or AIG’s SIP Account are distributed (each, an “Interest Period”). Interest shall
be payable quarterly in arrears following the end of each Interest Period (each such date on

                                               -3-
         Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 91 of 173




which interest is paid, which shall not be later than ten (10) Business Days following the end
of the respective Interest Period, an “Interest Payment Date”) on the balance in such SIP
Account as of the Interest Reset Date on which the Interest Period commences. All amounts
of interest shall be paid net of any taxes required by law to be withheld by AIGFP. For the
avoidance of doubt, interest on 2007 SIP Accounts shall be an expense of AIGFP and,
accordingly, shall be borne by AIG and AIGFP employees on a 70%/30% basis as a
reduction in Distributable Income.

        3.04 Additional Return Payment to Covered Executives. In addition to interest
payable on 2007 SIP Accounts in accordance with Section 3.03, the SIP Accounts of
Covered Executives (but not AIG) may be credited as of the Interest Reset Date falling in
January of each year with such additional earnings of AIGFP (the “Additional Return
Payment”) as the President of AIGFP, with the approval of the Board, shall determine;
provided that any Additional Return Payments (i) shall be payable only to Covered
Executives who are employees or consultants of AIGFP as of the date of payment therefor
and (ii) shall be allocated among such eligible Covered Executives’ SIP Accounts on a pro
rata basis. Additional Return Payments shall be paid to eligible Covered Executives on each
Interest Payment Date for the Interest Period beginning in October of each year based on the
balance in such Covered Executives’ SIP Accounts as of the Interest Reset Date for the
Interest Period beginning in October of such year. For the avoidance of doubt, Additional
Return Payments shall be paid out of the 30% portion of annual Distributable Income that is
allocable to AIGFP employees. All Additional Return Payments shall be paid net of any
taxes required by law to be withheld by AIGFP.

       3.05.   Payment

       (a)     Payment. Unless payment occurs on an earlier date pursuant to Section
3.05(b) below, the outstanding balance, if any, credited to a Covered Executive’s or AIG’s
SIP Account as of the Interest Payment Date for the Interest Period beginning in October
2012 shall be paid to such Covered Executive or to AIG, as applicable, on such date.

        (b)     Distribution Events. Upon the earlier to occur of the Distribution Events set
forth below, AIGFP shall direct that all amounts credited to a Covered Executive’s SIP
Account (subject, for the avoidance of doubt, to reductions in accordance with Section 3.02),
together with interest accrued thereon, shall be paid in a lump sum to such Covered
Executive prior to the end of the year in which the Distribution Event occurs or, if later, by
the 15th day of the third calendar month following the date of the Distribution Event. The
Distribution Events are:

               (1)    Death of the Covered Executive; or

               (2)    Permanent Disability of the Covered Executive.

        Upon the death of a Covered Executive prior to his or her receipt of all amounts
credited to his SIP Account, the Covered Executive’s Beneficiary shall be paid in a lump sum

                                             -4-
         Case 23-50110-MFW           Doc 4    Filed 02/28/23     Page 92 of 173




all amounts then credited to such Covered Executive’s SIP Account, plus accrued but unpaid
interest to the date of payment. If there is more than one Beneficiary then designated, such
SIP Account shall be distributed to such Beneficiaries in the proportions designated by such
Covered Executive, or in the absence of any such designation, in equal shares. Any payment
made pursuant to this Section 3.05(b) shall be made in the calendar year in which the Death
or Permanent Disability (as applicable) of the Participant occurs or such later date as may be
permitted under Internal Revenue Code Section 409A without the Participant incurring any
taxes or interest or penalties thereunder.

      (c)      General. All payments hereunder (including interest and Additional Return
Payments) and any early distribution of amounts credited to a Covered Executive’s SIP
Account, shall be paid in US dollars to such Covered Executives from the company or
companies from which such payment represents compensation for services provided by such
Covered Executive.

                                       SECTION IV
                                     MISCELLANEOUS

       4.01    AIGFP’s Liability.

        (a)     The amounts payable hereunder shall constitute an unsecured debt of AIG
Financial Products Corp. to the Covered Executives and their Beneficiaries and to AIG and
shall not have the benefit of any guarantee by AIG of payment obligations of AIG Financial
Products Corp. For the avoidance of doubt, and notwithstanding anything else contained
herein to the contrary, (i) the payment of benefits payable hereunder to each of the Covered
Executives and their Beneficiaries and to AIG shall be made only from the general funds of
AIG Financial Products Corp., (ii) AIG Financial Products Corp. shall not segregate or
earmark any of its assets nor hold any assets in trust or in any special account for this
purpose, and (iii) none of the Covered Executives, the Covered Executives’ Beneficiaries or
AIG shall have any legal or equitable interest in, lien on, or claim to, any particular asset of
AIG Financial Products Corp. in respect of any 2007 SIP Account. If AIG Financial
Products Corp. shall become the subject of any bankruptcy or insolvency case or proceeding,
or shall make an assignment for the benefit of creditors, or shall become the subject of a
reorganization whether or not pursuant to bankruptcy laws, or if any other relief shall be
granted to AIG Financial Products Corp. generally from the rights of creditors, then in any
such event (a “Bankruptcy/Insolvency Event”) the obligations hereunder to Covered
Executives and their Beneficiaries and to AIG shall be subordinate and junior in right of
payment and otherwise, to the prior payment in full of all of the other obligations of AIG
Financial Products Corp., whether now existing or hereafter incurred, except to the extent
payment of any such obligations is expressly made subordinate to or pari passu with the
payment obligations hereunder. If, in connection with a Bankruptcy/Insolvency Event, the
claims (collectively "Creditors' Claims") of all other present and future creditors of AIG
Financial Products Corp., other than those claims that are expressly made subordinate to or
pari passu with claims for benefits payable hereunder, can be immediately fully satisfied, or
adequate provision made for them, payments will be made at the times specified in this Plan.

                                              -5-
         Case 23-50110-MFW          Doc 4     Filed 02/28/23     Page 93 of 173




If, in connection with a Bankruptcy/Insolvency Event, Creditors' Claims cannot be
immediately satisfied or provision made for them, then during the period prior to such
condition being satisfied (“the Delay Period”), the following special rules shall apply: AIG
Financial Products Corp. will try to satisfy or provide for Creditors' Claims as soon as
reasonably practicable so as to minimize Delay Period restrictions. During the Delay Period,
no benefit payments shall be made. For the calendar year in which the Delay Period ends,
(1) any payments that first became due during that calendar year will be paid by the end of
that year or, if later, within 75 days after the date they first became due, and (2) any
payments that first became due in an earlier calendar year will be paid to the extent doing so
would not violate Internal Revenue Code Section 409A (e.g., because paying them in any
earlier year in the Delay Period would have jeopardized AIG Financial Products Corp.'s
ability to continue in business as a going concern). The right to any other payment that first
became due during the Delay Period shall lapse except to the extent AIG Financial Products
Corp. determines that it may amend the Plan to provide for its payment without violating
Internal Revenue Code Section 409A. Notwithstanding the foregoing, the obligations
hereunder to Covered Executives, their Beneficiaries and to AIG shall be pari passu with
obligations under the Deferred Compensation Plan

         (b)    The outstanding balance credited to the SIP Accounts of each Covered
Executive and of AIG shall be subject to reduction, from time to time, to the extent of any
losses incurred (i) by AIGFP (excluding AIGTG) or (ii) by AIGTG resulting from
transactions entered into on or after January 1, 2003, which losses in the case of (i) and (ii)
for any year in the aggregate exceed the outstanding market and credit reserves and current
year income of AIGFP (excluding outstanding market and credit reserves relating to
transactions entered into by AIGTG before January 1, 2003), but before base capital of
AIGFP (for the avoidance of doubt including AIGTG, and consisting of equity, retained
earnings, if any, and subordinated debt). Such reductions shall be made on a pro rata basis
among the SIP Accounts under the 2007 SIP, and the Deferred Compensation Accounts
under the Deferred Compensation Plan, of Covered Executives and AIG. AIG Financial
Products Corp. shall be obligated subsequently to restore amounts so deducted from Covered
Executives’ and AIG’s account balances, plus accrued interest thereon at the interest rate
determined in accordance with Section 3.03 and, in connection therewith, the Board shall
adopt a plan (which shall not be subject to the approval of AIG or the Covered Executives)
setting forth a schedule under which AIG Financial Products Corp. shall restore amounts
deducted from Covered Executives’ and AIG’s account balances (plus accrued interest
thereon). Any such restoration plan shall provide that any restored amounts shall be paid in
2013; to the extent amounts have not been restored by December 31, 2013, all restoration
rights shall permanently lapse except to the extent AIG Financial Products Corp. determines
that it may amend the Plan to provide for payment of restored amounts without violating
Internal Revenue Code Section 409A. Notwithstanding the terms of any such plan, in a
bankruptcy or insolvency of AIG Financial Products Corp. each Covered Executive and
Covered Executive’s Beneficiary and AIG shall have an unsecured claim, subordinated and
junior in payment and subject to the limitation on rights and interests to the extent provided
in the immediately preceding subparagraph, against AIG Financial Products Corp. for the


                                              -6-
          Case 23-50110-MFW            Doc 4     Filed 02/28/23      Page 94 of 173




amount, if any, by which the balances credited to their SIP Account were reduced and not
subsequently restored (plus credit for accrued interest thereon), in addition to such claims as
are described in the immediately preceding subparagraph. For the avoidance of doubt, if
AIG Financial Products Corp. consolidates or amalgamates with, or merges with or into, or
transfers all or substantially all of its assets to, another entity, then the resulting, surviving or
transferee entity shall assume all of the obligations of AIG Financial Products Corp.
hereunder.

        4.02 Nonassignability. Neither AIG nor any Covered Executive or Beneficiary
shall have the power to subject any right to receive payments under these 2007 SIP Terms to
assignment, pledge, sale, attachment, garnishment or any other transfer, alienation or
encumbrance, nor shall such rights be subject to AIG’s, the Covered Executive’s or
Beneficiary’s debts or to seizure for satisfaction of judgments, alimony or separate
maintenance obligations.

       4.03 Continuation as Employee or Consultant. Neither these 2007 SIP Terms nor
the payment of any benefits hereunder shall be construed as giving any Covered Executive
any right to be retained as an employee or consultant of AIGFP.

        4.04 Amendment and Termination. The Committee may from time to time, with
the approval of the Board, amend these 2007 SIP Terms in whole or in part; provided,
however, that any such amendment may not, subject to Section 4.01 hereof, reduce or delay
payment of any Covered Executive’s or AIG’s benefits accrued up to the date of such
amendment. Any such amendment shall be effective immediately or as otherwise specified
therein and shall be communicated in writing to all Covered Executives and to AIG.

        4.05 Governing Law. The law of the State of Connecticut shall govern the
interpretation, application and operation of this document.

        4.06 Claims Procedure. Claims for benefits under these 2007 SIP Terms shall be
filed with the Committee, on forms supplied by the Committee. Written notice of the
Committee’s disposition of a claim shall be furnished to the claimant within 30 days after the
application therefor is filed. In the event the claim is denied, the reasons for the denial shall
be specifically set forth in writing, pertinent provisions of these 2007 SIP Terms shall be
cited, and, where appropriate, an explanation as to how the claimant can perfect the claims
will be provided. If AIG, a Covered Executive or a Beneficiary has been denied a benefit,
each shall be entitled, upon request to the Board, to appeal the denial of the claimed benefit
within 90 days following the Committee’s determination described in the preceding sentence.
Upon such appeal, the Board (or a special committee designated by the Board) shall, as soon
as practicable, meet with and hear the position of the claimant. Its decision following such
meeting shall be made within 30 days and shall be communicated in writing to the claimant.

       4.07 Information. For so long as 2007 SIP Credits remain payable hereunder,
AIGFP shall provide each Covered Executive and AIG with quarterly SIP Account
statements setting forth (i) the Covered Executive’s or AIG’s (as the case may be) SIP

                                                 -7-
         Case 23-50110-MFW           Doc 4     Filed 02/28/23     Page 95 of 173




Account balance, (ii) the amount of any Additional Return Payment and any interest on any
Additional Return Payment that is credited to the SIP Account during such quarterly period,
and (iii) the amount of interest paid on such SIP Account balance during such quarterly
period. In addition, AIGFP shall provide Covered Executives and AIG with an AIGFP
annual financial summary, and shall endeavor to keep Covered Executives who are then
employees of AIGFP apprised of material developments involving AIGFP’s business or
accounting procedures applicable to AIGFP insofar as they relate to these 2007 SIP Terms.
A form of quarterly statement is attached as Appendix B hereto.

       4.08 Compliance with Internal Revenue Code Section 409A. It is intended that
amounts awarded or deferred under this Plan will not be taxable under Internal Revenue
Code Section 409A. This Plan shall be interpreted and administered, to the extent possible,
in a manner that does not result in a “plan failure” (within the meaning of Internal Revenue
Code Section 409A(a)(1)) of this Plan or any other plan or arrangement maintained by AIG-
FP or any affiliate.

        4.09 Foreign Participants not Subject to U.S. Taxation. If a Participant is not
subject to U.S. income taxation on any benefits under this Plan or any other plan that would
be aggregated with it for purposes of applying Internal Revenue Code Section 409A, the
Participant's rights will be determined under either the Plan terms in effect immediately
before the December 2008 restatement of the Plan or the terms in effect immediately after
such restatement, whichever is more favorable to such Participant as determined by the
Committee. Such a Participant shall not accrue any further benefits under this Plan (or any
other plan that would be aggregated with this Plan for purposes of Section 409A) to the
extent such benefits would be subject to Internal Revenue Code Section 409A, and any
benefits that cannot be accrued for that reason will be paid in another way, if any, that is not
subject to Section 409A.




                                               -8-
         Case 23-50110-MFW          Doc 4     Filed 02/28/23     Page 96 of 173




                                                                                SCHEDULE 1



                                       DEFINITIONS

“AIGFP” means AIG Financial Products Corp., including, where applicable, all subsidiaries
thereof, and AIG Trading Group Inc., including, where applicable, all subsidiaries thereof
(“AIGTG”).

“Beneficiary” shall mean such person or trustee as may be designated by a Covered
Executive or otherwise determined pursuant to Section 3.01 of the Deferred Compensation
Plan or, in the case of any Covered Executive who is not a participant under the Deferred
Compensation Plan, as may be designated in writing by the Covered Executive.

“Board” shall mean the Board of Directors of AIG Financial Products Corp.

“Business Day” shall mean any day on which commercial banks are open for business
(including dealings in foreign exchange and foreign currency deposits) in New York City and
London.

“Committee” shall mean a committee consisting of the chief executive officer of AIG
Financial Products Corp., the chief financial officer of AIG Financial Products Corp. and the
secretary of AIG Financial Products Corp.

“Covered Executive” shall mean an Executive who receives a 2007 SIP Credit to his or her
2007 SIP Account pursuant to Section 3.01(a) of these 2007 SIP Terms.

“Executive” shall mean an executive employee of AIGFP with the title of Assistant Vice
President or higher or a consultant of AIGFP.

 “LIBOR Rate” shall mean the rate for an Interest Reset Date, which is the rate for deposits
in U.S. Dollars for a period of three (3) months, which appears on the Telerate Page 3750 as
of 11:00 a.m., London time, on the day that is two London Banking Days preceding that
Interest Reset Date. If such rate does not appear on the Telerate Page 3750, the rate for that
Interest Reset Date shall be determined in accordance with the definition of USD-LIBOR-
Reference Banks.

“London Banking Day” shall mean any day on which commercial banks are open for
business (including dealings in foreign exchange and foreign currency deposits) in London.

“Notional Bonus Amount” shall have the meaning ascribed thereto under the Deferred
Compensation Plan.

“Permanent Disability” shall mean that a Participant has been found to be disabled by the
U.S. Social Security Administration. The date of such a disability will be the date on which

                                              -9-
         Case 23-50110-MFW           Doc 4     Filed 02/28/23     Page 97 of 173




that Social Security determination is rendered, not the earlier date as of which the disability
commenced. If the Participant is not covered by the U.S. Social Security system, the
Participant shall be considered permanently disabled on the first anniversary of the
commencement of his or her disability if the Committee determines before then that the
Participant has satisfied the U.S. Social Security definition of disability and the Participant
remains continuously disabled through that first anniversary. “Reference Banks” shall mean
four major banks in the London interbank market.

“SIP Account” shall mean the account established on AIG Financial Product Corp.’s books
in the name of each Covered Executive and of AIG in which, pursuant to Section 3 of these
2007 SIP Terms, 2007 SIP Credits for Covered Executives and AIG are recorded.

 “USD-LIBOR-Reference Banks” shall mean that the rate for an Interest Reset Date will be
determined on the basis of the rates at which deposits in U.S. Dollars are offered by the
Reference Banks at approximately 11:00 a.m., London time, on the date that is two London
Banking Days preceding that Interest Reset Date to prime banks in the London interbank
market for a period of three (3) months commencing on that Interest Reset Date. AIGFP will
request the principal London office of each of the Reference Banks to provide a quotation of
its rate. If at least two such quotations are provided, the rate for that Interest Reset Date will
be the arithmetic mean of the quotations. If fewer than two quotations are provided as
requested, the rate for that Interest Reset Date will be the arithmetic mean of the rates quoted
by major banks in New York City, selected by AIGFP, at approximately 11:00 a.m., New
York City time, on that Interest Reset Date for loans in U.S. Dollars to leading European
banks for a period of three (3) months commencing on that Interest Reset Date.




                                               -10-
             Case 23-50110-MFW      Doc 4     Filed 02/28/23     Page 98 of 173




                                                                                APPENDIX A



                                            Election


       I hereby elect to participate in the AIG Financial Products Corp. 2007 Special
Incentive Plan (the “2007 SIP”).

        I acknowledge that I have received, read and understood the 2007 SIP Terms and that
my participation in the 2007 SIP, including any credits or payments to me under the 2007
SIP, will be subject to the 2007 SIP Terms, which provide in part that the balance in my SIP
Account (i) is subject to reduction pursuant to Section 3.02 prior to January 1, 2010, and (ii)
is an unsecured subordinated liability of AIG Financial Products Corp. to me and my
beneficiaries subject to Section 4.01.

        I further recognize that any 2007 SIP Credits credited to my 2007 SIP Account under
the 2007 SIP are separate from and independent of any Notional Bonus Amount I might
receive for 2007, as that term is defined in the AIG Financial Products Corp. Deferred
Compensation Plan, and I waive any claim that amounts represented by 2007 SIP Credits
credited to me under the 2007 SIP would be subject to, or payable to me pursuant to, the AIG
Financial Products Corp. Deferred Compensation Plan.




                                              __________________________________



                                              Date:




mws052.doc
     Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 99 of 173




                                                                            APPENDIX B



                       2007 SPECIAL INCENTIVE PLAN
                           ACCOUNT STATEMENT
                  FOR QUARTERLY PERIOD ENDING ________

        The balance in your SIP Account (i) is subject to reduction pursuant to Section
3.02 of the 2007 SIP Terms prior to January 1, 2010, and (ii) is an unsecured
subordinated liability of AIG Financial Products Corp. to you and your beneficiaries
subject to Section 4.01 of the 2007 SIP Terms.

       The details of your account balance for the current year are as follows:


                                                          In USD
SIP Account Balance January 1, ______
                                                          _______________
SIP Account Balance December 31, _______
                                                          _______________


Additional Return Payments January [10], _______
                                                          _______________

Interest Earned:
        First Quarter
        Second Quarter
        Third Quarter
        Fourth Quarter

    Total Earnings
                      Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 100 of 173




                                              Exhibit D

                                Total Payments Made to the Defendants




30132276.1

         US-DOCS\139579253
                                                                                            Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 101 of 173




     CONFIDENTIAL
     Net Cash Compensation for 2002-2009
                 Name                   Title                  2002           2003              2004             2005               2006              2007            2008          2009          IND TOTAL          CUMM TOTAL
 1   Person 1           Managing Director                      $16,961,685    $22,403,059       $22,027,517       $23,201,273       $25,521,207       $12,739,373             N/A           N/A      $122,854,114    $122,854,114
 2   Person 2           Managing Director                      $15,166,772    $18,793,163       $17,186,299       $18,083,921        $8,947,813        $7,912,780             N/A           N/A        $86,090,748   $208,944,862
 3   Person 3           Managing Director                       $8,081,279    $10,125,208        $9,780,788       $10,385,234       $12,138,977        $6,719,289      $4,797,500    $3,730,000        $65,758,275   $274,703,137
 4   Person 4           Managing Director                       $6,239,329     $8,808,054        $9,002,070        $9,447,830        $9,887,572        $5,986,760             N/A           N/A        $49,371,615   $324,074,752
 5   Person 5           Managing Director                       $4,279,871     $4,957,732        $6,075,054        $6,146,044        $7,051,393        $4,180,368      $3,100,000    $3,177,500        $38,967,962   $363,042,714
 6   Person 6           Managing Director & Head of Tax         $3,829,326     $4,961,772        $4,609,543        $4,772,096        $5,322,360        $3,430,648      $2,650,000    $2,474,423        $32,050,168   $395,092,882
 7   Person 7           Managing Director                       $2,298,441     $4,020,736        $4,246,628        $5,349,459        $6,590,692        $2,679,581             N/A           N/A        $25,185,537   $420,278,419
 8   Person 8           Managing Director                       $3,654,082     $3,884,915        $3,447,664        $4,029,403        $4,935,359        $2,675,208      $2,062,500      $100,000        $24,789,131   $445,067,550
 9   Person 9           Managing Director                       $2,503,163     $4,920,666        $4,576,861        $4,568,264        $4,963,580        $2,295,249             N/A           N/A        $23,827,783   $468,895,333
10   Person 10          Managing Director                       $1,571,344     $1,997,861        $2,141,903        $2,687,351        $3,827,875        $2,436,129      $2,937,500    $3,008,750        $20,608,713   $489,504,046
11   Person 11          Managing Director                       $2,370,309     $2,742,970        $2,583,681        $2,670,693        $2,937,426        $2,125,574      $2,200,000    $2,006,667        $19,637,320   $509,141,366
12   Person 12          Vice President                          $2,314,786     $2,657,943        $2,505,002        $2,521,781        $2,779,419        $2,055,375      $1,550,000    $1,600,000        $17,984,306   $527,125,672
13   Person 13          Managing Director and Counsel           $1,601,216     $2,109,558        $2,181,460        $2,490,534        $2,982,249        $2,118,501      $2,100,000    $1,927,500        $17,511,018   $544,636,690
14   Person 14          Managing Director                       $2,151,269     $2,528,965        $2,288,375        $2,293,575        $2,198,800          $838,696             N/A           N/A        $12,299,680   $556,936,370
15   Person 15          Managing Director                       $1,849,267     $2,072,647        $2,377,670        $2,402,488        $2,244,156          $938,502             N/A           N/A        $11,884,730   $568,821,100
16   Person 16          Vice President                                 N/A     $1,825,000        $2,056,717        $1,792,710        $1,867,211        $1,867,320      $1,325,000    $1,080,000        $11,813,958   $580,635,058
17   Person 17          Managing Director                       $1,373,964     $2,294,261        $2,447,508        $2,826,932        $1,988,400          $870,790             N/A           N/A        $11,801,855   $592,436,913
18   Person 18          Managing Director                       $1,408,133     $1,567,370        $1,505,810        $1,486,438        $1,626,738        $1,482,305      $1,045,000       $35,417        $10,157,211   $602,594,124
19   Person 19          Managing Director                       $2,265,610     $2,465,834        $1,992,468        $1,396,483          $599,190          $440,914             N/A           N/A         $9,160,499   $611,754,623
20   Person 20          Vice President                          $1,010,174     $1,268,292        $1,146,975        $1,131,489        $1,829,249          $864,227        $817,500      $690,750         $8,758,656   $620,513,279
21   Person 21          Vice President                            $684,882       $715,272        $1,318,235        $1,224,074        $1,360,385        $1,356,620      $1,010,000      $996,500         $8,665,968   $629,179,247
22   Person 22          Vice President                            $607,192       $835,019          $954,133        $1,046,379        $1,090,882        $1,295,084      $1,275,000    $1,310,000         $8,413,689   $637,592,936

     Person 23          Vice President & Assistant Treasurer    $1,030,367     $1,200,628         $1,105,482      $1,040,222         $1,009,829            $965,564     $767,500
23                                                                                                                                                                                     $725,750        $7,845,342    $645,438,278
24   Person 24          Vice President and Counsel                $695,000       $876,170           $904,608        $906,430        $1,096,195         $1,211,648      $1,025,000    $1,050,000        $7,765,051    $653,203,329
25   Person 25          Executive Director                        $663,851       $770,744           $705,024      $1,237,648        $1,302,783         $1,169,250        $820,000      $798,000        $7,467,300    $660,670,629
26   Person 26          Managing Director                              N/A     $1,270,000         $1,608,754      $1,321,265        $1,623,463         $1,412,696        $150,000           N/A        $7,386,178    $668,056,807
27   Person 27          Managing Director                              N/A     $1,050,000         $1,255,000      $1,698,632        $2,328,522           $697,029             N/A           N/A        $7,029,183    $675,085,990
28   Person 28          Managing Director                              N/A     $1,050,000         $1,400,000      $1,788,280        $2,064,968           $653,621             N/A           N/A        $6,956,869    $682,042,859
29   Person 29          Vice President                            $412,753       $484,004           $797,583        $709,772          $873,531         $1,700,128        $925,000      $892,500        $6,795,271    $688,838,130
30   Person 30          Vice President                            $643,160       $527,759           $687,236        $879,579        $1,096,022           $979,962        $750,000      $655,000        $6,218,718    $695,056,848
31   Person 31          Vice President                            $640,054       $743,683           $706,047        $778,136          $922,781           $801,184        $675,000      $700,000        $5,966,885    $701,023,733
32   Person 32          Vice President                            $426,835       $404,831           $375,727        $890,347          $717,082         $1,014,423        $710,000      $709,000        $5,248,245    $706,271,978
33   Person 33          Managing Director                              N/A            N/A         $1,150,000      $1,187,760        $1,096,975           $796,994        $680,000      $327,010        $5,238,739    $711,510,717
34   Person 34          Managing Director                              N/A            N/A           $759,615        $702,445          $675,000           $144,753      $1,475,000    $1,298,333        $5,055,146    $716,565,863
35   Person 35          Managing Director                              N/A            N/A                N/A             N/A               N/A         $1,525,000      $1,840,000      $980,000        $4,345,000    $720,910,863
36   Person 36          Vice President                            $883,207       $951,070           $994,641      $1,069,093          $227,176           $214,000             N/A           N/A        $4,339,187    $725,250,050
37   Person 37          Vice President                            $437,853       $898,248           $449,408        $512,651          $596,773           $523,942        $441,000      $425,400        $4,285,275    $729,535,325
38   Person 38          Trading Officer                                N/A       $420,000           $578,754        $541,810          $609,143           $539,025        $640,000      $591,000        $3,919,732    $733,455,057
39   Person 39          Managing Director                              N/A       $425,000           $325,000        $388,750          $601,757           $325,367        $827,500      $932,250        $3,825,624    $737,280,681
40   Person 40          Trading Officer                                N/A       $427,500           $441,940        $469,000          $471,653           $481,447        $225,000           N/A        $2,516,540    $739,797,221
41   Person 41          Trading Officer                                N/A            N/A                N/A             N/A          $625,000           $600,000        $552,500      $384,750        $2,162,250    $741,959,471
42   Person 42          Vice President                                 N/A            N/A           $215,000        $206,398          $310,944           $346,095        $510,000      $499,000        $2,087,437    $744,046,908
43   Person 43          Trading Officer                                N/A            N/A                N/A        $210,518          $492,331           $702,600        $616,000           N/A        $2,021,449    $746,068,357
44   Person 44          Vice President                            $230,000       $215,000           $215,000        $252,789          $223,000           $237,111        $250,000      $246,500        $1,869,400    $747,937,757
45   Person 45          Vice President                                 N/A            N/A           $265,000        $296,786          $216,898           $263,655        $517,500           N/A        $1,559,839    $749,497,596
46   Person 46          Trading Officer                                N/A       $435,000           $517,500        $533,548           $23,190            $22,864             N/A           N/A        $1,532,102    $751,029,698
     TOTAL                                                     $88,285,174   $120,105,934       $121,909,680    $129,576,310      $131,895,949        $84,637,651     $41,267,000   $33,352,000      $751,029,698
                      Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 102 of 173




                                             Exhibit E

                                 AIG FP Revolving Credit Agreement




30132276.1

         US-DOCS\139579253
              ---

        Case 23-50110-MFW       Doc 4    Filed 02/28/23   Page 103 of 173




                      REVOLVING CREDIT AGREEMENT

REVOLVING CREDIT AGREEMENT ("Agreement") dated as of this 22nd day of
September, 2008, by and between AIG Funding, Inc. a Delaware corporation,
with its principal executive offices located at 70 Pine Street, New York, NY 10270
("AIG Funding") and AIG Financial Products Corp. a Delaware corporation with
its principal executive offices located at 50 Danbury Road, Wilton, CT 06897
("Borrower").

WHEREAS, the Borrower has requested of AIG Funding a Sixty-Five Billion
Dollars ($65,000,000,000.00) revolving loan facility, and AIG Funding is willing to
grant that request, subject to the terms and conditions hereof;

NOW, THEREFORE, in consideration of the mutual promises and covenants
made herein, and other good and valuable consideration, the sufficiency and
receipt of which is hereby acknowledged, the parties hereto, intending to be
legally bound hereby, agree as follows:

1. SECTION 1. THE LOANS

1.1    The Borrowinqs

Subject to the terms and conditions of this Agreement, AIG Funding agrees, in its
sole discretion, upon the receipt of an authorized written request from the
Borrower, to lend Borrower from time to time from the date of this Agreement up
to but not including the Termination Date (as hereinafter defined) amounts not
exceeding Sixty-Five Billion Dollars ($65,000,000,000) in aggregate principal
amount at anyone time.

1.2    Interest

Interest shall be paid upon the unpaid principal amount of all loans made
pursuant to this Agreement for the period from the date of the borrowing of such
principal through but excluding the date upon which such principal is fully paid at
a mutually agreed rate per annum which the parties may determine, from time to
time (but in no event shall such rate be higher than the maximum rate permitted
by law). Interest shall be calculated on the aggregate unpaid principal amount on
the basis of the actual days elapsed in a year of three hundred sixty (360) days.
Interest shall be payable monthly in arrears by the fifteenth (15th)day of each
month (the "Interest Payment Dates") until such time as the aggregate unpaid
principal amount is paid in full. Interest shall be compounded on the first day of
each month. If any payment becomes due and payable on a Saturday, Sunday
or a legal or bank holiday in the State of New York (any day, other than such
days a "Business Day"), such payment shall be due and payable on the
immediately preceding Business Day, subject to the terms of this Section 1.2.
                                        n   _n     -   ---




          Case 23-50110-MFW       Doc 4          Filed 02/28/23   Page 104 of 173




1.3      The Note

All borrowings made by Borrower pursuant to Section 1.1 hereof shall be
evidenced by the Borrower's execution and delivery of a single promissory note
in the form of Exhibit A attached hereto ("Note"), dated the date of the making of
the initial loan, payable to the order of AIG Funding in the aggregate principal
amount of Sixty-Five Billion Dollars ($65,000,000,000) or, if less, the aggregate
unpaid principal amount of all loans made by AIG Funding to the Borrower
pursuant to this Agreement. AIG Funding shall note upon a schedule attached
as Schedule 1 to the Note, all borrowings made by Borrower pursuant to Section
1.1 hereof and all repayments of principal made by Borrower pursuant to Section
1.4 hereof. Such notations shall, in the absence of manifest error, be conclusive
as to the aggregate unpaid principal amount of all loans made by AIG Funding
pursuant to Section 1.1 hereof, provided, however, that the failure to make such
notation with respect to any loan or repayment shall not limit or otherwise affect
the obligations of the Borrower under this Agreement or the Note. Borrower may
from time to time request that AIG Funding provide Borrower with a copy of the
Schedule so that Borrower may confirm the aggregate unpaid principal balance
referenced in the Note.

1.4      Voluntarv Repayments

Borrower shall have the right to repay the principal amount of the loans made by
AIG Funding hereunder, in whole at any time or in part from time to time, without
premium or penalty. If the Borrower repays in whole, then such repayment shall
be accompanied by all accrued interest owed to the date of repayment.

1.5      Manner of Payment

All payments to be made by the Borrower on account of borrowings hereunder
shall be made without set-off or counterclaim in lawful currency of the United
States of America prior to 12:00 Noon, New York City time, on the date when
due, in immediately available funds.

1.6      Termination

      a) This Agreement shall have a term of twenty-four (24) months and shall
         automatically renew on the anniversary hereof for a twelve (12) month
         term on such anniversary and any subsequent annual anniversary (each,
         an "Anniversary Date") unless the Agreement is terminated by a written
         instrument signed by each of the parties hereto. In the event that an
         Anniversary Date shall fall on a day that is not a Business Day, then such
         Anniversary Date shall be deemed to be the immediately succeeding
         Business Day.

      b) Notwithstanding paragraph a) above, this Agreement (x) may be
         terminated at any time by the Borrower upon thirty (30) days' prior written

                                            - 2-
                               - -- - - - --


          Case 23-50110-MFW             Doc 4    Filed 02/28/23   Page 105 of 173




         notice to AIG Funding, (y) may be terminated immediately by AIG Funding
         upon any breach by the Borrower of any material obligation set forth in this
         Agreement, and (z) shall automatically and without further action by the
         Borrower or AIG Funding terminate in the event of any insolvency or
         bankruptcy of the Borrower, provided in each of the foregoing cases that,
         upon such termination, all outstanding indebtedness under this Agreement
         shall automatically and without further action by AIG Funding or the
         Borrower become immediately due and payable, and shall be paid by the
         Borrower to AIG Funding.

         Termination of this Agreement shall result in a termination of AIG
         Funding's obligation to make loans hereunder only, and shall not relieve
         the Borrower of any obligations hereunder.

      c) The 'Termination Date' shall be the date on which this Agreement
         terminates, whether by a written instrument signed by the parties pursuant
         to Section 1.6(a) or by early termination pursuant to Section 1.6(b).

SECTION 2. CONDITIONS PRECEDENT TO BORROWINGS

2.1      Initial Borrowinq

The obligation of AIG Funding to make any loan is conditional upon receipt by
AIG Funding of (i) the Note in the form attached as Exhibit A hereto, duly
executed by the Borrower and (ii) certified copies of Resolutions of Borrower's
Board of Directors authorizing the execution and delivery by it of this Agreement
and the Note and the incurrence and repayment of the obligations thereunder.

SECTION 3. COVENANTS

3.1      Riqht of Inspection

So long as any indebtedness under this Agreement remains unpaid, or for so
long as the Borrower shall have the right to borrow hereunder, AIG Funding may
inspect Borrower's properties and its books and records from time to time at any
reasonable time and make copies of such books and records from time to time at
any reasonable time.

3.2      Merqer Transactions

The Borrower will not merge with or into or consolidate with any other person,
sell, transfer or dispose of all or substantially all of its assets or undergo any
change in the control of its voting stock, so long as any indebtedness owed under
this Agreement remains unpaid, unless it receives the prior written authorization
of AIG Funding. For purposes of this agreement, person shall mean any natural
person, corporation, limited liability company, trust, joint venture, association,
company, partnership, governmental authority or other entity.

                                                -3-
        Case 23-50110-MFW        Doc 4    Filed 02/28/23   Page 106 of 173




3.3   Use of Proceeds

The Borrower shall use the proceeds of loans under this Agreement solely for the
purpose of its direct and legitimate business needs.

SECTION 4. MISCEllANEOUS

4.1    Neither the failure nor any delay on the part of AIG Funding to exercise
any right, power or privilege under this Agreement shall operate as a waiver
thereof, nor shall any single or partial exercise of any right, power or privilege
preclude any further exercise of such right, power or privilege or any exercise of
any other right, power or privilege.

4.2    The provisions of this Agreement shall not be modified, amended or
waived save in writing, executed by all parties. This Agreement, the obligations
and rights hereunder and all supporting documents referred to herein shall be
construed in accordance with the laws of the State of New York, without giving
effect to any contrary result otherwise required under applicable principles of
conflicts or choice of law. In the case anyone or more of the provisions
contained in this agreement should be invalid, illegal or unenforceable in any
respect, the validity, legality or enforceability of the remaining provisions
contained herein shall not in any way be affected or impaired thereby.

4.3     Except as otherwise provided herein, this Agreement shall bind and inure
to the benefit of Borrower and AIG Funding, their successors and assigns, except
that the Borrower may not assign or otherwise transfer any of its obligations,
rights or interests in or to this Agreement without the prior written consent of AIG
Funding and its successors or assigns.

4.4    All notices required in writing under this Agreement shall be considered as
having been given by one party to the other upon the latter party's receipt of
same. All such notices shall be transmitted by registered or certified mail or by
facsimile. Such written notice shall be sent to the attention of the Chief Financial
Officer and General Counsel of each of the parties hereto.

4.5   This Agreement and any termination thereof pursuant to Section 1.6(a)
may be executed in any number of counterparts, each of which counterpart when
so executed and delivered shall be deemed to be an original and all of which
counterparts taken together shall constitute but one and the same Agreement.
This Agreement shall become effective upon the execution of a counterpart
hereof by each of the parties hereto.

             [THE FOllOWING PAGE IS THE SIGNATURE PAGE]




                                         -4-
       Case 23-50110-MFW       Doc 4    Filed 02/28/23    Page 107 of 173




IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed and delivered by their proper and duly authorized officers, upon the
date set out under their respective signatures below with this Agreement being
effective as of the date first above written.


                                         AIG FUNDING, INC.




                                         By:

                                         Name: f1e;( JIfr i6qY'j~YJ-
                                         Title: Viet" If t:'5id Ir7
                                          Date:   10/"Ldf.4C1/()




                                         AIG FINANCIAL PRODUCTS CORP.




                                         By:
                                         Name:
                                         Title:
                                         Date:




                                       - 5-
      Case 23-50110-MFW       Doc 4    Filed 02/28/23       Page 108 of 173




IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed and delivered by their proper and duly authorized officers, upon the
date set out under their respective signatures below with this Agreement being
effective as of the date first above written.


                                         AIG FUNDING, INC.




                                         By:
                                         Name:
                                         Title:
                                         Date:




                                         AIG FINANCIAL PRODUCTS CORP.




                                         By:~A
                                            G-<..r r.\ f '\(!\,«~ -----
                                         Name:
                                         Title: C\~
                                         Date:   \~l?.'b   1 \0




                                      - 5-
                          --------      - -   ------


        Case 23-50110-MFW              Doc 4            Filed 02/28/23   Page 109 of 173

                                                                                   EXHIBIT A


                                     PROMISSORY NOTE


                                                       EFFECTIVE DATE: September 22, 2008


For valuable consideration, receipt of which is hereby acknowledged, AIG
Financial Products Corp., a Delaware corporation ("Borrower"), hereby
unconditionally promises to pay to the order of AIG Funding, Inc., a Delaware
corporation ("AIG Funding") in legal currency of the United States of America and
in immediately available funds, the principal sum of Sixty-Five Billion Dollars
($65,000,000,000) or, if less, the aggregate unpaid principal amount of all loans
made by AIG Funding to the Borrower pursuant to the Revolving Credit
Agreement dated as of September 22, 2008, between AIG Funding and Borrower
(the "Revolving Credit Agreement"). Borrower further agrees to pay interest in
like manner upon the unpaid principal amount hereof until such principal balance
referenced in this Note has been paid in full at a mutually agreed rate per annum
which the parties may determine, from time to time (but in no event shall such
rate be higher than the maximum rate permitted by law). Interest shall be
payable monthly in arrears by the fifteenth (15th) day of each month (hereinafter
referred to as the "Interest Payment Dates") until such time as the aggregate
unpaid principal balance referenced in this Note is paid in full. Daily interest shall
be computed based upon the actual days elapsed in a year of three hundred
sixty (360) days. Interest shall be compounded on the first day of each month. If
any payment on this Note becomes due and payable on a Saturday, Sunday or
legal or bank holiday in the State of New York, such payment shall be due and
payable on the immediately preceding day which is not a Saturday, Sunday or
legal or bank holiday in the State of New York ("Business Day").

Borrower may repay the principal amount of the loans made by AIG Funding
under this Note, in whole at any time or in part from time to time, without
premium or penalty. If the Borrower repays in whole, then such repayment shall
be accompanied by all accrued interest owed to the date of repayment.

Except as may be specifically provided herein, Borrower waives presentment for
payment, demand, notice of nonpayment, notice of protest and protest of this
Note, and agrees to pay, as soon as incurred, all costs and expenses, including
reasonable counsel fees, incidental to the collection of this Note or in any way
relating to the rights of holder hereunder. The holder hereof may release, renew
or extend any of the liabilities of Borrower and may make additional advances or
extensions of credit to it or grant other indulgences or extend the time for any
payment of principal or interest hereunder, all from time to time, without further
notice to or assent from any other party or any endorser hereof.

The Borrower hereby authorizes AIG Funding to endorse on the Schedule
annexed to this Note all loans made to the Borrower and all repayments of
                                    u-   ---u--



        Case 23-50110-MFW        Doc 4            Filed 02/28/23   Page 110 of 173




principal amounts in respect of such loans, which endorsements shall, in the
absence of manifest error, be conclusive as to the outstanding principal amount
of all loans hereunder; provided, however, that the failure to make such notation
with respect to any loan or repayment shall not limit or otherwise affect the
obligations of the Borrower under the Revolving Credit Agreement or this Note.

Terms used herein which are defined in the Revolving Credit Agreement shall
have their defined meanings when used herein.

This Note shall be governed by the laws of the State of New York, without giving
effect to any contrary result otherwise required under applicable conflict or choice
of law rules.

This Note is the Note referred to in the Revolving Credit Agreement and is
qualified by, and subject to, all of the terms and conditions provided therein. In
the event that any conflict, inconsistency or incongruity arises between the
provisions of the Revolving Credit Agreement and the terms of this Note, the
terms of the Revolving Credit Agreement shall in all respects control.



                                                  AIG FINANCIAL PRODUCTS CORP.,
                                                        as Borrower


                                                  By:
                                                  Name:
                                                  Title:
                                                  Date:
    Case 23-50110-MFW    Doc 4   Filed 02/28/23     Page 111 of 173




                           Schedule I


        LOANS AND REPAYMENT OF PRINCIPAL UNDER
REVOLVING CREDIT AGREEMENT DATED AS OF SEPTEMBER 22,2008
BETWEEN AIG FUNDING. INC. AND AIG FINANCIAL PRODUCTS CORP.




                                                                 NAME OF
                             AMOUNT OF              UNPAID        PERSON
             AMOUNT OF        PRINCIPAL           PRINCIPAL       MAKING
  DATE         LOAN            REPAID              BALANCE       NOTATION
     Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 112 of 173



                          Schedule I


        LOANS AND REPAYMENT OF PRINCIPAL UNDER
REVOLVING CREDIT AGREEMENT DATED AS OF SEPTEMBER 22,2008
BETWEEN AIG FUNDING, INC. AND AIG FINANCIAL PRODUCTS CORP.




                                                              NAME OF
                           AMOUNT OF          UNPAID           PERSON
             AMOUNT OF      PRINCIPAL        PRINCIPAL         MAKING
  DATE         LOAN          REPAID          BALANCE          NOTATION
                      Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 113 of 173




                                             Exhibit F

                               AIG FP Revolver Borrowings & Paydowns




30132276.1

         US-DOCS\139579253
            Case 23-50110-MFW      Doc 4   Filed 02/28/23      Page 114 of 173




                   LOANS AND REPAYMENT OF PRINCIPAL UNDER
                   AIG FP REVOLVER AS OF SEPTEMBER 22, 2008


              AMOUNT OF          CAPITALIZED         AMOUNT OF     UNPAID PRINCIPAL
DATE            LOAN              INTEREST        PRINCIPAL REPAID    BALANCE

 09/22/08    26,040,369,819.93             0.00                  0.00   26,040,369,819.93
 09/23/08     2,800,000,000.00             0.00                  0.00   28,840,369,819.93
 09/26/08       500,000,000.00             0.00                  0.00   29,340,369,819.93
 09/29/08     5,000,000,000.00             0.00                  0.00   34,340,369,819.93
 09/30/08     5,024,583,478.61             0.00                  0.00   39,364,953,298.54
 10/07/08       500,000,000.00             0.00                  0.00   39,864,953,298.54
 10/08/08     1,500,000,000.00             0.00                  0.00   41,364,953,298.54
 10/09/08     1,500,000,000.00             0.00                  0.00   42,864,953,298.54
 10/14/08     4,000,000,000.00             0.00                  0.00   46,864,953,298.54
 10/21/08     1,000,000,000.00             0.00                  0.00   47,864,953,298.54
 10/22/08     1,500,000,000.00             0.00                  0.00   49,364,953,298.54
 10/24/08                 0.00             0.00        500,000,000.00   48,864,953,298.54
 10/29/08                 0.00             0.00      1,518,233,156.03   47,346,720,142.51
 11/03/08       500,000,000.00             0.00                  0.00   47,846,720,142.51
 11/04/08                 0.00             0.00        750,000,000.00   47,096,720,142.51
 11/10/08       500,000,000.00             0.00                  0.00   47,596,720,142.51
 11/13/08       500,000,000.00             0.00                  0.00   48,096,720,142.51
 11/14/08       600,000,000.00             0.00                  0.00   48,696,720,142.51
 11/17/08       300,000,000.00             0.00                  0.00   48,996,720,142.51
 11/18/08     1,400,000,000.00             0.00                  0.00   50,396,720,142.51
 11/19/08       750,000,000.00             0.00                  0.00   51,146,720,142.51
 11/21/08     1,000,000,000.00             0.00                  0.00   52,146,720,142.51
 11/24/08       800,000,000.00             0.00                  0.00   52,946,720,142.51
 12/01/08       300,000,000.00             0.00                  0.00   53,246,720,142.51
 12/05/08       300,000,000.00             0.00                  0.00   53,546,720,142.51
 12/08/08       300,000,000.00             0.00                  0.00   53,846,720,142.51
 12/10/08       200,000,000.00             0.00                  0.00   54,046,720,142.51
 12/19/08                 0.00             0.00      1,800,000,000.00   52,246,720,142.51
 12/22/08       300,000,000.00             0.00                  0.00   52,546,720,142.51
 12/23/08                 0.00             0.00        800,000,000.00   51,746,720,142.51
 12/26/08                 0.00             0.00        500,000,000.00   51,246,720,142.51
 12/31/08                 0.00             0.00        250,000,000.00   50,996,720,142.51
 01/02/09       250,000,000.00             0.00                  0.00   51,246,720,142.51
 01/08/09                 0.00             0.00        300,000,000.00   50,946,720,142.51
 01/11/09       100,000,000.00             0.00                  0.00   51,046,720,142.51
 01/12/09       300,000,000.00             0.00                  0.00   51,346,720,142.51
 01/15/09                 0.00             0.00        600,000,000.00   50,746,720,142.51
 01/20/09       100,000,000.00             0.00                  0.00   50,846,720,142.51
 01/23/09       100,000,000.00             0.00                  0.00   50,946,720,142.51
 01/27/09       500,000,000.00             0.00                  0.00   51,446,720,142.51
 01/29/09       300,000,000.00             0.00                  0.00   51,746,720,142.51
 01/30/09       400,000,000.00             0.00                  0.00   52,146,720,142.51
 02/02/09       400,000,000.00             0.00                  0.00   52,546,720,142.51


                                      Page 1 of 10
            Case 23-50110-MFW     Doc 4    Filed 02/28/23   Page 115 of 173




              AMOUNT OF         CAPITALIZED       AMOUNT OF       UNPAID PRINCIPAL
DATE             LOAN            INTEREST      PRINCIPAL REPAID       BALANCE
 02/04/09                0.00             0.00     100,000,000.00   52,446,720,142.51
 02/05/09                0.00             0.00     300,000,000.00   52,146,720,142.51
 02/06/09                0.00             0.00     200,000,000.00   51,946,720,142.51
 02/09/09                0.00             0.00     200,000,000.00   51,746,720,142.51
 02/11/09                0.00             0.00     200,000,000.00   51,546,720,142.51
 02/17/09      200,000,000.00             0.00               0.00   51,746,720,142.51
 02/18/09                0.00             0.00     200,000,000.00   51,546,720,142.51
 02/19/09      100,000,000.00             0.00               0.00   51,646,720,142.51
 02/20/10      900,000,000.00             0.00               0.00   52,546,720,142.51
 02/26/09      900,000,000.00             0.00               0.00   53,446,720,142.51
 02/27/09      600,000,000.00             0.00               0.00   54,046,720,142.51
 03/02/09      300,000,000.00             0.00               0.00   54,346,720,142.51
 03/03/09                0.00             0.00     300,000,000.00   54,046,720,142.51
 03/04/09      500,000,000.00             0.00               0.00   54,546,720,142.51
 03/10/09      200,000,000.00             0.00               0.00   54,746,720,142.51
 03/17/09                0.00             0.00     300,000,000.00   54,446,720,142.51
 03/25/09                0.00             0.00     300,000,000.00   54,146,720,142.51
 03/26/09      100,000,000.00             0.00               0.00   54,246,720,142.51
 03/27/09      600,000,000.00             0.00               0.00   54,846,720,142.51
 03/31/09      500,000,000.00             0.00               0.00   55,346,720,142.51
 04/02/09      200,000,000.00             0.00               0.00   55,546,720,142.51
 04/06/09                0.00             0.00     100,000,000.00   55,446,720,142.51
 04/13/09      100,000,000.00             0.00               0.00   55,546,720,142.51
 04/15/09      600,000,000.00             0.00               0.00   56,146,720,142.51
 04/16/09                0.00             0.00     200,000,000.00   55,946,720,142.51
 04/19/09                0.00             0.00     200,000,000.00   55,746,720,142.51
 04/21/09      200,000,000.00             0.00               0.00   55,946,720,142.51
 04/24/09                0.00             0.00     300,000,000.00   55,646,720,142.51
 04/28/09                0.00             0.00     100,000,000.00   55,546,720,142.51
 04/29/09                0.00             0.00          26,119.71   55,546,694,022.80
 05/10/09      600,000,000.00             0.00               0.00   56,146,694,022.80
 05/12/09                0.00             0.00     400,000,000.00   55,746,694,022.80
 05/18/09                0.00             0.00     200,000,000.00   55,546,694,022.80
 05/19/09                0.00             0.00     100,000,000.00   55,446,694,022.80
 05/20/09                0.00             0.00     200,000,000.00   55,246,694,022.80
 05/22/09                0.00             0.00     200,000,000.00   55,046,694,022.80
 06/01/09                0.00             0.00     200,000,000.00   54,846,694,022.80
 06/02/09                0.00             0.00     500,000,000.00   54,346,694,022.80
 06/08/09      500,000,000.00             0.00               0.00   54,846,694,022.80
 06/09/09                0.00             0.00               0.00   54,846,694,022.80
 06/15/09                0.00             0.00     400,000,000.00   54,446,694,022.80
 06/16/09      100,000,000.00             0.00               0.00   54,546,694,022.80
 06/17/09                0.00             0.00     100,000,000.00   54,446,694,022.80
 06/18/09                0.00             0.00     100,000,000.00   54,346,694,022.80
 06/29/09      100,000,000.00             0.00               0.00   54,446,694,022.80
 06/30/09      400,000,000.00             0.00               0.00   54,846,694,022.80
 07/01/09      100,000,000.00             0.00               0.00   54,946,694,022.80
 07/02/09      300,000,000.00             0.00               0.00   55,246,694,022.80
 07/06/09                0.00             0.00     200,000,000.00   55,046,694,022.80


                                      Page 2 of 10
            Case 23-50110-MFW      Doc 4    Filed 02/28/23   Page 116 of 173




              AMOUNT OF          CAPITALIZED       AMOUNT OF       UNPAID PRINCIPAL
DATE              LOAN            INTEREST      PRINCIPAL REPAID       BALANCE
 07/08/09                 0.00             0.00     200,000,000.00   54,846,694,022.80
 07/09/09                 0.00             0.00     200,000,000.00   54,646,694,022.80
 07/13/09                 0.00             0.00     200,000,000.00   54,446,694,022.80
 07/14/09       100,000,000.00             0.00               0.00   54,546,694,022.80
 07/16/09                 0.00             0.00     100,000,000.00   54,446,694,022.80
 07/17/09       300,000,000.00             0.00               0.00   54,746,694,022.80
 07/23/09                 0.00             0.00     200,000,000.00   54,546,694,022.80
 07/24/09                 0.00             0.00     200,000,000.00   54,346,694,022.80
 08/03/09                 0.00             0.00     300,000,000.00   54,046,694,022.80
 08/04/09       200,000,000.00             0.00               0.00   54,246,694,022.80
 08/05/09                 0.00             0.00     200,000,000.00   54,046,694,022.80
 08/06/09                 0.00             0.00     100,000,000.00   53,946,694,022.80
 08/07/09                 0.00             0.00     100,000,000.00   53,846,694,022.80
 08/11/09                 0.00             0.00     100,000,000.00   53,746,694,022.80
 08/13/09       100,000,000.00             0.00               0.00   53,846,694,022.80
 08/14/09       200,000,000.00             0.00               0.00   54,046,694,022.80
 08/18/09       100,000,000.00             0.00               0.00   54,146,694,022.80
 08/19/09                 0.00             0.00     100,000,000.00   54,046,694,022.80
 08/20/09       100,000,000.00             0.00               0.00   54,146,694,022.80
 08/26/09                 0.00             0.00     100,000,000.00   54,046,694,022.80
 09/08/09       200,000,000.00             0.00               0.00   54,246,694,022.80
 09/09/09       100,000,000.00             0.00               0.00   54,346,694,022.80
 09/17/09                 0.00             0.00     100,000,000.00   54,246,694,022.80
 09/21/09       300,000,000.00             0.00               0.00   54,546,694,022.80
 09/22/09                 0.00             0.00     200,000,000.00   54,346,694,022.80
 09/23/09                 0.00             0.00     300,000,000.00   54,046,694,022.80
 09/24/09                 0.00             0.00     100,000,000.00   53,946,694,022.80
 09/25/09                 0.00             0.00     400,000,000.00   53,546,694,022.80
 09/28/09                 0.00             0.00     200,000,000.00   53,346,694,022.80
 10/05/09       400,000,000.00             0.00               0.00   53,746,694,022.80
 10/06/09       200,000,000.00             0.00               0.00   53,946,694,022.80
 10/14/09                 0.00             0.00     500,000,000.00   53,446,694,022.80
 10/16/09                 0.00             0.00     300,000,000.00   53,146,694,022.80
 10/19/09                 0.00             0.00     100,000,000.00   53,046,694,022.80
 10/20/09       300,000,000.00             0.00               0.00   53,346,694,022.80
 10/26/09     2,700,000,000.00             0.00               0.00   56,046,694,022.80
 10/28/09                 0.00             0.00     100,000,000.00   55,946,694,022.80
 11/06/09                 0.00             0.00     100,000,000.00   55,846,694,022.80
 11/09/09                 0.00             0.00     100,000,000.00   55,746,694,022.80
 11/10/09                 0.00             0.00     400,000,000.00   55,346,694,022.80
 11/12/09                 0.00             0.00     400,000,000.00   54,946,694,022.80
 11/19/09                 0.00             0.00     100,000,000.00   54,846,694,022.80
 11/20/09                 0.00             0.00     200,000,000.00   54,646,694,022.80
 11/24/09                 0.00             0.00     100,000,000.00   54,546,694,022.80
 11/25/09       100,000,000.00             0.00               0.00   54,646,694,022.80
 12/02/09        69,370,378.00             0.00               0.00   54,716,064,400.80
 12/03/09        69,319,889.00             0.00               0.00   54,785,384,289.80
 12/04/09        69,319,889.00             0.00               0.00   54,854,704,178.80
 12/07/09       400,000,000.00             0.00               0.00   55,254,704,178.80


                                       Page 3 of 10
            Case 23-50110-MFW      Doc 4    Filed 02/28/23   Page 117 of 173




              AMOUNT OF          CAPITALIZED       AMOUNT OF       UNPAID PRINCIPAL
DATE              LOAN            INTEREST      PRINCIPAL REPAID       BALANCE
 12/09/09        49,084,472.00             0.00               0.00   55,303,788,650.80
 12/10/09                 0.00             0.00     100,000,000.00   55,203,788,650.80
 12/11/09                 0.00             0.00     100,000,000.00   55,103,788,650.80
 12/14/09                 0.00             0.00     100,000,000.00   55,003,788,650.80
 12/15/09                 0.00             0.00     100,000,000.00   54,903,788,650.80
 12/16/09                 0.00             0.00     500,000,000.00   54,403,788,650.80
 12/17/09       400,000,000.00             0.00               0.00   54,803,788,650.80
 12/18/09                 0.00             0.00     300,000,000.00   54,503,788,650.80
 12/22/09                 0.00             0.00     400,000,000.00   54,103,788,650.80
 12/23/09       100,000,000.00             0.00               0.00   54,203,788,650.80
 12/29/09         1,354,273.00             0.00               0.00   54,205,142,923.80
 12/30/09       400,000,000.00             0.00               0.00   54,605,142,923.80
 01/11/10                 0.00             0.00     200,000,000.00   54,405,142,923.80
 01/19/10                 0.00             0.00     200,000,000.00   54,205,142,923.80
 01/25/10     1,400,000,000.00             0.00               0.00   55,605,142,923.80
 02/01/10       300,000,000.00             0.00               0.00   55,905,142,923.80
 02/03/10                 0.00             0.00     200,000,000.00   55,705,142,923.80
 02/04/10                 0.00             0.00     100,000,000.00   55,605,142,923.80
 02/08/10                 0.00             0.00     400,000,000.00   55,205,142,923.80
 02/10/10                 0.00             0.00     100,000,000.00   55,105,142,923.80
 02/12/10       200,000,000.00             0.00               0.00   55,305,142,923.80
 02/17/10       200,000,000.00             0.00               0.00   55,505,142,923.80
 02/18/10       100,000,000.00             0.00               0.00   55,605,142,923.80
 02/19/10       300,000,000.00             0.00               0.00   55,905,142,923.80
 02/23/10                 0.00             0.00     100,000,000.00   55,805,142,923.80
 03/05/10       200,000,000.00             0.00               0.00   56,005,142,923.80
 03/09/10       100,000,000.00             0.00               0.00   56,105,142,923.80
 03/11/10       100,000,000.00             0.00               0.00   56,205,142,923.80
 03/15/10                 0.00             0.00     100,000,000.00   56,105,142,923.80
 03/23/10                 0.00             0.00     100,000,000.00   56,005,142,923.80
 03/25/10                 0.00             0.00     400,000,000.00   55,605,142,923.80
 03/26/10                 0.00             0.00     200,000,000.00   55,405,142,923.80
 03/31/10                 0.00             0.00     100,000,000.00   55,305,142,923.80
 04/07/10                 0.00             0.00     100,000,000.00   55,205,142,923.80
 04/08/10       100,000,000.00             0.00               0.00   55,305,142,923.80
 04/14/10                 0.00             0.00     200,000,000.00   55,105,142,923.80
 04/20/10                 0.00             0.00     100,000,000.00   55,005,142,923.80
 04/26/10     2,300,000,000.00             0.00               0.00   57,305,142,923.80
 04/27/10                 0.00             0.00     500,000,000.00   56,805,142,923.80
 04/29/10                 0.00             0.00     100,000,000.00   56,705,142,923.80
 04/30/10       200,000,000.00             0.00               0.00   56,905,142,923.80
 05/07/10                 0.00             0.00     250,000,000.00   56,655,142,923.80
 05/10/10                 0.00             0.00     150,000,000.00   56,505,142,923.80
 05/12/10       100,000,000.00             0.00               0.00   56,605,142,923.80
 05/14/10                 0.00             0.00     200,000,000.00   56,405,142,923.80
 05/18/10       100,000,000.00             0.00               0.00   56,505,142,923.80
 05/20/10                 0.00             0.00     100,000,000.00   56,405,142,923.80


                                       Page 4 of 10
            Case 23-50110-MFW     Doc 4    Filed 02/28/23   Page 118 of 173




              AMOUNT OF         CAPITALIZED       AMOUNT OF       UNPAID PRINCIPAL
DATE             LOAN            INTEREST      PRINCIPAL REPAID       BALANCE
 05/21/10                0.00             0.00     200,000,000.00   56,205,142,923.80
 05/28/10      250,000,000.00             0.00               0.00   56,455,142,923.80
 06/02/10      150,000,000.00             0.00               0.00   56,605,142,923.80
 06/04/10      150,000,000.00             0.00               0.00   56,755,142,923.80
 06/07/10                0.00             0.00     100,000,000.00   56,655,142,923.80
 06/09/10                0.00             0.00     150,000,000.00   56,505,142,923.80
 06/10/10                0.00             0.00     100,000,000.00   56,405,142,923.80
 06/13/10                0.00             0.00     200,000,000.00   56,205,142,923.80
 06/14/10                0.00             0.00     100,000,000.00   56,105,142,923.80
 06/15/10                0.00             0.00     100,000,000.00   56,005,142,923.80
 06/17/10      100,000,000.00             0.00               0.00   56,105,142,923.80
 06/25/10                0.00             0.00     200,000,000.00   55,905,142,923.80
 06/28/10                0.00             0.00     100,000,000.00   55,805,142,923.80
 06/30/10      150,000,000.00             0.00               0.00   55,955,142,923.80
 07/01/10      100,000,000.00             0.00               0.00   56,055,142,923.80
 07/06/10                0.00             0.00     150,000,000.00   55,905,142,923.80
 07/07/10      100,000,000.00             0.00               0.00   56,005,142,923.80
 07/09/10                0.00             0.00      50,000,000.00   55,955,142,923.80
 07/14/10      100,000,000.00             0.00               0.00   56,055,142,923.80
 07/21/10                0.00             0.00     100,000,000.00   55,955,142,923.80
 07/26/10                0.00             0.00     200,000,000.00   55,755,142,923.80
 07/30/10      200,000,000.00             0.00               0.00   55,955,142,923.80
 08/03/10      100,000,000.00             0.00               0.00   56,055,142,923.80
 08/09/10                0.00             0.00     200,000,000.00   55,855,142,923.80
 08/10/10                0.00             0.00     100,000,000.00   55,755,142,923.80
 08/11/10                0.00             0.00     100,000,000.00   55,655,142,923.80
 08/17/10                0.00             0.00     100,000,000.00   55,555,142,923.80
 08/24/10                0.00             0.00     250,000,000.00   55,305,142,923.80
 08/25/10      100,000,000.00             0.00               0.00   55,405,142,923.80
 08/27/10      200,000,000.00             0.00               0.00   55,605,142,923.80
 08/31/10      250,000,000.00             0.00               0.00   55,855,142,923.80
 09/07/10                0.00             0.00     200,000,000.00   55,655,142,923.80
 09/10/10                0.00             0.00     100,000,000.00   55,555,142,923.80
 09/13/10      100,000,000.00             0.00               0.00   55,655,142,923.80
 09/20/10      100,000,000.00             0.00               0.00   55,755,142,923.80
 09/21/10                0.00             0.00     100,000,000.00   55,655,142,923.80
 09/22/10                0.00             0.00     100,000,000.00   55,555,142,923.80
 09/23/10                0.00             0.00     100,000,000.00   55,455,142,923.80
 10/12/10      100,000,000.00             0.00               0.00   55,555,142,923.80
 10/13/10      200,000,000.00             0.00               0.00   55,755,142,923.80
 10/15/10                0.00             0.00     300,000,000.00   55,455,142,923.80
 10/18/10                0.00             0.00     100,000,000.00   55,355,142,923.80
 10/20/10                0.00             0.00     100,000,000.00   55,255,142,923.80
 10/21/10                0.00             0.00     100,000,000.00   55,155,142,923.80
 10/27/10                0.00             0.00     100,000,000.00   55,055,142,923.80
 10/29/10      200,000,000.00             0.00               0.00   55,255,142,923.80



                                      Page 5 of 10
            Case 23-50110-MFW      Doc 4   Filed 02/28/23   Page 119 of 173




              AMOUNT OF         CAPITALIZED       AMOUNT OF        UNPAID PRINCIPAL
DATE             LOAN            INTEREST      PRINCIPAL REPAID        BALANCE
 11/02/10      100,000,000.00             0.00                0.00   55,355,142,923.80
 11/03/10      250,000,000.00             0.00                0.00   55,605,142,923.80
 11/08/10      100,000,000.00             0.00                0.00   55,705,142,923.80
 11/15/10      100,000,000.00             0.00                0.00   55,805,142,923.80
 11/17/10                0.00             0.00      200,000,000.00   55,605,142,923.80
 12/01/10                0.00             0.00      100,000,000.00   55,505,142,923.80
 12/03/10                0.00             0.00      400,000,000.00   55,105,142,923.80
 12/06/10                0.00             0.00      200,000,000.00   54,905,142,923.80
 12/08/10      200,000,000.00             0.00                0.00   55,105,142,923.80
 12/10/10                0.00             0.00      500,000,000.00   54,605,142,923.80
 12/13/10      500,000,000.00             0.00                0.00   55,105,142,923.80
 12/14/10      200,000,000.00             0.00                0.00   55,305,142,923.80
 12/15/10      200,000,000.00             0.00                0.00   55,505,142,923.80
 12/17/10                0.00             0.00      100,000,000.00   55,405,142,923.80
 12/22/10                0.00             0.00    1,500,000,000.00   53,905,142,923.80
 12/23/10                0.00             0.00      400,000,000.00   53,505,142,923.80
 12/29/10                0.00             0.00      100,000,000.00   53,405,142,923.80
 01/25/11                0.00             0.00      100,000,000.00   53,305,142,923.80
 01/26/11      300,000,000.00             0.00                0.00   53,605,142,923.80
 01/27/11                0.00             0.00      100,000,000.00   53,505,142,923.80
 02/01/11       50,000,000.00             0.00                0.00   53,555,142,923.80
 02/03/11                0.00             0.00      150,000,000.00   53,405,142,923.80
 02/08/11                0.00             0.00      100,000,000.00   53,305,142,923.80
 02/18/00                0.00             0.00      100,000,000.00   53,205,142,923.80
 02/22/11       50,000,000.00             0.00                0.00   53,255,142,923.80
 02/23/11      100,000,000.00             0.00                0.00   53,355,142,923.80
 02/25/11       50,000,000.00             0.00                0.00   53,405,142,923.80
 03/02/11      100,000,000.00             0.00                0.00   53,505,142,923.80
 03/09/11      100,000,000.00             0.00                0.00   53,605,142,923.80
 03/11/11                0.00             0.00      100,000,000.00   53,505,142,923.80
 03/15/11                0.00             0.00   18,284,768,330.00   35,220,374,593.80
 03/24/11                0.00             0.00      150,000,000.00   35,070,374,593.80
 04/06/11      100,000,000.00             0.00                0.00   35,170,374,593.80
 04/08/11                0.00             0.00      100,000,000.00   35,070,374,593.80
 04/15/11      150,000,000.00             0.00                0.00   35,220,374,593.80
 04/18/11      400,000,000.00             0.00                0.00   35,620,374,593.80
 04/28/11      150,000,000.00             0.00                0.00   35,770,374,593.80
 04/29/11                0.00             0.00          173,771.61   35,770,200,822.19
 05/12/11      100,000,000.00             0.00                0.00   35,870,200,822.19
 05/13/11      100,000,000.00             0.00                0.00   35,970,200,822.19
 05/16/11      500,000,000.00             0.00                0.00   36,470,200,822.19
 05/17/11      500,000,000.00             0.00                0.00   36,970,200,822.19
 05/19/11      200,000,000.00             0.00                0.00   37,170,200,822.19
 05/23/11                0.00             0.00      600,000,000.00   36,570,200,822.19
 05/24/11                0.00             0.00      300,000,000.00   36,270,200,822.19
 05/25/11                0.00             0.00      500,000,000.00   35,770,200,822.19
 05/27/11      100,000,000.00             0.00                0.00   35,870,200,822.19
 05/31/11                0.00             0.00            9,333.68   35,870,191,488.51
 06/01/11      100,000,000.00             0.00                0.00   35,970,191,488.51


                                      Page 6 of 10
            Case 23-50110-MFW       Doc 4    Filed 02/28/23    Page 120 of 173




              AMOUNT OF          CAPITALIZED          AMOUNT OF        UNPAID PRINCIPAL
DATE              LOAN            INTEREST         PRINCIPAL REPAID        BALANCE
 06/06/11       250,000,000.00                0.00                0.00   36,220,191,488.51
 06/10/11                 0.00                0.00      100,000,000.00   36,120,191,488.51
 06/14/11                 0.00                0.00       50,000,000.00   36,070,191,488.51
 06/20/11                 0.00                0.00      100,000,000.00   35,970,191,488.51
 06/22/11       100,000,000.00                0.00                0.00   36,070,191,488.51
 06/29/11       150,000,000.00                0.00                0.00   36,220,191,488.51
 06/30/11                 0.00      29,155,488.05                 0.00   36,249,346,976.56
 07/31/11                 0.00      30,471,805.26                 0.00   36,279,818,781.82
 08/01/11                 0.00                0.00        3,113,553.76   36,276,705,228.06
 08/31/11                 0.00      32,331,613.64                 0.00   36,309,036,841.70
 09/30/11                 0.00      32,384,635.16                 0.00   36,341,421,476.86
 10/31/11                 0.00      33,572,205.16                 0.00   36,374,993,682.02
 11/30/11                 0.00      32,828,431.80                 0.00   36,407,822,113.82
 12/31/11                 0.00      34,683,810.60                 0.00   36,442,505,924.42
 01/31/12                 0.00      34,770,199.85                 0.00   36,477,276,124.27
 02/29/12                 0.00      30,365,913.88                 0.00   36,507,642,038.15
 03/30/12         3,113,553.76                0.00                0.00   36,510,755,591.91
 03/31/12                 0.00      31,380,722.11                 0.00   36,542,136,314.02
 04/30/12                 0.00      29,943,235.50                 0.00   36,572,079,549.52
 05/31/12                 0.00      30,998,189.91                 0.00   36,603,077,739.43
 06/30/12                 0.00      30,173,137.15                 0.00   36,633,250,876.58
 07/31/12                 0.00      31,245,618.93                 0.00   36,664,496,495.51
 08/31/12                 0.00      31,032,320.60                 0.00   36,695,528,816.11
 09/30/12                 0.00      29,689,740.85                 0.00   36,725,218,556.96
 10/31/12                 0.00      30,504,986.73                 0.00   36,755,723,543.69
 11/30/12                 0.00      29,212,661.43     1,000,000,000.00   35,784,936,205.12
 12/17/12     1,000,000,000.00                0.00                0.00   36,784,936,205.12
 12/31/12                 0.00      30,060,292.58                 0.00   36,814,996,497.70
 01/31/13                 0.00      30,338,624.96                 0.00   36,845,335,122.66
 02/28/13                 0.00      27,241,803.16                 0.00   36,872,576,925.82
 03/31/13                 0.00      30,236,844.53                 0.00   36,902,813,770.35
 04/30/13                 0.00      29,196,276.26                 0.00   36,932,010,046.61
 05/31/13                 0.00      30,050,242.81                 0.00   36,962,060,289.42
 06/30/13                 0.00      28,916,651.75                 0.00   36,990,976,941.17
 07/31/13                 0.00      29,786,059.49                 0.00   37,020,763,000.66
 08/31/13                 0.00      29,574,139.44                 0.00   37,050,337,140.10
 09/30/13                 0.00      28,519,497.00                 0.00   37,078,856,637.10
 10/31/13                 0.00      29,215,049.14                 0.00   37,108,071,686.24
 11/30/13                 0.00      28,161,934.15                 0.00   37,136,233,620.39
 12/23/13                 0.00                0.00       76,602,072.25   37,059,631,548.14
 12/26/13                 0.00                0.00          831,365.51   37,058,800,182.63
 12/31/13                 0.00      29,076,420.41                 0.00   37,087,876,603.04
 01/23/14                 0.00                0.00       20,310,790.83   37,067,565,812.21
 01/24/14                 0.00                0.00        3,451,115.65   37,064,114,696.56
 01/31/14                 0.00      28,836,438.06       270,140,860.47   36,822,810,274.15
 02/28/14                 0.00       25,793,151.16                0.00   36,848,603,425.31
 03/31/14                 0.00      28,564,013.80                 0.00   36,877,167,439.11
 04/30/14                 0.00      26,545,414.46                 0.00   36,903,712,853.57
 05/31/14                 0.00      28,527,287.53                 0.00   36,932,240,141.10


                                       Page 7 of 10
            Case 23-50110-MFW      Doc 4    Filed 02/28/23   Page 121 of 173




              AMOUNT OF         CAPITALIZED         AMOUNT OF        UNPAID PRINCIPAL
DATE             LOAN            INTEREST        PRINCIPAL REPAID        BALANCE
 06/30/14                0.00      26,726,631.04                0.00   36,958,966,772.14
 07/31/14                0.00      28,636,834.08                0.00   36,987,603,606.22
 08/31/14                0.00      28,792,794.47                0.00   37,016,396,400.69
 09/30/14                0.00      27,801,909.10    1,004,332,638.27   36,039,865,671.52
 10/27/14                0.00               0.00      499,226,196.26   35,540,639,475.26
 10/31/14                0.00      27,927,326.16                0.00   35,568,566,801.42
 11/30/14                0.00      26,836,483.75                0.00   35,595,403,285.17
 12/24/15                0.00               0.00    1,000,000,000.00   34,595,403,285.17
 12/31/14                0.00      28,024,755.41                0.00   34,623,428,040.58
 01/31/15                0.00      27,377,475.24                0.00   34,650,805,515.82
 02/28/15                0.00      24,756,751.20                0.00   34,675,562,267.02
 03/31/15                0.00      27,535,201.66                0.00   34,703,097,468.68
 04/01/15                0.00      26,689,552.99                0.00   34,729,787,021.67
 05/31/15                0.00      27,630,281.00                0.00   34,757,417,302.67
 06/30/15                0.00      11,519,847.54                0.00   34,768,937,150.21
 07/31/15                0.00      11,998,540.93                0.00   34,780,935,691.14
 08/31/15                0.00      12,232,110.43                0.00   34,793,167,801.57
 09/30/15                0.00      11,740,159.04                0.00   34,804,907,960.61
 10/31/15                0.00      11,972,067.18                0.00   34,816,880,027.79
 11/30/15                0.00      12,879,153.11                0.00   34,829,759,180.90
 12/31/15                0.00      19,110,794.15                0.00   34,848,869,975.05
 01/31/16                0.00      18,791,478.71                0.00   34,867,661,453.76
 02/19/16                0.00               0.00      850,000,000.00   34,017,661,453.76
 02/29/16                0.00      17,768,252.18                0.00   34,035,429,705.94
 03/31/16                0.00      18,549,214.65                0.00   34,053,978,920.59
 04/30/16                0.00      18,128,068.11                0.00   34,072,106,988.70
 05/31/16                0.00      19,266,025.57                0.00   34,091,373,014.27
 06/30/16                0.00      18,758,778.01                0.00   34,110,131,792.28
 07/31/16                0.00      20,381,656.50                0.00   34,130,513,448.78
 08/31/16                0.00      21,289,941.16                0.00   34,151,803,389.94
 09/30/16                0.00      20,615,736.12                0.00   34,172,419,126.06
 10/31/16                0.00      21,608,578.02                0.00   34,194,027,704.08
 11/30/16                0.00      22,955,875.55                0.00   34,216,983,579.63
 12/20/16                0.00               0.00      500,000,000.00   33,716,983,579.63
 12/31/16                0.00      28,467,946.93                0.00   33,745,451,526.56
 01/31/17                0.00     28,428,883.76                 0.00   33,773,880,410.32
 02/28/17                0.00      25,757,912.58                0.00   33,799,638,322.90
 03/31/17                0.00      34,408,801.69                0.00   33,834,047,124.59
 04/30/17                0.00      33,693,071.93                0.00   33,867,740,196.52
 05/31/17                0.00      36,299,415.72                0.00   33,904,039,612.24
 06/08/17                0.00               0.00      350,000,000.00   33,554,039,612.24
 06/30/17                0.00      39,973,514.23                0.00   33,594,013,126.48
 07/31/17      311,865,994.00      41,492,246.82                0.00   33,947,371,367.30
 08/31/17                0.00      41,916,130.17                0.00   33,989,287,497.47
 09/30/17                0.00      40,645,522.97                0.00   34,029,933,020.44
 10/31/17                0.00      42,265,394.23                0.00   34,072,198,414.66
 11/30/17                0.00      44,003,676.38                0.00   34,116,202,091.05
 12/19/17                0.00               0.00       98,000,000.00   34,018,202,091.05
 12/31/17                0.00      51,870,119.17                0.00   34,070,072,210.22


                                      Page 8 of 10
            Case 23-50110-MFW       Doc 4   Filed 02/28/23    Page 122 of 173




              AMOUNT OF          CAPITALIZED         AMOUNT OF       UNPAID PRINCIPAL
DATE              LOAN            INTEREST        PRINCIPAL REPAID       BALANCE
 01/01/18                 0.00      52,029,684.90               0.00   34,122,101,895.12
 02/28/18                 0.00      49,044,834.46               0.00   34,171,146,729.58
 03/13/18                 0.00               0.00     415,000,000.00   33,756,146,729.58
 03/31/18                 0.00      60,840,157.99               0.00   33,816,986,887.56
 04/30/18                 0.00      59,377,274.62               0.00   33,876,364,162.18
 05/31/18                 0.00      63,602,506.72               0.00   33,939,966,668.90
 06/30/18                 0.00      64,829,013.17               0.00   34,004,795,682.07
 07/31/18                 0.00      66,667,582.66               0.00   34,071,463,264.73
 08/10/18                 0.00               0.00     456,000,000.00   33,615,463,264.73
 08/31/18                 0.00      66,138,549.67               0.00   33,681,601,814.40
 09/30/18                 0.00      68,547,392.61               0.00   33,750,149,207.01
 10/31/18                 0.00      72,714,696.47               0.00   33,822,863,903.48
 11/30/18                 0.00      71,852,446.51               0.00   33,894,716,349.98
 12/31/18                 0.00      79,385,455.40               0.00   33,974,101,805.38
 01/31/19                 0.00      78,957,020.56               0.00   34,053,058,825.95
 02/28/19                 0.00      71,226,702.13               0.00   34,124,285,528.07
 03/31/19                 0.00      79,383,041.06               0.00   34,203,668,569.13
 04/15/19                 0.00               0.00     165,000,000.00   34,038,668,569.13
 04/22/19                 0.00               0.00     125,000,000.00   33,913,668,569.13
 04/29/19                 0.00               0.00     147,000,000.00   33,766,668,569.13
 04/30/19                 0.00      76,174,884.80               0.00   33,842,843,453.93
 05/06/19                 0.00               0.00     114,000,000.00   33,728,843,453.93
 05/17/19                 0.00               0.00      25,000,000.00   33,703,843,453.93
 05/31/19                 0.00      76,647,629.57               0.00   33,780,491,083.50
 06/30/19                 0.00     73,258,061.99                0.00   33,853,749,145.49
 07/31/19                 0.00      70,966,655.14               0.00   33,924,715,800.63
 08/31/19                 0.00      67,540,339.75               0.00   33,992,256,140.38
 09/30/19                 0.00      63,211,432.98               0.00   34,055,467,573.36
 10/31/19                 0.00      58,237,006.91               0.00   34,113,704,580.27
 11/30/19                 0.00      54,255,004.33               0.00   34,167,959,584.60
 12/31/19                 0.00      58,826,577.39               0.00   34,226,786,161.99
 01/31/20                 0.00      54,385,174.78               0.00   34,281,171,336.77
 02/29/20                 0.00      49,801,038.45               0.00   34,330,972,375.22
 03/31/20                 0.00      35,161,381.38               0.00   34,366,133,756.60
 04/30/20                 0.00      17,287,024.43               0.00   34,383,420,781.03
 05/31/20                 0.00      11,032,808.08               0.00   34,394,453,589.11
 06/11/20     1,919,704,373.00               0.00               0.00   36,314,157,962.11
 06/30/20                 0.00      11,244,822.80               0.00   36,325,402,784.91
 07/31/20                 0.00      11,296,221.50               0.00   36,336,699,006.41
 08/31/20                 0.00      11,111,994.71               0.00   36,347,811,001.12
 09/30/20                 0.00      10,499,368.11               0.00   36,358,310,369.22
 10/31/20                 0.00     10,930,752.33                0.00   36,369,241,121.55
 11/30/20                 0.00      10,509,195.30               0.00   36,379,750,316.85
 12/31/20                 0.00      10,862,639.75               0.00   36,390,612,956.61
 01/31/21                 0.00     10,051,137.84                0.00   36,400,664,094.45
 02/28/21                 0.00       8,904,006.89               0.00   36,409,568,101.34
 03/22/21                 0.00               0.00     106,260,740.00   36,303,307,361.34
 03/31/21                 0.00       9,663,196.95               0.00   36,312,970,558.29
 04/30/21                 0.00      9,479,198.36                0.00   36,322,449,756.64


                                       Page 9 of 10
            Case 23-50110-MFW      Doc 4    Filed 02/28/23   Page 123 of 173




              AMOUNT OF         CAPITALIZED         AMOUNT OF       UNPAID PRINCIPAL
DATE             LOAN            INTEREST        PRINCIPAL REPAID       BALANCE
 05/25/21      600,444,846.00               0.00               0.00   36,922,894,602.64
 05/31/21                0.00       9,171,251.40               0.00   36,932,065,854.04
 06/30/21                0.00      9,363,817.53                0.00   36,941,429,671.57
 07/31/21                0.00       9,288,717.26               0.00   36,950,718,388.83
 08/31/21                0.00       9,100,140.81               0.00   36,959,818,529.64
 09/30/21                0.00       8,751,161.03               0.00   36,968,569,690.67
 10/31/21                0.00       9,116,634.13               0.00   36,977,686,324.80
 11/30/21                0.00       8,947,983.79               0.00   36,986,634,308.59
 12/31/21                0.00       9,690,241.34               0.00   36,996,324,549.93
 01/31/22                0.00       9,716,673.57               0.00   37,006,041,223.51
 02/28/22                0.00      11,759,656.43               0.00   37,017,800,879.93
 03/31/22                0.00      20,956,527.72               0.00   37,038,757,407.65
 04/30/22                0.00      29,745,517.42               0.00   37,068,502,925.07
 05/31/22                0.00      40,273,909.05               0.00   37,108,776,834.11
 06/30/22                0.00      57,708,477.34               0.00   37,166,485,311.45
 07/31/22                0.00      82,324,787.04               0.00   37,248,810,098.49
 08/31/22                0.00      88,656,306.79               0.00   37,337,466,405.29
 09/30/22                0.00     103,153,774.17               0.00   37,440,620,179.46
 10/31/22                0.00     127,474,557.94               0.00   37,568,094,737.40
 11/30/22                0.00     133,724,572.42               0.00   37,701,819,309.82
 12/14/22                0.00      60,860,968.22     126,877,725.25   37,635,802,552.79




                                      Page 10 of 10
                      Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 124 of 173




                                              Exhibit G

                              Compensation Plan Restoration Lapse Letter




30132276.1

         US-DOCS\139579253
              Case 23-50110-MFW                   Doc 4   Filed 02/28/23   Page 125 of 173




  AIG Financial Products Corp.
   50 Danbury Road, Wilton, CT 06897-4444
   (203) 222-4700 (800) 248-SWAP
   Fax: (203) 222-4780 Telex 910-2409432 AIGFPC




   CONFIDENTIAL

   To:       DCP/SIP Participant

   Date: July31,2014

   Re:       Account Statements, 2007 Special Incentive Plan and
             Deferred Compensation Plan

   Enclosed herewith is the final statement of your account balance in the 2007 Special
   Incentive Plan ("SIP") and the Deferred Compensation Plan ("DCP") as of January 1,
   2014.

   As explained in previous correspondence, your DCP and SIP accounts carry a negative
   balance based on losses sustained by AIGFP and taken into account pursuant to Section
   4.0l(b) of the DCP and the SIP. As noted previously, the negative balances do not create
   any obligation on your part to pay any amount to AIGFP. Moreover, while Section
   4.0 l (b) provides for the restoration of losses after providing for the satisfaction of all
   other creditors, no restoration has been possible given the magnitude of losses sustained
   by AIGFP. Pursuant to amended Section 4.0l(b), this restoration obligation lapsed as of
   December 31, 2013 for all U.S. taxpayers and there is no further liability to such
   participants under the DCP and SIP Plans. Accordingly, the Company will no longer
   issue DCP and SIP account statements to participants who are US taxpayers.




TO: DCP/SIP Participants
The enclosed memo was to accompany your DCP and SIP statements that you received in July of
this year.
                      Case 23-50110-MFW        Doc 4   Filed 02/28/23   Page 126 of 173




                                                   Exhibit H

                             Complaint in Connecticut Litigation (Without Exhibits)




30132276.1

         US-DOCS\139579253
             Case 23-50110-MFW           Doc 4     Filed 02/28/23     Page 127 of 173



RETURN DATE: DECEMBER 31, 2019

D.N.

LEE ARTHURS; DAVID ACKERT; MITCHELL BELL; ERIK                            SUPERIOR COURT
BENGTSON; PAUL BRADSHAW; THOMAS BUTTKE; JOHN
CAPPETTA; DAVID CHANG; ROBERT CHANG; JASON                                J.D. OF FAIRFIELD
DESANTIS; RICHARD FABBRO; KENNETH FARRAR;
JONATHAN FRAADE; CARL GIESLER JR.; JAMES HAAS;                            AT BRIDGEPORT
CHARLES HSIEH; THOMAS KALB; THOMAS KUSHNER;
ROBERT LEARY; JONATHAN LIEBERGALL; NATHANIEL
LITWAK; BRENDAN LYNCH; ALFRED MEDIOLI;
MATTHEW MIHALY; JOANN PALAZZO; EUGENE PARK;
ANDREW PARTNER; CARL PETERSON; STEVEN PIKE;
THOMAS PLAGEMANN; ROBERT POWELL; DANIEL
RAAB; ANN REED; PAUL SCHREINER; DMITRY
SATANOVSKY; MARY HEATHER SINGER; KEITH STEIN;
FRANK STROHM; TIMOTHY SULLIVAN JR.; CHRIS TOFT;
JOE TOM; RYAN VETTER; STEVEN WAGAR; THOMAS
WARD; MARTIN WAYNE; JAMES WOLF,

 V.


AIG FINANCIAL PRODUCTS CORP.                                              DECEMBER 6, 2019


                                          COMPLAINT

COUNT ONE: BREACH OF THE DCP

       1. The plaintiffs—46 former employees ofAIG Financial Products Corp. ("AIG FP"),

a wholly-owned subsidiary of American International Group, Inc. ("AIG")—bring this action to

recover millions of dollars in damages caused by AIG FP's breaches of contract and violations of

Connecticut labor law.

       2. The events that give rise to this action are described in detail below. In short, while

working for AIG FP before and during the 2008 financial crisis, the plaintiffs participated in certain

bonus compensation plans with AIG FP that required them to defer significant portions of their

bonus and other compensation. Those plans were: the Deferred Compensation Plan ("DCP"), the

Special Incentive Plan ("SIP"), and the Employee Retention Plan ("ERP" and collectively, the
             Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 128 of 173



"Plans"). Each of the plaintiffs was a Participant in the DCP, and many were also Covered

Executives pursuant to the SIP.

       3. Pursuant to the Plans, the plaintiffs' deferred compensation was credited to

Deferred Compensation Accounts ("DCAs") established by the DCP, or SIP accounts established

by the SIP ("SIP Accounts"). The DCAs and SIP Accounts were created in each of the plaintiffs'

names and maintained on AIG FP's books.

       4. The stated purposes of the Plans were (i) to incentivize performance by top

employees, (ii) to provide employees with equity in AIG FP so that their interests would be aligned

with those ofAIG FP's shareholders, and (iii) to encourage retention.

       5. According to the Plans, AIG FP was to make installment payments with interest on

the plaintiffs' DCA and SIP Account balances. AIG FP was also permitted to use the money in

the plaintiffs' DCAs and SIP Accounts as capital to fund its business, so long as it later restored

and paid the money it took from the plaintiffs' accounts.

       6. In addition to the compensation the plaintiffs were required to defer into their DCAs

and SIP Accounts, AIG FP repeatedly implored the plaintiffs to voluntarily defer more money into

the accounts, and assured them that they were making a good investment in their employer's

business.

       7. In or around 2007 through early 2009, AIG and AIG FP were reportedly at the brink

of insolvency and needed to increase their liquidity.

       8. Around the same time, AIG FP credited its losses against the plaintiffs' DCAs and

SIP Account balances—which resulted in the fiction that the DCA and SIP Account balances were

negative—so as to avoid paying the plaintiffs their deferred compensation and bonuses.




                                                2
             Case 23-50110-MFW           Doc 4    Filed 02/28/23     Page 129 of 173



       9. Thereafter, AIG FP stopped making installment payments to the plaintiffs on the

purported basis that the DCA and SIP Account balances were negative.

       10. At the same time, AIG FP assured its employees that it would restore the DCA and

SIP Account balances (as AIG FP was contractually obligated to do by the Plans), and pay the

plaintiffs the money they were owed.

       11. With these assurances in place, AIG FP continued to require employees to defer

compensation into their DCAs and SIP Accounts and to encourage them to defer even more

compensation into these accounts voluntarily. Thus, despite the fictionally negative balances in

their accounts, and in the midst of the financial crisis, the plaintiffs were required to continue to

defer their compensation into their DCA and SIP Accounts with the understanding that AIG FP

would eventually pay them back.

        12. Upon information and belief, after the 2008 financial crisis, AIG returned to

profitability in July 2011 and repaid all debts owed to the U.S. Government by December 2012 so

that the Government realized a profit of over $20 billion.

       13. Pursuant to the DCP and SIP, AIG FP was required to restore the plaintiffs' DCA

and SIP Account balances to their full amounts. In particular, AIG FP had until the end of 2013

to restore and pay the amounts AIG FP took from the DCA and SIP accounts, plus interest.

        14. However, in breach of its obligations, in a letter dated July 31, 2014, AIG FP

informed the plaintiffs that it would not restore or pay their DCA or SIP Account balances.

        15. Upon information and belief, in 2019, AIG was ranked 66 in the Fortune 500 list.

Today, AIG's profits are in the billions of dollars, and it continues to operate globally in the

financial and insurance industries.




                                                 3
              Case 23-50110-MFW           Doc 4     Filed 02/28/23   Page 130 of 173



        16. Today, AIG FP also continues to operate as a going concern and a wholly-owned

subsidiary ofAIG.

        17. Pursuant to a guarantee agreement (the "General Guarantee Agreement") between

AIG and AIG FP, AIG is required to pay the obligations ofAIG FP, which means that AIG FP has

remained solvent throughout this time.

        18. Despite its return to profitability, repayment of its government obligations, its

continuation as a solvent business, and its legal obligations under the Plans, AIG FP did not adopt

a repayment plan to restore the deferred conipensation it owed to the plaintiffs.

        19. As a result of, among other things, AIG FP's failure to (i) restore and pay the DCA

and SIP Account balances by the end of 2013, or (ii) adopt a restoration plan when it was able to

do so to return the money it owes to the plaintiffs, the plaintiffs have been damaged in excess of

$185 million.


I. THE PARTIES:

The Plaintiffs:

       20. Many of the plaintiffs currently reside in Connecticut, and the subject matter of this

action is the same with respect to all of the plaintiffs.

       21. Plaintiff Lee Arthurs is a resident of New York, New York. Mr. Arthurs was

employed by AIG FP from August of 1988 to January of 2006.

       22. Plaintiff David Ackert is a resident of Nevada. Mr. Ackert was employed by AIG

FP from March of 1994 to February of 2007.

        23. Plaintiff Mitchell Bell is a resident of Connecticut. Mr. Bell was employed by AIG

FP from March of 1998 to August of 2011.




                                                   4
            Case 23-50110-MFW        Doc 4    Filed 02/28/23    Page 131 of 173



       24. Plaintiff Erik Bengtson is a resident of New York. Mr. Bengtson was employed by

AIG FP from June of 1994 to June of 2009.

       25. Plaintiff Paul Bradshaw is a resident ofWestport, Connecticut. Mr. Bradshaw was

employed by AIG FP from February of 1996 to September of 2010.

       26. Plaintiff Thomas Buttke is a resident of Weston, Connecticut. Mr. Buttke was

employed by AIG FP from August of 1997 to July of 2009.

       27. Plaintiff John Cappetta is a resident of La Jolla, California. Mr. Cappetta was

employed by AIG FP from October of 1992 to February of 2006.

       28. Plaintiff David Chang is a resident of Connecticut. Mr. Chang was employed by

AIG FP from May of 2001 to November of 2015.

       29. Plaintiff Robert Chang is a resident of Greenwich, Connecticut. Mr. Chang was

employed by AIG FP from March of 1995 to December of 2015.

       30. Plaintiff Jason DeSantis is a resident ofRedding, Coimecticut. Mr. DeSantis was

employed by AIG FP from June of 1998 to May of 2009.

       31. Plaintiff Richard Fabbro is a resident of Scarsdale, New York. Mr. Fabbro was

employed by AIG FP from March of 1994 to February of 2010.

       32. Plaintiff Kenneth Farrar is a resident of Norwalk, Connecticut. Mr. Farrar was

employed by AIG FP from April of 2003 to October of 2008.

       33. Plaintiff Jonathan Fraade is a resident of Connecticut. Mr. Fraade was employed by

AIG FP from April of 1996 to May of 2009.

       34. Plaintiff Carl Giesler Jr. is a resident of Texas. Mr. Giesler was employed by AIG

FP from September of 2007 to December of 2008.




                                             5
             Case 23-50110-MFW        Doc 4   Filed 02/28/23   Page 132 of 173



       35. Plaintiff James Haas is a resident of Florida. Mr. Haas was employed by AIG FP

from March of 1996 to July of 2011.

       36. Plaintiff Charles Hsieh is a resident of Stamford, Connecticut. Mr. Hsieh was

employed by AIG FP from September of 2000 to March of 2010.

       37. Plaintiff Thomas Kalb is a resident of Houston, Texas. Mr. Kalb was employed by

AIG FP from July of 2003 to June of 2006.

       38. Plaintiff Thomas Kushner is a resident of Connecticut. Mr. Kushner was employed

by AIG FP from July of 2004 to October of 2008.

       39. Plaintiff Robert Leary is a resident of Florida. Mr. Leary was employed by AIG FP

from April of 1995 to July of 2007.

       40. Plaintiff Jonathan Liebergall is a resident of South Carolina. Mr. Liebergall was

employed by AIG FP from May of 1991 to January of 2016.

       41. Plaintiff Nathaniel Litwak is a resident of Chappaqua, New York. Mr. Litwak was

employed by AIG FP from May of 2002 to May of 2009.

       42. Plaintiff Brendan Lynch is a resident of Fairfield, Connecticut. Mr. Lynch was

employed by AIG FP from November of 1993 to January of 2011.

       43. Plaintiff Alfred Medioli is a resident of New Jersey. Mr. Medioli was employed by

AIG FP from November of 1991 to August of 2009.

       44. Plaintiff Matthew Mihaly is a resident of Trumbull, Connecticut. Mr. Mihaly was

employed by AIG FP from March of 1998 to October of 2011.

       45. Plaintiff JoAnn Palazzo is a resident of Connecticut. Ms. Palazzo was employed by

AIG FP from January of 1990 to December of 2006.




                                              6
            Case 23-50110-MFW            Doc 4   Filed 02/28/23   Page 133 of 173



       46. Plaintiff Eugene Park is a resident ofWeston, Connecticut. Mr. Park was employed

by AIG FP from March of 2000 to January of 2007.

       47. Plaintiff Andrew Partner is a resident of Norwalk, Connecticut. Mr. Partner was

employed by AIG FP from November of 1987 to June of 2016.

       48. Plaintiff Carl Peterson is a resident of Texas. Mr. Peterson was employed by AIG

FP from July of 2003 to March of 2008.

       49. Plaintiff Steven Pike is a resident ofLittleton, Colorado. Mr. Pike was employed

by AIG FP from July of 2003 to April of 2007.

       50. Plaintiff Thomas Plagemann is a resident of New York, New York. Mr. Plagemann

was employed by AIG FP from October of 2004 to September of 2009.

       51. Plaintiff Robert Powell is a resident of Connecticut. Mr. Powell was employed by

AIG FP from October of 1997 to October of 2009.

       52. Plaintiff Daniel Raab is a resident of New Jersey. Mr. Raab was employed by AIG

FP from July of 2003 to April of 2009.

       53. Plaintiff Ann Reed is a resident ofDarien, Connecticut. Ms. Reed was employed

by AIG FP from February of 2003 to July of 2009.

       54. Plaintiff Dmitry Satanovsky is a resident ofWeston, Connecticut. Mr. Satanovsky

was employed by AIG FP from January of 2004 to March of 2019.

       55. Plaintiff Paul Schreiner is a resident of Connecticut. Mr. Schreiner was employed

by AIG FP from April of 1998 to August of 2009.

       56. Plaintiff Mary Heather Singer is a resident of West Hartford, Connecticut. Ms.

Singer was employed by AIG FP from February of 1997 to February of 2006.




                                                 7
            Case 23-50110-MFW        Doc 4       Filed 02/28/23   Page 134 of 173



       57. Plaintiff Keith Stein is a resident ofWeston, Connecticut. Mr. Stein was employed

by AIG FP from November of 1993 to March of 2007.

       58. Plaintiff Frank Strohm is a resident of Austin, Texas. Mr. Strohm was employed by

AIG FP from January of 1994 to May of 2006.

       59. Plaintiff Timothy Sullivan Jr. is a resident of Houston, Texas. Mr. Sullivan was

employed by AIG FP from July of 2003 to April of 2007.

       60. Plaintiff Chris Toft is a resident of Weston, Connecticut. Mr. Toft was employed

by AIG FP from April of 2003 to November of2015.

       61. Plaintiff Joe Tom is a resident of River Vale, New Jersey. Mr. Tom was employed

by AIG FP from June of 1996 to April of 2015.

       62. Plaintiff Ryan Vetter is a resident of New York. Mr. Vetter was employed by AIG

FP from April of 2006 to October of 2008.

       63. Plaintiff Steven Wagar is a resident of Norwalk, Connecticut. Mr. Wagar was

employed by AIG FP from February of 1996 to May of 2016.

       64. Plaintiff Thomas Ward is a resident of Connecticut. Mr. Ward was employed by

AIG FP from February of 1987 to April of 2017.

       65. Plaintiff Martin Wayne is a resident of Bedford, New York. Mr. Wayne was

employed by AIG FP from January of 1987 to late 2008.

       66. Plaintiff James Wolf is a resident of Texas. Mr. Wolf was employed by AIG FP

from February of 1995 to January of 2007.

The Defendant:

       67. Defendant AIG FP is a division of and wholly owned subsidiary company ofAIG.

AIG FP is located at 50 Danbury Road, Wilton, Connecticut, 06897.




                                              8
             Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 135 of 173



II. JURISDICTION

       68. This Court may properly exercise personal jurisdiction over AIG FP under

Connecticut law and the due process clause of the Fourteenth Amendment to the United States

Constitution. For example, personal jurisdiction over defendant AIG FP is proper in Connecticut

under C.G.S.A § 33-929.

       69. Personal jurisdiction over defendant AIG FP is proper in Connecticut because,

among other things, AIG FP currently maintains a principal place of business in Connecticut, at

50 Danbury Road, Wilton, Connecticut, 06897.

       70. According to its corporate registration with the Connecticut Secretary of State, AIG

FP is a registered business entity in Connecticut and has appointed an agent for service of process

in Connecticut: R & C Service Company, which has a business address at 280 Tmmbull Street,

Hartford, CT, 06103.

       71. According to AIG FP's current registration information in Connecticut, AIG FP's

principals maintain a business address at 50 Danbury Road, Wilton, Connecticut, 06897, which is

the same as AIG FP's business address in Connecticut.

       72. AIG FP's Managing Director and General Counsel, Gregory J. Ruffa, is identified

as one ofAIG FP's principals in its Corporate Registration and maintains a Connecticut address

in Wilton, Connecticut.

       73. AIG FP's Chief Financial Officer, Timothy Allison, is identified as one ofAIG

FP's principals in its Corporate Registration and maintains a Connecticut address in Wilton,

Connecticut.

       74. AIG FP's Executive Vice President, Timothy Prister, is identified as one ofAIG

FP's principals in its Corporate Registration and maintains a Connecticut address in Wilton,

Connecticut.


                                                9
             Case 23-50110-MFW           Doc 4    Filed 02/28/23   Page 136 of 173



       75. Further, AIG FP employed each of the plaintiffs during the times relevant to this

action at its principal place of business in Connecticut.

       76. AIG FP and the plaintiffs were parties to the DCP and SIP, agreements which were

made and intended to be performed in Connecticut. The plaintiffs were employed and performed

services or other work for AIG FP under the terms of their employment in Connecticut, and

performed their obligations under the terms of the DCP and the SIP in Connecticut.

       77. In 2019, AIG FP admitted in a proceeding related to this dispute (the English

Judgment, discussed in detail below) that it is headquartered in Connecticut.

       78. Further, as explained in detail below in Count Four, AIG FP's refusal to pay the

plaintiffs' wages violated one or more of Connecticut's wage and hour laws.

III. THE DCP AGREEMENT

       79. The DCP is an agreement among participating employees ("Participants") and AIG

FP.

       80. The DCP was adopted in or around December 1995, and was amended thereafter.

The relevant version of the DCP is attached as Exhibit A.

       81. The DCP is governed by Connecticut law. See DCP § 4.05.

       82. Each of the plaintiffs was a "Participant" in the DCP. See DCP §1.13

("'Participant' shall mean an Executive who is participating in this Deferred Compensation

Plan.").

       83. The purpose of the DCP was to inceativize employees with bonuses, encourage

retention, and promote AIG's business. For example, the preamble of the DCP stated:

               The Plan provides the Plan participants a sharing of the risks and
               rewards of AIGFP's business and reflects the participants'
               commitment to the long term integrity of AIGFP. The Plan
               objectives are:
                       1. To promote the formation of capital in AIGFP;


                                                 10
            Case 23-50110-MFW         Doc 4     Filed 02/28/23     Page 137 of 173



                     2. To ensure that the interests ofAIGFP Executives and AIG
                     are aligned to promote the long term success ofAIGFP;
                     3. To focus AIGFP on success measured not only by revenue
                     growth but also by return on capital, quality of earnings, and
                     enhancement of the AIG name and reputation in financial
                     services;
                     4. To serve as an investment opportunity that will attract the
                     most talented people to AIGFP and to retain those already
                     here; and
                     5. To be simple, straightforward and efficient. DCP at 2
                     (preamble).

       84. The DCP explained that under a pre-existing arrangement with AIG, Distributable

Income was paid 70% to AIG and 30% to AIG FP employees. See DCP at 2 (preamble). The

DCP formalized this practice:

              Under the existing arrangement with AIG, Distributable Income is
              paid each year on the basis of 70% to AIG and 30% to AIGFP
              employees. Under the Plan a portion of the Distributable Income,
              apportioned 70% from AIG and 30% from AIGFP Executives, will
              not be paid currently but instead will be retained by AIGFP.Such
              retention will form part of the capital base of AIGFP and, absent
              losses which exhaust current revenues and reserves, will be paid
              subsequently to participants according to a schedule tied to the
              duration ofAIGFP's business. The Plan will be administered so that
              the amounts retained under the Plan will be apportioned between
              AIG and AIGFP Executives on a 70%/30% basis. DCP at 2-3
              (preamble).

       85. Distributable Income was defined to mean "with respect to any financial year of

AIGFP, revenues, less expenses and credit and market reserves taken for that year, as the same

shall be determined by the Board from time to time." DCP § 1.08.

       86. Pursuant to the terms of the DCP, each Participant was assigned a DCA on AIG

FP's books. "Deferred Compensation Account" was defined to mean "the account established on

AIG Financial Product Corp.'s books in the name of each Participant and of AIG in which,

pursuant to Section 3 of this Deferred Compensation Plan, Deferred Compensation amounts are

credited to such Participants and to AIG." DCP § 1.07.



                                              11
            Case 23-50110-MFW          Doc 4     Filed 02/28/23     Page 138 of 173



       87. Rather than receive cash bonuses, under the DCP, Participants received a Notional

Bonus Amount. "Notional Bonus Amount" was defined to mean:

             for each Participant in respect of any calendar year, the total notional
             bonus amount awarded to the Participant from all AIGFP
             companies, consisting of a cash bonus amount that is paid currently
             and an amount of Deferred Compensation that is credited by AIGFP
             to the Participant's Deferred Compensation Account and distributed
             to the Participant on a deferred basis subject to and in accordance
             with the terms hereof. DCP §1.12.

       88. "Deferred Compensation" was defined to mean:

             with respect to each deferral, (i) as applied to each Participant, the
             portion of the Participant's Notional Bonus Amount that is deferred
             by AIGFP pursuant to Section 3 of this Deferred Compensation
             Plan, including both amounts subject to automatic deferral and
             voluntary deferrals and (ii) as applied to AIG, the amount of annual
             Distributable Income ofAIGFP that is otherwise payable by AIGFP
             to AIG that is subject to automatic deferral pursuant to Section 3 of
             this Deferred Compensation Plan. DCP § 1.06.

       89. AIG FP was also required to credit each Participants' DCA with their portion of the

30% of Distributable Income due to AIG FP employees, which was called an "Additional Return

Payment" (or "equity kicker"). For example, DCP § 3.04 provided:

             Additional Return Payment to AIGFP Executives. In addition to
             interest payable on Deferred Compensation in accordance with
             Section 3.03, the Deferred Compensation Accounts of Participants
             (but not AIG) may be credited as of the Interest Reset Date falling
             in January of each year . . . with such additional earnings of AIGFP
             (the "Additional Return Payment") as the President ofAIGFP, with
             the approval of the Board, shall determine; provided that any
             Additional Return Payments (i) shall be payable only to Participants
             who are employees ofAIGFP as of the date of payment therefor and
             (ii) shall be allocated among such eligible Participants' Deferred
             Compensation Accounts on a pro rata basis. Additional Return
             Payments shall be paid to eligible Participants on each Interest
             Payment Date for the Interest Period beginning in October of each
             year based on the balance in such Participants' Deferred
             Compensation Accounts as of the Interest Reset Date for the Interest
             Period beginning in October of such year. For the avoidance of
             doubt, Additional Return Payments shall be paid out of the 30%



                                               12
             Case 23-50110-MFW         Doc 4    Filed 02/28/23    Page 139 of 173



              portion of annual Distributable Income that is allocable to AIGFP
              employees. All Additional Return Payments shall be paid net of any
              taxes required by law to be withheld by AIGFP.

       90. The plaintiffs earned interest on their DCA balances on a quarterly basis. DCP §

3.03. For example, DCP § 3.05(e) provided:

              All payments of interest. Installment Payments and Additional
              Return Payments, and any early distribution of amounts credited to
              a Participant's Deferred Compensation Account, shall be paid to
              such Participants from the company or companies from which such
              payment represents compensation for services provided by such
              Participant; provided that for Participants whose employment has
              been transferred from an AIGTG group company to an AIG
              Financial Products Corp. group company in the same country, all
              such payments shall be paid from the AIG Financial Products Corp.
              group company to which the Participant has been transferred.

       91. Credit for Deferred Compensation was to be applied to each DCA by December 31

of that year. See DCP § 3.02. However, the credit would not be payable until the next year's

fourth quarter interest payment was due, which would be the first quarter of the following year.

See DCP § 3.05(b). For example, a December 31, 2006 credit would generate a first scheduled

installment payment in January 2008, payable at the same time as Q4 2007 interest.

       92. AIG FP was required to provide Participants with quarterly statements that included

information about their DCA balances and AIG FP's financial performance. For example, DCP

§ 4.07 provided:

              For so long as the Deferred Compensation Plan is in effect, AIGFP
              shall provide each Participant and AIG with quarterly Deferred
              Compensation account statements setting forth (i) the Participant's
              or AIG's (as the case may be) Deferred Compensation account
              balance, (ii) the amount of interest and, for account statements
              covering the quarterly period in which such amounts would be paid,
              the Additional Return Payment and Installment Payment, if any,
              paid on such balance during such quarterly period and (iii) the
              Installment Payment schedule for the Participant or AIG. In
              addition, AIGFP shall provide Participants and AIG with an AIGFP
              annual financial summary (which shall include a statement of the



                                               13
            Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 140 of 173



              average life ofAIGFP's swap transaction portfolio as of the date of
              such financial information), and shall endeavor to keep Participants
              who are then employees of AIGFP apprised of material
              developments involving AIGFP's business or accounting procedures
              applicable to AIGFP insofar as they relate to the Deferred
              Compensation Plan.

       93. If a Participant died or was permanently disabled, a Participant's total DCA balance

became payable as a lump sum. See DCP § 3.05(a). In addition, a Committee ofAIG FP's CEO,

COO, CFO, and Secretary, could direct an Early Distribution of a DCA balance, subject to

approval by the Board. See DCP § 3.05(c).

       94. If there was no early distribution, DCA credits were payable according to an

installment payment schedule provided by DCP § 3.05(b):

              Except as provided below, amounts in the Participant's Deferred
              Compensation Account attributable to Deferred Compensation
              contributions shall be paid to such Participant and to AIG annually
              in arrears on the Interest Payment Date for the Interest Period
              beginning in October of each year in equal pro rata installments
              ("Installment Payments") over a period of time (the "Distribution
              Period") corresponding to the approximate average life of AIGFP's
              swap transaction portfolio, as last determined by the Board before
              the beginning of the calendar year preceding the date of the Deferred
              Compensation contribution. However, for calendar year 2009 and
              2010, the period of time that shall be used is six years, and as to
              Deferred Compensation contributions made prior to 2009, the
              installment schedule established under this section as in effect prior
              to December 31, 2008 shall remain applicable. The Distribution
              Period for a Deferred Compensation contribution shall commence
              on the Interest Reset Date in January of the calendar year next
              succeeding the calendar year in respect of which the Deferred
              Compensation contribution was made, with the first Installment
              Payment therefore being distributed on the Interest Payment Date
              for the Interest Period beginning in October of the calendar year in
              which the Distribution Period commences. Installment Payments
              shall be paid net of any taxes required by law to be withheld by
              AIGFP.

       95. AIG FP was permitted to reduce DCA balances in the event that AIG FP sustained

realized losses, so long as AIG FP adopted a repayment plan with a defined payment schedule.



                                               14
             Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 141 of 173



For example, DCP § 4.0 l(b) provided:

              The outstanding balance credited to the Deferred Compensation
              Accounts of each Participant and of AIG shall be subject to
              reduction, from time to time, to the extent of any losses incurred (i)
              by AIGFP (excluding AIGTG) or (ii) by AIGTG resulting from
              transactions entered into on or after January 1, 2003, which losses
              in the case of (i) and (ii) for any year in the aggregate exceed the
              outstanding market and credit reserves and current year income of
              AIGFP (excluding outstanding market and credit reserves relating
              to transactions entered into by AIGTG before January 1, 2003), but
              before base capital ofAIGFP (for the avoidance of doubt including
              AIGTG, and consisting of equity, retained earnings, if any, and
              subordinated debt). Such reductions shall be made among the
              Participants . . . and AIG on a pro rata basis. AIG Financial
              Products Corp. shall be obligated subsequently to restore
              amounts so deducted from Participants' and AIG's account
              balances, plus accrued interest thereon at the interest rate
               determined in accordance with Section 3.03 and, in connection
               therewith, the Board shall adopt a plan (which shall not be
               subject to the approval ofAIG or the Participants) setting forth
               a schedule under which AIG Financial Products Corp. shall
               restore amounts deducted from Participants' and AIG's account
               balances (plus accrued interest thereon). Any such restoration
               plan shall provide that any restored amounts shall be paid in 2013;
               to the extent amounts have not been restored by December 31,2013,
               all restoration rights shall permanently lapse except to the extent
               AIG Financial Products Corp. determines that it may amend the Plan
               to provide for payment of restored amounts without violating
               Internal Revenue Code Section 409A. (Emphasis added).

       96. Accordingly, pursuant to DCP § 4.0 l(b), even assuming the 2008 amendment was

valid, AIG FP was obligated to restore and pay any amounts deducted from the DCAs, plus

interest, by December 31, 2013, and was obligated to adopt a restoration plan in order to do so.

       97. If a Participant stopped working at AIG FP, AIG FP was required to continue

distributing their DCA balance. For example, DCP § 4.03 provided:

               Continuation as Employee. . . . Except as provided in the next
               sentence. Participants who cease to be employees of AIGFP shall
               not lose their Deferred Compensation, which shall continue to be
               distributed as provided in Section 3.05 and to earn interest as
               provided in Section 3.03 (but not Additional Return Payments



                                                15
             Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 142 of 173



               pursuant to Section 3.04). Notwithstanding any provision herein to
               the contrary, Participants who steal or embezzle from AIG or
               AIGFP or engage in an act of dishonesty, disloyalty or breach of
               trust against AIG or AIGFP that is comparable to theft or
               embezzlement shall lose their right to Deferred Compensation,
               including all amounts then credited to their Deferred Compensation
               Account and any interest accrued thereon.

       98. DCP § 4.09 stated the intention that amounts awarded or deferred pursuant to the

DCP would not be taxable under Internal Revenue Code Section 409A:

               It is intended that amounts awarded or deferred under this Plan will
               not be taxable under Internal Revenue Code Section 409A. This
               Plan shall be interpreted and administered, to the extent possible, in
               a manner that does not result in a "plan failure" (within the meaning
               of Internal Revenue Code Section 409A(a)(l)) of this Plan or any
               other plan or arrangement maintained by AIG-FP or any affiliate.

IV. AIG FP'S CONDUCT

AIG FP Fails to Pay Plaintiffs Under the DCP and SIP

       99. In 2007, because of changes in the way AIG FP booked its losses and the declining

financial market at the time, there was a large, negative impact on AIG FP's 2007 Distributable

Income. As a result, there was also a large, negative impact on 2007 bonuses (cash and deferred),

and there were no 2007 Additional Return Payments (or "equity kickers").

       100. As discussed below, the SIP was launched in December 2007 to incentivize

employees to continue working for AIG FP in spite of these developments.

       101. On Monday, September 15, 2008, Lehman Brothers Holdings filed for Chapter 11

protection in New York, an event which triggered a global financial crisis.

       102. Shortly after the Lehman bankruptcy, in October 2008, AIG FP and AIG reportedly

were brought to the brink of collapse. Purportedly, AIG FP's 2008 losses overwhelmed not only

reserves, current year income, and DCA balances, but also base capital.




                                                16
             Case 23-50110-MFW         Doc 4     Filed 02/28/23    Page 143 of 173



       103. Deeming AIG "too big to fail," the Federal Reserve Bank of New York provided

AIG with emergency funding. The funding was agreed in principle on September 16, 2008, and

formalized shortly thereafter.

       104. Pursuant to its agreement with the Federal Government, AIG received a revolving

credit facility of $85 billion. In turn, AIG extended AIG FP a revolving credit facility of $65

billion. The two credit facilities were formalized on the same day: September 22, 2008.

       105. In September 2008, as part ofAIG's bailout, then-Chairman ofAllstate Insurance,

Edward Liddy, was appointed as AIG's interim chairman and chief executive officer ("CEO").

This was done at the request of then-Secretary of the U.S. Department of Treasury Hank Paulson.

Mr. Liddy assumed his role at AIG for a nominal annual salary of $ 1.

       106. Executive compensation was a focal point of the bailout and a source of political

tension. For example, in a letter to ]V[r. Liddy, dated October 22, 2008, then Attorney General of

New York Andrew Cuomo cautioned that "until the taxpayers are repaid with interest... no funds

should be paid out of [AIG's deferred compensation and bonus] pools to any executives."

       107. Despite the difficult political climate, AIG's position was that its employees,

including the plaintiffs, were entitled to and would receive the compensation they were owed in

connection with work they had already performed. In an October 16, 2008 Joint Statement from

the N.Y. Attorney General and AIG, Inc., Attorney General Cuomo said, "[t]hese actions are not

intended to jeopardize the hard-earned compensation of the vast majority ofAIG's employees,

including retention and severance arrangements, who are essential to rebuilding AIG and the

economy of New York.'"

       108. Upon information and belief, in early October 2008, AIG FP decided that at the

year end. Participants' balances would be stated as negative amounts, not merely as nil balances.




                                               17
             Case 23-50110-MFW          Doc 4     Filed 02/28/23     Page 144 of 173



AIG FP did this to make it look like the unabsorbed balance of 2008 losses would continue on its

books indefinitely, unless and until the losses were absorbed. Practically, this would allow AIG

FP to reduce future Plan balances and avoid having to make payments on new credits or credits

created by a restoration plan (which AIG FP failed to adopt).

       109. Upon information and belief, recognizing the importance of retaining its employees

in its effort to rebuild, the head ofAIG's financial services division, William Dooley, assured AIG

FP's employees in an October 2008 letter that any negative balances in their DCP and SIP

Accounts would be restored, as "[bjoth the SIP and the DCP provide for the adoption of a plan for

restoring these reductions to AIG and AIGFP participants' deferred compensation accounts."

       110. At the end of 2008, AIG FP also instituted the ERP, which was another bonus plan

designed to incentivize certain employees to stay with AIF FP, and compensate those employees

who did not receive their 2007 bonus compensation or equity kicker. The ERP is explained in

more detail below.

       111. In a letter dated March 14, 2009, Mr. Liddy confirmed that AIG was aware of its

legally enforceable obligation to pay AIG FP's employees the amounts they were owed under the

Plans. Mr. Liddy explained to Timothy Geithner (Mr. Paulson's successor as Treasury Secretary)

that "[i]n the first quarter of 2008, prior management took significant retention steps at AIG

Financial Products," which "guaranteed a minimum level of pay for both 2008 and 2009." M.r.

Liddy advised Mr. Geithner that "quite frankly, AIG's hands are tied" and that "[ojutside counsel

has advised that these are legal, binding obligations ofAIG, and there are serious legal, as well as

business, consequences for not paying." It bears note that Mr. Liddy did not personally "participate

in any AIG bonus or retention program... and, before September, did not have any relationship

with AIG."
        If




                                                18
             Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 145 of 173



       112. Upon information and belief, other internal documents of AIG and/or AIG FP

demonstrate that AIG FP was obligated to restore the plaintiffs' DCA and SIP Account balances

and repay plaintiffs the amounts they were owed pursuant to the Plans.

       113. In addition, a publicly-available March 16, 2009 letter from AIG's and AIG FP's

attorneys to the Office of the General Counsel of the Federal Reserve Bank of New York further

confirmed that AIG FP's compensation plans, including the ERP, constituted "clear contractual

obligation[s] on the part of AIG FP - which [are] guaranteed by AIG - to pay [Guaranteed

Retention Awards] to participants who have not been terminated for cause, resigned without good

reason, or ... been terminated for failure to meet performance standards in calendar year 2008."

AIG FP Induced Its Employees to Continue Deferring Compensation to Bolster Its Finances

       114. Throughout this time, AIG FP assured the plaintiffs by reaffirming the terms of the

DCP and SIP, and incentivized the plaintiffs to continue working, performing under employment

obligations, and waiting for AIG and AIG FP's financial woes to improve.

       115. For example, a January 21,2008 e-mail from William Shirley to all employees said,

"[The SIP] now provides that any amounts by which SIP Accounts are reduced pursuant to Section

3.02(a) or (b) (for example, where an employee resigns in 2008 or 2009) will be available for

distribution to AIGFP employees in 2013 (in the same manner as, in addition to, the 30% portion

of annual Distributable Income that is allocable to AIGFP employees that year)."

       116. In 2009, relying on AIG's assurances, many ofAIG FP's employees—including

many of the plaintiffs in this action—agreed to receive part of the compensation they were owed

under the ERP in the form of deferred compensation credited to the SIP plan, with the remainder

to be paid in cash.

       117. In 2009, AIG FP also requested that many of the AIG FP employees—including

some of the plaintiffs—voluntarily pay back a portion of their cash compensation, in order to help


                                                19
              Case 23-50110-MFW         Doc 4     Filed 02/28/23     Page 146 of 173



the company address its financial woes and for the purpose of maintaining a positive public

perception.

       118. In 2010, AIG FP again requested that employees voluntarily pay back some or all

of a second cash payment made pursuant to the ERP.

       119. In or around 2009 and 2010, AIG employees reported receiving threats by members

of the general public who were angered by the amount of cash compensation previously paid to

those employees.

       120. On information and belief, AIG FP pressured its employees to return some

percentage of their cash compensation. As a result, in 2010, some employees, including some of

the plaintiffs, returned substantial portions of their hard-earned compensation, ranging up to 20%

of their overall compensation for that year.

After AIG Returned to Profitability, AIG FP Refused to Pay Plaintiffs the Amounts They Are
Owed

       121. Upon information and belief, AIG was able to return to profitability in 2011 and to

repay any amounts owed to the Treasury and the Federal Reserve in 2012 plus a profit of over $20

billion.

       122. By December 31, 2013, AIG FP should have restored and paid the DCA and SIP

Account balances. See, e.g., DCP § 4.01(b); SIP § 4.01(b).

       123. In fact, AIG FP could have restored—as it was obligated to do under the Plans-

the DCA and SIP Account balances, and repaid the plaintiffs from general corporate funds or by

borrowing from AIG under the bailout facility that was in place between AIG and AIG FP. The

bailout facility was available to AIG FP for it to meet all "direct and legitimate business needs."

       124. However, in a letter dated July 31, 2014, AIG FP informed the plaintiffs that it

would not restore their DCA or SIP Account balances, nor would it pay them the amounts it owed



                                                20
               Case 23-50110-MFW       Doc 4    Filed 02/28/23     Page 147 of 173



them under the DCP and SIP. See July 31, 2014 Letter from AIG FP to DCP and SIP Participants

(Exhibit D).

       125. Upon information and belief, today, AIG's financial health has been restored, and

the company is profitable. AIG FP continues as a solvent, wholly-owned subsidiary ofAIG, which

may rely on AIG to cover its financial obligations pursuant to the General Guarantee Agreement.

       126. Despite AIG's financial health; AIG FP's continued existence as a going concern

and wholly-owned subsidiary ofAIG; AIG's and AIG FP's acknowledgement of and promise to

honor the financial obligations stemming from the DCP and SIP; and AIG's obligations under the

General Guarantee Agreement, AIG FP refused to restore the plaintiffs' DCA or SIP Account

balances or pay the plaintiffs the amounts they are owed for their work.

       127. Upon information and belief, AIG FP's obligations to pay the plaintiffs and its

breach of those obligations were confirmed by decisions in lawsuits brought in England, (the

"English Judgment"), which is attached as Exhibit E, and in France. The English Judgment and

the French decisions are described below.

V. THE ENGLISH AND FRENCH JUDGMENTS

The Parties in the English Proceedings

       128. Upon information and belief, in November 2018, the High Court of Justice Queen's

Bench Division, Commercial Court (the "English Court") entered the English Judgment for breach

of contract under Connecticut law against AIG FP and AIG Management France, SA ("Banque

AIG" and collectively, the "London Defendants") in favor of a group of 23 former employees of

Banque AIG (the "London Claimants"). 2


According to publicly-available documents, Banque AIG was a subsidiary ofAIG FP in London that now
operates as AIG Management France S.A. ("AIG MF"). Banque AIG was a subsidiary company ofAIG
FP and AIG Matched Funding Corp., which is itself a wholly owned subsidiary company ofAIG FP.
2 Tobias Gruber and 22 others v. AIG Management France S.A., AIG Financial Products Corp. and

                                               21
              Case 23-50110-MFW         Doc 4    Filed 02/28/23     Page 148 of 173



         129. The London Claimants worked at Banque AIG in London, either employed directly

there or seconded to Banque AIG from AIG FP.

         130. The London Claimants participated in the Plans at issue here.

The Allegations

         131. In 2016, the London Claimants filed an Amended Particulars of Claim in the

English Court. Among other things, they alleged that they were entitled to substantial

remuneration by way of deferred bonus payments pursuant to the Plans.

         132. Specifically, the London Claimants brought, among other things, claims of breach

of contract against Banque AIG and AIG FP under Connecticut law, which governed each of the

Plans.

         133. The London Claimants alleged that AIG FP and Banque AIG breached their

contracts with the claimants when they failed to restore the amounts deducted from the claimants'

DCAs, and failed to adopt a restoration plan. The Plans, the London Claimants alleged, "imposed

an unqualified obligation on [AIG FP] to put a restoration plan in place; and that Participant

balances had to be restored no later than 31 December 2013." See English Judgment ^f 52. When

AIG FP failed to take both of these necessary steps—to restore the DCA and SIP Account balances

and to adopt a repayment plan—it breached the terms of the Plans.

         134. The London Defendants disagreed. They argued that their restoration obligations

under the Plans were dependent on AIG FP's profitability. Because of this dependent condition,

the AIG Defendants claimed, they were not required to restore DCA balances until—and unless—

AIG FP had positive distributable income. Id. ^ 54. According to the London Defendants, AIG




American International Group, Inc., number CL-2014-000921, in the Commercial Court, Queen's Bench
Division, of the High Court of Justice of England and Wales. See English Judgment ^ 178.


                                                22
             Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 149 of 173



FP's purported balance sheet insolvency during the relevant period precluded the restoration of the

DCAs.

The English Decision

       135. The English Court conducted a nine-day hearing in April and May 2018.

       136. The hearing included expert witnesses on Connecticut law. The London Claimants

called an expert witness who provided the English Court with evidence addressing the applicable

principles of contractual construction under Connecticut law. The London Defendants called their

own expert to produce evidence on the same topic.

       137. The English Court found in favor of the London Claimants on the breach of contract

claims. Mr. Justice Baker, who presided over the English proceedings, pointed to AIG FP's

continued support from AIG as evidence that AIG FP was financially able to restore DCA

balances, and that any purported balance sheet insolvency of AIG FP did not impede its ability to

honor its obligations to "restore and pay out previously reduced DCP and SIP balances." E.g. Id.

^51,55.
       138. Applying Connecticut law, Mr. Justice Baker found that AIG FP breached its

obligations under the Plans when it failed to adopt a restoration plan, as required by the DCP

§ 4.01(b)[3]-[6]. Mr. Justice Baker held that such a restoration plan was required to provide for

repayment of restored balances no later than 2013. 7J. ^ 71-121.

       139. Mr. Justice Baker also found that the Plan participants' entitlement to have the Plan

balances restored and paid was unqualified. Id. ^ 100-101.

       140. The English Court made further findings as to AIG FP's solvency and ability to

make the required payments to DCP Participants. It noted that AIG FP was a going concern and

had not been placed into formal insolvency proceedings. Id. ^ 75.




                                                23
              Case 23-50110-MFW           Doc 4    Filed 02/28/23      Page 150 of 173



        141. The English Court found that, "under the bail-out facility [AIG FP] had materially

unlimited general funds available to it at all times . .. because of the bail-out facility, [a] negative

balance sheet did not deprive [AIG FP] of working capital and/or general funds." Id. ^ 55

(emphasis added). Despite arguments by the defendants to the contrary, AIG FP "had the bail-out

facility as its primary, and for present purposes materially unlimited, source of general funds." Id.

(emphasis added). Mr. Justice Baker called the London Defendants' argument that AIG FP's

balance sheet insolvency precluded restoration "false logic" that "substantially infected their case

on the construction of the restoration obligations." Id. ^ 55.

        142. The London Claimants claimed that unpaid amounts credited to their DCAs totaled

approximately US $108 million. However, the English Court noted that this figure was only for

the 23 London Claimants, and that there were potentially "300 eligible employees in all." Id. ^

49. According to the English Court, the total potential claims of all eligible employees could be

$800 million. Id. ^ 50.

        143. The English High Court scheduled a separate assessment for damages, to be heard

in January 2020.

        144. Separately, AIG FP and Banque AIG sought, and were granted, permission to

appeal the English Court's decision. Arguments in that appeal were heard on November 25-27,

2019.

The French Decisions

        145. Upon information and belief, former employees have also brought—and won—

similar claims in France. In two separate proceedings, two former employees ofBanque AIG were

awarded 8.7 million euros in damages after a French court determined that Banque AIG improperly

withheld bonus payments. The French court noted that Banque AIG had withheld these payments




                                                  24
             Case 23-50110-MFW          Doc 4     Filed 02/28/23     Page 151 of 173



as a means to force employees to bear the bmnt of the bank's losses.

VI. AIG FP'S BREACH OF THE DCP

       146. As detailed above, AIG and AIG FP repeatedly encouraged the plaintiffs to defer

additional portions of their compensation into the DCP so as to provide additional capital to AIG

FP.

       147. The plaintiffs performed under the DCP. For example, they continued their

employment through the relevant payment periods and deferred their compensation as required by

the DCP.

       148. Pursuant to the DCP, over the course of their employment with AIG FP, the

plaintiffs deferred substantial portions of their compensation from AIG FP.

       149. In breach of its contractual obligations, AIG FP did not restore the plaintiffs' DCA

balances, and did not pay the plaintiffs their earned compensation credits including interest.

       150. In breach of its contractual obligations, AIG FP did not adopt any restoration plan,

as required by DCP § 4.0l(b).

       151. In a letter dated July 31, 2014, AIG FP expressly stated its intention not to make

any payments under the DCP, which—along with AIG FP's failure otherwise to perform under

the DCP—constitutes a breach of the DCP.

        152. As a result ofAIG FP's breach of the DCP, the plaintiffs have suffered monetary

damages in the millions of dollars.

COUNT TWO: BREACH OF THE SIP

        1-152. The plaintiffs reassert the allegations in paragraphs ^ 1-152 of Count One as if set

forth fully herein.




                                                25
             Case 23-50110-MFW           Doc 4    Filed 02/28/23     Page 152 of 173



I. THE SIP AGREEMENT

       153. The SIP is an agreement among AIG FP and certain employees ("Covered

Executives").

       154. The plaintiffs who are Covered Executives under the SIP include: Mitchell Bell,

Erik Bengtson, Paul Bradshaw, Thomas Buttke, David Chang, Robert Chang, Jason DeSantis,

Richard Fabbro, Kenneth Farrar, Jonathan Fraade, James Haas, Charles Hsieh, Thomas Kushner,

Jonathan Liebergall, Nathaniel Litwak, Brendan Lynch, Alfred Medioli, Matthew Mihaly, Andrew

Partner, Thomas Plagemann, Robert Powell, Daniel Raab, Ann Reed, Paul Schreiner, Chris Toft,

Joe Tom, Steven Wagar, Thomas Ward, and Martin Wayne.

       155. The SIP was adopted in January 2008, and was amended thereafter. The relevant

version of the SIP is attached as Exhibit B.

       156. The SIP is governed by Connecticut law. See SIP § 4.05.

       157. Covered Executives included only those employees who would have received a

DCP Notional Bonus Amount of at least $1,250,000 and/or a DCP Additional Return Payment in

2007. 5'ee SIP §2.01.

       158. AIG FP introduced the SIP to incentivize certain employees to continue working at

AIG FP after AIG FP began struggling financially and certain employees did not receive

Additional Return Payments under the DCP in 2007. For example, the preamble of the SIP

explained:

                As a result of the valuation adjustments associated with AIGFP's
                super senior credit derivative business, the Notional Bonus Amounts
                available in 2007 have been affected, and there will be no Additional
                Return Payment for 2007 under the Deferred Compensation Plan . .
                . . The purpose of the 2007 SIP is to provide an additional
                compensation opportunity for Covered Executives while at the same
                time: (i) providing incentives for Covered Executives to continue
                developing, promoting and executing AIGFP's business, (ii)
                recognizing the serious effect that the unrecognized losses


                                                 26
             Case 23-50110-MFW          Doc 4     Filed 02/28/23     Page 153 of 173



               associated with the valuation adjustment have had, (iii) continuing
               to ensure that AIGFP's and its employees' interests are aligned with
               those of AIG and AIG's shareholders, and (iv) building and
               maintaining the formation of capital in AIGFP, including for
               purposes of ensuring that amounts are available to absorb losses in
               the event that AIGFP realizes losses on super senior credit
               derivatives that would have an impact on AIGFP's capital structure.

       159. The SIP included provisions meant to encourage employees to continue working at

AIG FP for a number of years, so that they would eventually receive a bonus or equity payment.

For example, the SIP provided that if any Covered Executive resigned prior to January 1, 2009,

their SIP Account "shall be reduced to zero" and they "shall have no further right to amounts

credited to such account." See SIP § 3.02(a). If a Covered Executive resigned between January

1, 2009, and January 1, 2010, they would receive one-third of their SIP bonus. See SIP § 3.02(b)

("If the employment. . . ofa Covered Executive terminates on or after January 1, 2009 but prior

to January 1, 2010 for any reason other than as a result of dismissal (or termination) without cause

or death or permanent disability, the SIP Account of such Covered Executive shall be reduced by

an amount equal to two-thirds of the amount credited thereto . . . .").

       160. In other words, in order to receive a full SIP bonus, a Covered Executive would

have to continue working for AIG or AIG FP until January 2, 2010.

       161. SIP Accounts, similar to DCAs, were "established on [AIG FP' s] books in the name

of each Covered Executive and ofAIG in which . .. 2007 SIP Credits for Covered Executives and

AIG are recorded." See SIP at 10 (definitions).

        162. Unless the participating employee died or was permanently disabled, the SIP

payments were payable according to SIP § 3.05(a):

               Payment. Unless payment occurs on an earlier date pursuant to
               Section 3.05(b) below, the outstanding balance, if any, credited to a
               Covered Executive's or AIG's SIP Account as of the Interest
               Payment Date for the Interest Period beginning in October 2012



                                                27
             Case 23-50110-MFW         Doc 4    Filed 02/28/23     Page 154 of 173



              shall be paid to such Covered Executive or to AIG, as applicable, on
              such date.

       163. Any payments made under the SIP were independent of the Notional Bonus

Amounts described in the DCP. See SIP at 1 (preamble).

       164. All SIP payments earned interest quarterly and were payable quarterly. See SIP

§3.03.
       165. Like the DCP, the SIP also provided for Additional Return Payments to Covered

Executives. See SIP § 3.04.

       166. AIG FP was required to provide quarterly SIP Account statements that included

information about SIP Account balances and AIG FP's financial performance. For example, SIP

§ 4.07 provided:

              For so long as 2007 SIP Credits remain payable hereunder, AIGFP
              shall provide each Covered Executive and AIG with quarterly SIP
              Account statements setting forth (i) the Covered Executive's or
              AIG's (as the case may be) SIP Account balance, (ii) the amount of
              any Additional Return Payment and any interest on any Additional
              Return Payment that is credited to the SIP Account during such
              quarterly period, and (iii) the amount of interest paid on such SIP
              Account balance during such quarterly period. In addition, AIGFP
              shall provide Covered Executives and AIG with an AIGFP annual
              financial summary, and shall endeavor to keep Covered Executives
              who are then employees of AIGFP apprised of material
              developments involving AIGFP's business or accounting
              procedures applicable to AIGFP insofar as they relate to these 2007
              SIP Terms.

       167. As with the DCP, AIG FP was obligated under the SIP to restore any amounts

deducted from SIP Accounts and was obligated to create a restoration plan in order to do so:

              The outstanding balance credited to the SIP Accounts of each
              Covered Executive and ofAIG shall be subject to reduction, from
              time to time, to the extent of any losses incurred (i) by AIGFP
              (excluding AIGTG) or (ii) by AIGTG resulting from transactions
              entered into on or after January 1, 2003, which losses in the case of
              (i) and (ii) for any year in the aggregate exceed the outstanding



                                               28
             Case 23-50110-MFW          Doc 4    Filed 02/28/23       Page 155 of 173



               raarket and credit reserves and current year income of AIGFP
               (excluding outstanding market and credit reserves relating to
               transactions entered into by AIGTG before January 1, 2003), but
               before base capital of AIGFP (for the avoidance of doubt including
               AIGTG, and consisting of equity, retained earnings, if any, and
               subordinated debt). Such reductions shall be made on a pro rata basis
               among the SIP Accounts under the 2007 SIP, and the Deferred
               Compensation Accounts under the Deferred Compensation Plan, of
               Covered Executives and AIG. AIG Financial Products Corp. shall
               be obligated subsequently to restore amounts so deducted from
               Covered Executives' and AIG's account balances, plus accrued
               interest thereon at the interest rate determined in accordance
              with Section 3.03 and, in connection therewith, the Board shall
              adopt a plan (which shall not be subject to the approval ofAIG
              or the Covered Executives) setting forth a schedule under which
              AIG Financial Products Corp. shall restore amounts deducted
              from Covered Executives' and AIG's account balances (plus
              accrued interest thereon). Any such restoration plan shall provide
              that any restored amounts shall be paid in 2013; to the extent
              amounts have not been restored by December 31, 2013, all
              restoration rights shall permanently lapse except to the extent AIG
              Financial Products Corp. determines that it may amend the Plan to
              provide for payment of restored amounts without violating Internal
              Revenue Code Section 409A. SIP § 4.0 l(b) (emphasis added).

       168. Accordingly, pursuant to SIP § 4.01(b), even assuming the 2008 amendment was

valid, AIG FP was obligated to restore and pay any amounts deducted from the SIP Accounts, plus

interest, by December 31, 2013, and was obligated to adopt a restoration plan in order to do so.

II. AIG FP'S BREACH OF THE SIP

       169. AIG FP repeatedly assured AIG FP's employees that AIG FP would continue as a

going concern.

       170. The plaintiffs who were Covered Executives performed under the SIP. For

example, the plaintiffs continued their employment through the relevant payment periods and

complied with the required compensation deferral provisions.

       171. Pursuant to the SIP, the plaintiffs who were Covered Executives deferred

substantial portions of their compensation into their SIP Accounts.



                                                29
             Case 23-50110-MFW           Doc 4     Filed 02/28/23      Page 156 of 173



        172. In breach of its contractual obligations, AIG FP has not performed under the SIP.

For example, AIG FP did not restore the SIP Account balances or pay Covered Executives the

earned compensation they were owed plus interest.

        173. In breach of its contractual obligations, AIG FP did not adopt a restoration plan as

required by the SIP.

        174. In a letter dated July 31, 2014, AIG FP expressly stated its intention not to make

any payments under the SIP, which—along with its failure to perform under the SIP—constitutes

a breach of the SIP. See July 31, 2014 Letter from AIG FP to DCP and SIP Participants.

        175. As a result ofAIG FP's breach of the SIP, the plaintiffs have suffered monetary

damages in the millions of dollars.

COUNT THREE: BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND
FAIRDEALING

        1-175. The plaintiffs reassert the allegations in ^ 1-175 of Count Two as if set forth fully

herein.

        176. Under Connecticut law, the DCP and the SIP imposed a duty on AIG FP to act in

good faith and deal fairly with the plaintiffs.

        177. AIG FP breached the covenant of good faith and fair dealing implied in the DCP

and the SIP by:

               a) unreasonably failing to pay the plaintiffs their earned
                   compensation;

               b) acting in its own self-interest, as well as in the interest of its parent
                   corporation, AIG, by taking money owed to the plaintiffs and using
                   it as capital to fund AIG FP's business;

               c) acting in bad faith by repeatedly assuring the plaintiffs that they
                   would receive the payments they were owed pursuant to the DCP
                   and SIP when AIG FP had no intention of paying the plaintiffs;

               d) acting unreasonably and in bad faith by pressuring the plaintiffs to


                                                  30
             Case 23-50110-MFW         Doc 4     Filed 02/28/23    Page 157 of 173



                  return compensation they rightfully earned for AIG and AIG FP's
                  benefit;

              e) threatening the plaintiffs who did not volunteer to return their
                  compensation and saying they would release their names to the
                  public.

       178. A separate agreement which is relevant to AIG FP' s breach of the implied covenant

of good faith and fair dealing in the DCP and the SIP is the ERP, which is described below.


I. THE ERP

       179. The ERP is an agreement among AIG FP and certain AIG FP employees ("Covered

Persons").

       180. The ERP was adopted in or around March 2008, was effective as of December 1,

2007, and was amended. The relevant version of the ERP is attached as Exhibit C.

       181. The ERP is governed by Connecticut law. See ERP § 4.04.

       182. "Covered Persons" under the ERP meant:

              [A] 11 employees and certain designated consultants of [AIG FP] as
              of March 31, 2008 (excluding any employees or consultants who
              have notified [AIG FP] of their intent to resign on or prior to such
              date) who received discretionary incentive compensation, or had a
              Previous Guarantee, in respect of the 2007 Compensation Year or
              who have a Previous Guarantee in respect of the 2008 Compensation
              Year. ERP § 1.14.

       183. Many of the plaintiffs were Covered Persons under the ERP.

       184. Like the SIP, the ERP was designed to incentivize employees to continue working

for AIG FP for a number of years. For example, the preamble of the ERP stated:

               The objectives of the Plan are:

               1. To provide incentives for AIG-FP's employees and consultants to
               continue developing, promoting and executing AIG-FP's business;

               2. To recognize the uncertainty that the unrealized market valuation
               losses in AIGFP's super senior credit derivative and originally-rated


                                                 31
            Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 158 of 173



              AAA cash CDO portfolios have created for AIG-FP's employees
              and consultants;

              3. To ensure that AIG-FP's and its employees' and consultants'
              interests continue to be aligned with those of AIG and AIG's
              shareholders;

              4. To continue to build and maintain the formation of capital in AIG-
              FP; and

              5. To show the support by AIG of the on-going business ofAIG-FP
              by implementing a meaningful employee retention plan.

       185. The ERP provided Guaranteed Retention Awards to Covered Persons so long as

they continued to work for AIG through the actual payment. If an employee resigned "without

good reason," was fired for cause, or was fired because they failed to "meet performance

standards," they would forfeit all or some of the Guaranteed Retention Award. See ERP § 3.04.

       186. A Guaranteed Retention Award would be equal to the Covered Person's 2007 Total

Economic Award, which was defined to mean:

              [T]he sum of (a) and (b), where (a) is the amount of the discretionary
              incentive compensation or Previous Guarantee awarded to such
              Covered Person in respect of the 2007 Compensation Year, before
              taking into account any deferrals of such compensation under, or
              contributions of amounts to, the Deferred Compensation Plan... or
              payments of amounts under the Deferred Compensation Plan... in
              respect of previous Compensation Years, and (b) is the amount, if
              any, of the SIP Credit credited to such Covered Person under Section
              3.01 (a) of the SIP, excluding the amount of such SIP Credit, if any,
              received in lieu of an Additional Return Payment under the Deferred
              Compensation Plan... ERP § 1.29.

       187. Any payments made under the ERP were expressly subject to the DCP. For

example, ERP § 3.05(a) provided:

              The payment of 2008 and 2009 Total Awards to Covered Persons
              who participate in the Deferred Compensation Plan will be subject
              to partial mandatory deferral and subsequent payment under the
              Deferred Compensation Plan in accordance with its terms.




                                               32
             Case 23-50110-MFW          Doc 4    Filed 02/28/23     Page 159 of 173



       188. Under ERP § 3.02(c), AIG was responsible for covering any shortfall in funds

available to pay the Guaranteed Retention Awards:

               If the aggregate amount of the Guaranteed Retention Awards for the
               2008 Compensation Year or the 2009 Compensation Year exceeds
               the calculated Bonus Pool for such Compensation Year, AIG will
               cover the shortfall so that Covered Persons are paid their full
               Guaranteed Retention Awards (subject, for the avoidance of doubt,
               to deferral pursuant to Section 3.05(a)). Any such Bonus Pool
               shortfall shall, for purposes of Section 3.07 related to the carry-
               forward of Capped Realized Losses, be deemed to give rise to a
               Capped Realized Loss equal to the amount of such shortfall.

       189. Payment of non-deferred portions of the Guaranteed Retention Awards was

guaranteed by AIG pursuant to a General Guarantee Agreement. ERP § 3.03 provided:

               The obligation to pay the Guaranteed Retention Awards described
               under Section 3.01 is guaranteed by AIG pursuant to the AIG
               General Guarantee Agreement; provided that amounts deferred
               under the Deferred Compensation Plan (including Stock-Indexed
               Deferrals) will not, in accordance with the terms of the Deferred
               Compensation Plan, benefit from the AIG General Guarantee
               Agreement.

II. AIG FP BREACHED ITS DUTY TO ACT IN GOOD FAITH AND DEAL FAIRLY
WITH THE PLAINTIFFS

       190. AIG FP acted in bad faith and impeded the plaintiffs' right to receive benefits that

they reasonably expected to receive under the Plans.

       191. AIG FP intended to mislead or deceive the plaintiffs. For example, as described

above, AIG FP induced the plaintiffs to defer compensation under the ERP into the SIP deferred

compensation pools, but later refused to pay the plaintiffs amounts owed under the SIP. AIG FP

used this money as capital to fund AIG FP's business.

       192. AIG FP acted in its own self-interest and in the self-interest of its parent

corporation, AIG, in refusing to fulfill its obligations under the DCP and SIP.




                                                33
             Case 23-50110-MFW          Doc 4    Filed 02/28/23      Page 160 of 173



       193. As described above, AIG FP threatened the plaintiffs so as to force them to return

money they rightfully earned and were owed under the ERP.

       194. AIG FP's actions and inactions were an attempt to avoid the spirit of its bargain

with the plaintiffs.

       195. As a result ofAIG FP's breaches of the covenant of good faith and fair dealing, the

plaintiffs have suffered damages in the millions of dollars.

COUNT FOUR: VIOLATION OF CONNECTICUT WAGE AND HOUR LAW,
CONN. GEN. STAT. ANN. §§ 31-71e-31-72

       1-195. The plaintiffs reassert the allegations in ^ 1-195 of Count Three as if set forth fully

herein.

       196. As set forth above, AIG FP failed to pay the plaintiffs the wages they were entitled

to under the DCP and the SIP in violation of General Statutes §§ 31-71e, 31-72.

       197. The payments to the plaintiffs were "wages" as defined in Connecticut General

Statutes § 31-71a ('"Wages' means compensation for labor or services rendered by an employee,

whether the amount is determined on a time, task, piece, commission or other basis of

calculation.").

       198. Because AIG FP credited its losses against the plaintiffs' DCA and SIP Accounts,

payments on those accounts did not occur at regular intervals.

       199. Rather, AIG FP was obligated to restore and pay DCA and SIP Account balances

by the end of 2013.

       200. In a letter dated July 31, 2014, AIG FP informed the plaintiffs that it would not

restore or pay their DCA or SIP Account balances.

       201. By failing to pay wages, restore the amounts that it owed, or create or execute a

restoration plan, among other things, AIG FP acted in bad faith or unreasonably, and its failings



                                                34
             Case 23-50110-MFW         Doc 4    Filed 02/28/23     Page 161 of 173



constitute violations ofC.G.S.A § 31-71e and § 31-72.

       202. By reassuring the plaintiffs that they would eventually be paid, AIG FP acted in

bad faith or unreasonably.

       203. By asking the plaintiffs to return portions of the money they received as guaranteed

payments under the ERP, AIG FP acted in bad faith or unreasonably.

                                  PRAYER FOR RELIEF

       WHEREFORE, the plaintiffs respectfully request judgment against AIG FP for the
following relief:

     1. Money damages in excess of $ 185 million;

     2. Twice the full amount of damages, pursuant to C.G.S.A § 31 -72;

     3. Pre-and Post-Judgment Interest;

     4. Attorney's fees and costs by statute; and

     5. Such other legal and equitable relief that this Court deems just and proper.

                                                           Respectfully submitted,

                                                           HURWITZ SAGARIN
                                                           SLOSSBERG & KNUFF, LLC

                                                           By: /y/_David C. Shufrin
                                                           David C. Shufrin, Esq.
                                                           David Slossberg, Esq.

                                                           147 North Broad Street
                                                           Milford, CT 06460
                                                           Tel: 203-877-8000
                                                           Fax: 203-878-9800
                                                           Juris No. 026616
                                                           DShufrin@hssklaw.com
                                                           DSlossberg@hssklaw.com


                                                           Attorneys for the plaintiffs




                                               35
Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 162 of 173



                                     KOBRE & KIM LLP

                                     By: A/_Steven W. Perlstein

                                     Steven G. Kobre
                                     Steven W. Perlstein
                                     Sara Gribbon
                                     Amanda Tuminelli
                                     George Stamatopoulos

                                     800 Third Avenue
                                     New York, NY 10022
                                     Telephone: (646) 488 1200

                                     Attorneys for the plaintiffs (Pro Hac
                                     Vice applications to be submitted)




                            36
            Case 23-50110-MFW          Doc 4    Filed 02/28/23    Page 163 of 173



RETURN DATE: DECEMBER 31, 2019

D.N.

LEE ARTHURS; DAVID ACKERT; MITCHELL BELL; ERIK    SUPERIOR COURT
BENGTSON; PAUL BRADSHAW; THOMAS BUTTKE; JOHN
CAPPETTA; DAVID CHANG; ROBERT CHANG; JASON        J.D. OF FAIRJFIELD
DESANTIS; RICHARD FABBRO; KENNETH FARRAR;
JONATHAN FRAADE; CARL GIESLER JR.; JAMES HAAS;  : AT BRIDGEPORT
CHARLES HSIEH; THOMAS KALB; THOMAS KUSHNER;
ROBERT LEARY; JONATHAN LIEBERGALL; NATHANIEL
LITWAK; BRENDAN LYNCH; ALFRED MEDIOLI;
MATTHEW MIHALY; JOANN PALAZZO; EUGENE PARK;
ANDREW PARTNER; CARL PETERSON; STEVEN PIKE;
THOMAS PLAGEMANN; ROBERT POWELL; DANIEL
RAAB; ANN REED; PAUL SCHREINER; DMITRY
SATANOVSKY; MARY HEATHER SINGER; KEITH STEIN;
FRANK STROHM; TIMOTHY SULLIVAN JR.; CHRIS TOFT;
JOE TOM; RYAN VETTER; STEVEN WAGAR; THOMAS
WARD; MARTIN WAYNE; JAMES WOLF,

V.


AIG FINANCIAL PRODUCTS CORP.                                         DECEMBER 6, 2019


                        STATEMENT OF AMOUNT IN DEMAND

       The amount in controversy exceeds $15,000, exclusive of costs and interest.

                                                          HURWITZ SAGARIN
                                                          SLOSSBERG & KNUFF, LLC

                                                          By: /s/ David C. Shufrin
                                                          David C. Shufrin, Esq.
                                                          David Slossberg, Esq.

                                                          147 North Broad Street
                                                          Milford, CT 06460
                                                          Tel: 203-877-8000
                                                          Fax: 203-878-9800
                                                          Juris No. 026616
                                                          DShufrin(a;hssklaw.com
                                                          DSlossberg(a);hssklaw.com
                                                          Attorneys for the plaintiffs
                                               37
Case 23-50110-MFW   Doc 4    Filed 02/28/23   Page 164 of 173




                                      KOBRE & KIM LLP

                                      By: /s/ Steven W. Perlstein

                                      Steven G. Kobre
                                      Steven W. Perlstein
                                      Sara Gribbon
                                      Amanda Tuminelli
                                      George Stamatopoulos

                                      800 Third Avenue
                                      New York, NY 10022
                                      Telephone: (646) 488 1200

                                      Attorneys for the plaintiffs (Pro Hac
                                      Vice applications to be submitted)




                            38
                      Case 23-50110-MFW      Doc 4    Filed 02/28/23   Page 165 of 173




                                                  Exhibit I

                     Oral Argument Transcript on AIG FP’s Motion to Strike (Pages 94-96)




30132276.1

         US-DOCS\139579253
     Case 23-50110-MFW   Doc 4   Filed 02/28/23   Page 166 of 173

NO:    FST-CV19-6046057-S              :   SUPERIOR COURT
ARTHURS, LEE Et Al                     :   JUDICIAL DISTRICT
                                           OF STAMFORD/NORWALK
v.                                     :   AT STAMFORD, CONNECTICUT
AIG FINANCIAL PRODUCTS CORP.           :   MARCH 5, 2021


                            *E X C E R P T*


               BEFORE THE HONORABLE SHEILA OZALIS, JUDGE



A P P E A R A N C E S :

      Representing the Plaintiff(s):
          ATTORNEY DAVID SLOSSBERG
          HURWITZ SAGARIN SLOSSBERG & KNUFF, LLC
          147 NORTH BROAD STREET
          MILFORD, Connecticut 06460

          ATTORNEY DAVID SHIFREN
          OTTERSTEDT, WALLACE & KAMMER, LLP
          30 BUXTON FARMS ROAD, SUITE 125
          STAMFORD, Connecticut 06905
          ATTORNEY STEVEN W. PERLSTEIN, PHV
          ATTORNEY GEORGE STAMATOPOULOS
          KOBRE & KIM LLP
          800 THIRD AVENUE
          NEW YORK, NY 10022
      Representing the Defendant(s):
          ATTORNEY JONATHAN FREIMAN
          WIGGIN & DANA, LLP
          PO BOX 1832
          NEW HAVEN, Connecticut 0650

          ATTORNEY JOHN S. KIERNAN, PHV
          919 THIRD AVENUE
          NEW YORK, NY 10022


                                       Recorded By:
                                       Linda Vanek

                                       Transcribed By:
                                       Catherine Plavcan
                                       Court Recording Monitor
                                       123 Hoyt Street
                                       Stamford, Connecticut 06905
     Case 23-50110-MFW   Doc 4   Filed 02/28/23    Page 167 of 173
                                                                            94


 1        -- you asked two questions.         One is in -- is this a

 2        -- dividend?    And then, second is it at a time when

 3        the -- when the company lacks independent financial

 4        capability to -- to make the -- the dividend?               And

 5        the -- the --

 6             THE COURT:    Well, but let’s put aside whether

 7        they have the financial capability to do it.               If

 8        they’re going to restore the balances in the AIG

 9        funds pursuant to 4.01, subsection B, when they

10        restore balances to the AIG funds, is that considered

11        a dividend?

12             ATTY. KIERNAN:      Yes, Your Honor.         And the reason

13        it is, is that the definition of dividend includes a

14        share in the profits.       They -- what Delaware law

15        essentially says is you can only dividend out of

16        profits, out of net profits.            And so -- and -- and

17        what -- what are these balances?           These balances

18        start as being a share of net profits that was

19        allocated to AIG and to employees.            And so this is an

20        allocation of a share of the -- the profits of the

21        enterprise, that that was reduced and now you -- now

22        they’re saying, now you gotta pay that share of -- of

23        profits.   And -- and so that’s an illegal dividend.

24             THE COURT:    Okay.     Thank you.

25             Attorney Perlstein, you --

26             ATTY. PERLSTEIN:       Sure, I --

27             THE COURT:    -- may proceed.
     Case 23-50110-MFW   Doc 4   Filed 02/28/23    Page 168 of 173
                                                                         95


 1             ATTY. PERLSTEIN:       -- I’d like to respond to a

 2        couple of those points.       But then I can move on to

 3        the next section.      So, Mr. Kiernan started out again

 4        focusing on the 70/30 ratio.            But again, I would

 5        focus Your Honor’s attention on the fact the 70/30

 6        ratio applies to distributable income.             The notional

 7        bonus, however, is not tied to distributable income.

 8        They're just -- Mister -- and this is a fundamental

 9        difference that we have with AIG FP.            AIG FP keeps

10        thinking about this only as a profit-sharing plan.

11        And our view is that it was called the deferred

12        compensation plan for a reason.

13             The notional bonus just isn’t tied to

14        distributable income.       So this -- this notion that

15        the 70/30 ratio governs everything, including the

16        notional bonus, we think just isn’t a fair inference

17        from the language of the plan.            We also --

18        Mr. Kiernan is saying, you need to interpret the

19        agreement in this way to favor AIG.            But AIG drafted

20        this plan.     To the extent there’s ambiguity, it gets

21        interpreted against them.        This is a motion to

22        strike.   On a motion to strike to the extent that

23        there’s an inference that’s being drawn, it’s

24        supposed to being drawn to sustain the complaint, not

25        rule against it.

26             And on the notion of whether this is susceptible

27        to fact discovery, I think the questions Your Honor
     Case 23-50110-MFW   Doc 4    Filed 02/28/23    Page 169 of 173
                                                                           96


 1        asked are exactly the right type of questions.              Is

 2        this really considered a dividend?             Was AIG in a

 3        position to pay?       Could it A -- could AIG have

 4        borrowed -- could AIG FP borrowed [as spoken] against

 5        its credit facility to facilitate the dividend?

 6        Maybe that was one way they could’ve met their

 7        obligation.     There are all sorts of acts that we

 8        should be able to understand about what they did,

 9        what decisions they made, why they made those

10        decisions, and how that works into -- to meeting

11        their obligation to come up with a plan.

12             And also, as Mr. Stamatopoulas will address in

13        terms of exercising any discretion they had, in good

14        faith, these are all issues that should be sorted out

15        on fact discovery, but shouldn’t be concluded as a

16        matter of law on a motion to strike.             So I -- I can

17        -- unless Your Honor has questions about that, I can

18        move on to --

19             THE COURT:     All right.

20             ATTY. PERLSTEIN:        -- (indiscernible) --

21             THE COURT:     Why don’t you move on.

22             ATTY. PERLSTEIN:        Sure.       So a -- another

23        (indiscernible) --

24             ATTY. KIERNAN:       Your Honor, may I -- may make

25        just one comment?

26             UNIDENTIFIABLE SPEAKER:             (Indiscernible) --

27             THE COURT:     Yes, go ahead, Attorney Kiernan.
                      Case 23-50110-MFW     Doc 4   Filed 02/28/23   Page 170 of 173




                                                Exhibit J

                Memorandum of Law in Opposition to AIG FP’s Motion to Strike (Pages 6, 26)




30132276.1

         US-DOCS\139579253
       Case 23-50110-MFW    Doc 4   Filed 02/28/23       Page 171 of 173




DOCKET NO: X08-FST-CV-XX-XXXXXXX-S

LEE ARTHURS; DAVID ACKERT; MITCHELL BELL;            : SUPERIOR COURT
ERIK BENGTSON; PAUL BRADSHAW; THOMAS
BUTTKE; JOHN CAPPETTA; DAVID CHANG;                  : COMPLEX DISPUTES COURT
ROBERT CHANG; JASON DESANTIS; RICHARD
FABBRO; KENNETH FARRAR; JONATHAN                     : J.D. OF FAIRFIELD
FRAADE; CARL GIESLER JR.; JAMES HAAS;
CHARLES HSIEH; THOMAS KALB; THOMAS                   : AT STAMFORD
KUSHNER; ROBERT LEARY; JONATHAN
LIEBERGALL; NATHANIEL LITWAK; BRENDAN                : DECEMBER 11, 2020
LYNCH; ALFRED MEDIOLI; MATTHEW MIHALY;
JOANN PALAZZO; EUGENE PARK; ANDREW                   :
PARTNER; CARL PETERSON; STEVEN PIKE;
THOMAS PLAGEMANN; ROBERT POWELL;                     :
DANIEL RAAB; ANN REED; PAUL SCHREINER;
DMITRY SATANOVSKY; MARY HEATHER                      :
SINGER; KEITH STEIN; FRANK STROHM;
TIMOTHY SULLIVAN JR.; CHRIS TOFT; JOE TOM;           :
RYAN VETTER; STEVEN WAGAR; THOMAS
WARD; MARTIN WAYNE; JAMES WOLF,                      :

v.                                                   :

AIG FINANCIAL PRODUCTS CORP.                         :


           PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
                    DEFENDANT’S MOTION TO STRIKE

HURWITZ SAGARIN SLOSSBERG           KOBRE & KIM LLP
& KNUFF, LLC
                                    Steven G. Kobre
David C. Shufrin                    Steven W. Perlstein
David Slossberg                     Amanda Tuminelli
147 North Broad Street              George Stamatopoulos
Milford, CT 06460                   800 Third Avenue
Telephone: (203) 877 8000           New York, NY 10022
                                    Telephone: (646) 488 1200

Attorneys for Plaintiffs            Attorneys for Plaintiffs (pro hac vice forthcoming)
        Case 23-50110-MFW           Doc 4     Filed 02/28/23     Page 172 of 173




       In March 2008, AIGFP adopted the Employee Retention Plan (the “ERP”), which like

the SIP was adopted to ensure that Plaintiffs would remain with AIGFP through the crisis and

continue to defer their compensation to provide AIGFP additional liquidity. See id. ¶¶ 180, 184.

During the financial crisis, however, AIGFP pressured Plaintiffs to return up to 20% of their

annual cash compensation. Id. ¶ 120. In total, AIGFP borrowed $185 million in already-earned

compensation that Plaintiffs deferred into their DCP and SIP accounts. Id. ¶ 19.

       Between 2008–2009, AIGFP repeatedly assured Plaintiffs that it would eventually repay

them the amounts they were owed. Id. ¶¶ 109, 115, 116. Further, AIG negotiated the receipt of

a $85 billion credit facility with the federal government (the “AIG Bailout”); and, in turn, issued

AIGFP a revolving credit facility of $65 billion, formalized on the same day as AIG’s Bailout,

on September 22, 2008. Id. ¶ 104. The revolving credit facility was at all times available to

AIGFP for it to meet all “direct and legitimate business needs.” Id. ¶ 123.

       By 2012, AIG had returned to profitability and repaid the amounts it owed to the

government, plus $20 billion in interest. Id. ¶ 12. Nevertheless, on July 31, 2014, AIGFP

informed Plaintiffs that it would not restore their DCP or SIP Account balances nor repay them

the amounts it had borrowed from these accounts, in excess of $185 million. Id. ¶ 19. AIGFP

has never declared bankruptcy and is still a going concern. Id. ¶ 16. See id. ¶¶ 125–126.

I.   Overview of the DCP and the SIP.

       The DCP required Plaintiffs to defer portions of their already-earned compensation,

consisting of a mandatorily deferred portion of their Notional Bonus (see infra at 20-21); a

voluntarily deferred portion of their Notional Bonus; and an additional portion of 30% of

AIGFP’s Distributable Income. See Compl. ¶¶ 87 – 89; id. Ex. A at Schedule A. The “Deferred

Compensation amounts [were] credited to [DCP] Participants” and held in Deferred

Compensation Accounts (“DCAs”) “in the name of each Participant[.]” Id. ¶ 86.

                                                6
        Case 23-50110-MFW           Doc 4     Filed 02/28/23     Page 173 of 173




its obligations in order to take nearly $200 million of Plaintiffs’ earned compensation. This

plain reading of the Reduction and Restoration Provisions is also consistent with the Bankruptcy

Provision, which unambiguously confirms that, even in insolvency, AIGFP owes Plaintiffs any

previously unrestored amounts. E.g., Compl. Ex. A § 4.01(b). AIGFP’s interpretation of the

Reduction Provision thus conflicts with two specific provisions, the Restoration and Bankruptcy

Provisions, and is incorrect as a matter of law.

       Equally flawed is AIGFP’s assertion that account balances can only be restored and paid

out from profits (i.e., “absent positive Distributable Income,” MTS at 27), absent which there is

no obligation to restore. Indeed, the Funds Provision in Section 4.01(a) of the Plans provides

that benefit payments can be made “from the general funds of AIG Financial Products Corp.”

and that AIGFP “shall not segregate or earmark any of its assets nor hold any assets in trust or

in any special account for this purpose[.]” Id. Ex. A § 4.01(a). Thus, the Funds Provision makes

clear that the reduced balances can be paid from AIGFP’s general funds or assets, obviating the

need for AIGFP to show profits before restoring the reduced balances and repaying Plaintiffs.

Here, AIGFP has access to “general funds” whether in the form of assets it could sell, the

resumption of business activities, or in the form of the bail-out facility it obtained from AIG for

all of its legitimate business needs (as also highlighted by the English Trial Court). Id. Ex. E ¶

55. Thus, contrary to AIGFP’s assertions, the Plans expressly allow repayment from general

funds and do not require profits before AIGFP can make repayment.13


13
   Likewise, the preamble language that “absent losses which exhaust current year revenues and
reserves, [retained amounts] shall be paid subsequently to participants according to a schedule
tied to the duration of AIGFP’s business” is not an excuse for complete debt forgiveness. See
e.g., Compl. Ex. A § 3.05(b). This general language, to which AIGFP refers (MTS at 28),
pertains to the schedule according to which AIGFP is obligated to repay Plaintiffs and thus has
no bearing on the meaning of the entirely separate Restoration Provision in Section 4.01(b). In



                                                   26
